                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION


IN RE: VENATOR MATERIALS PLC       Civil Action No. 4:19-cv-03464
SECURITIES LITIGATION
                                   Chief Judge Lee H. Rosenthal

                                   CLASS ACTION



              CONSOLIDATED CLASS ACTION COMPLAINT
                                                    TABLE OF CONTENTS



I.     PRELIMINARY STATEMENT ............................................................................................ 2

II.    JURISDICTION AND VENUE ............................................................................................. 7

III. PARTIES ................................................................................................................................ 8

           A.         Lead Plaintiff .......................................................................................................... 8

           B.         Defendants .............................................................................................................. 9

                      1.         Venator Defendants .................................................................................... 9

                      2.         Director Defendants .................................................................................. 11

                      3.         Selling Shareholder Defendants ................................................................ 12

                      4.         Underwriter Defendants ............................................................................ 14

IV. FORMER VENATOR EMPLOYEES ................................................................................. 16

V.     EXCHANGE ACT ALLEGATIONS ................................................................................... 17

           A.         Background On Venator ....................................................................................... 17

           B.         The TiO2 Manufacturing Process ......................................................................... 19

           C.         Huntsman’s Pori Facility Was A Critical Part of the Venator Spin-Off............... 24

           D.         The Pori Facility Burns Down .............................................................................. 25

           E.         Recognizing That Pori Had Been Destroyed, Huntsman Switches
                      Transaction Structures In Order To Dispose Of Its Interest In The
                      Pigments Business And Accelerates The Separation............................................ 28

           F.         Huntsman Reassures Investors It Is “Committed To Rebuilding The
                      Facility As Quickly As Possible” And Would Not Proceed With A
                      Separation “Under Any Cloud Of Uncertainty” About Pori ................................ 30

           G.         Huntsman Rushes To Complete The Venator IPO Before Completing Its
                      Investigation Into The Fire.................................................................................... 32

                      1.         Huntsman Separates Venator through the IPO ......................................... 35
         H.        Following The IPO, Defendants Assured Investors That Pori Would Be
                   Rebuilt, That Tio2 Prices Were Increasing Due To Improving Demand,
                   That Pori Was At 20% Capacity, And That Insurance Would Cover The
                   Rebuild .................................................................................................................. 38

                   1.         Venator Repeated False Assurances About Pori To Promote The
                              SPO ........................................................................................................... 41

                   2.         After The SPO, Defendants Claimed That Pori Was Operating At
                              20% Capacity, That The Pori Rebuild Was “On Pace” And “On
                              Track,” And That Increased Insurance Costs Were Due To The
                              “Fast-Track” Program ............................................................................... 42

         I.        In Truth, Pori Never Regained The Ability To Produce Any Tio2 Capacity
                   After The Fire—Let Alone The 20% Capacity Defendants Falsely
                   Claimed—Was Never “On Pace” To Be Rebuilt, And Could Not Have
                   Economically Been Rebuilt .................................................................................. 45

                   1.         Pori Was Damaged Beyond Repair and Would Never Again Reach
                              20% Capacity ............................................................................................ 45

                   2.         Venator Went to Great Lengths to Create the False Appearance of
                              20% Capacity ............................................................................................ 47

                   3.         Senior Management Closely Tracked the Pori “Shuffle” and Knew
                              the Rebuild Never Got Off the Ground..................................................... 51

                   4.         Pori’s Closure Caused a Surge in TiO2 Prices ......................................... 52

         J.        Venator Reassures Investors That The Pori Rebuild Is “On Track” While
                   Disclosing Costs May Exceed Insurance Policy Limits Due To The “Fast
                   Track” Premium .................................................................................................... 53

         K.        Venator Continues To Mislead Investors Concerning The Progress Of The
                   Pori Rebuild .......................................................................................................... 57

VI. The Truth Regarding Pori Emerges ...................................................................................... 58

         A.        Venator Announces The Cost Of Rebuilding The Pori Facility Will
                   Exceed The Company’s Insurance Policy By More Than $375 Million .............. 58

         B.        Venator Discloses That It Will Not Reopen Pori And That Pori Would
                   Only “Finish” TiO2............................................................................................... 61

         C.        Venator Discloses Skyrocketing Costs Beyond Insurance Associated With
                   Pori And Reveals that TiO2 Demand Was Lower Than Previously Stated ......... 65
VII. POST-CLASS PERIOD EVENTS ....................................................................................... 67

VIII.SUMMARY OF SCIENTER ALLEGATIONS ................................................................... 69

IX. DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS ............ 75

         A.        Defendants Misrepresented That The Pori Facility Was Operating at “20%
                   Capacity” Following The Fire .............................................................................. 75

         B.        Defendants Misrepresented The Company’s Timeline To Rebuild Pori,
                   The Company’s Purportedly “On Pace” and “On Track” Progress, And
                   The Magnitude Of The Damage To The Pori Facility.......................................... 79

         C.        Defendants Misrepresented The Cause Of Rising TiO2 Prices And
                   Concealed Pori’s Impact On TiO2 Prices ............................................................. 84

         D.        Defendants Misrepresented The Manner In Which The Company Was
                   Spending Its Insurance Proceeds, The Costs Associated With Rebuilding
                   The Pori Facility, And The Overall Impact Of The Pori Fire On Venator’s
                   Business ................................................................................................................ 87

X.    LOSS CAUSATION ............................................................................................................. 93

XI. PRESUMPTION OF RELIANCE ........................................................................................ 95

XII. INAPPLICABILITY OF THE STATUTORY SAFE HARBOR ........................................ 97

XIII.CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT................................................. 98

XIV. SECURITIES ACT ALLEGATIONS ............................................................................... 101

         A.        The IPO Materials Contained Material Misstatements and Omissions .............. 103

                   1.         Misstatements About Venator’s Capacity .............................................. 103

                   2.         Misstatements About The Progress Of The Pori Rebuild ....................... 106

                   3.         Misstatements About TiO2 Demand ...................................................... 106

                   4.         Misstatements About Insurance Coverage And Pori’s Impact on
                              Venator’s Business.................................................................................. 107

                   5.         The IPO Risk Warnings Were Inadequate And Contained Material
                              Misstatements ......................................................................................... 107

         A.        The SPO Materials Contained Material Misstatements and Omissions ............. 108
                    1.        Misstatements About Venator’s Capacity .............................................. 109

                    2.        Misstatements About The Progress Of The Pori Rebuild ....................... 110

                    3.        Misstatements About TiO2 Demand ...................................................... 110

                    4.        Misstatements About Insurance Coverage And Pori’s Impact on
                              Venator’s Business.................................................................................. 111

                    5.        The SPO Risk Warnings Were Inadequate And Contained Material
                              Misstatements ......................................................................................... 112

          B.        The Securities Act Defendants Failed to Exercise Reasonable Care or
                    Conduct a Reasonable Investigation in Connection with the IPO and SPO ....... 113

XV. CLAIMS FOR RELIEF UNDER THE SECURITIES ACT .............................................. 115

XVI. CLASS ACTION ALLEGATIONS .................................................................................. 121

XVII. PRAYER FOR RELIEF ................................................................................................... 123

XVIII. JURY DEMAND ............................................................................................................ 123
       Plaintiffs City of Miami General Employees’ & Sanitation Employees’ Retirement Trust,

the Fresno County Employees’ Retirement Association, and the City of Pontiac General

Employees’ Retirement System (collectively, “Lead Plaintiff”), individually and on behalf of a

class of similarly situated persons and entities, by their undersigned attorneys, allege the following

against Venator Materials PLC (“Venator” or the “Company”); Simon Turner, Kurt D. Ogden,

Stephen Ibbotson, Mahomed Maiter, and Russ R. Stolle (the “Executive Defendants” and

collectively with Venator the “Venator Defendants”); Peter R. Huntsman, Douglas D. Anderson,

and Kathy D. Patrick (collectively, the “Director Defendants”); Huntsman Corporation

(“Huntsman”), Huntsman (Holdings) Netherlands B.V., Huntsman International LLC

(collectively, the “Huntsman Defendants”); and Citigroup Global Markets Inc., Merrill Lynch,

Pierce, Fenner & Smith Incorporated, Goldman Sachs & Co. LLC, and J.P. Morgan Securities

LLC (collectively, the “Underwriter Defendants” and, together with the Venator Defendants and

the Huntsman Defendants, “Defendants”), upon personal knowledge as to themselves and their

own acts, and upon information and belief as to all other matters.

       Lead Plaintiff’s information and belief as to allegations concerning matters other than

themselves and their own acts is based upon the investigation conducted by and through their

counsel, which included, among other things, the review and analysis of: (i) transcripts, press

releases, news articles, and other public statements issued by or concerning Defendants; (ii)

research reports issued by financial analysts concerning the Company; (iii) reports filed publicly

by Venator and the Huntsman Defendants with the U.S. Securities and Exchange Commission

(“SEC”); (iv) interviews with former employees of Venator and individuals with knowledge of the

January 30, 2017 fire at Venator’s Pori, Finland manufacturing facility; (v) Venator’s corporate

website; (vi) pleadings, evidence and testimony in In the Matter of Tronox/Cristal USA, Docket



                                                  1
No. 9377, Federal Trade Commission v. Tronox Ltd., No. 18-cv-01622-TNM (D.D.C.), Macomb

County Employees’ Retirement System v. Venator Materials PLC, No. DC-19-02030 (134th

District Court, Dallas County Texas, Feb. 8, 2019) and other litigation involving Defendants; (vii)

consultations with relevant experts and consultants; and (viii) other publicly available information.

Lead Counsel’s investigation into the factual allegations contained herein is continuing, and many

of the relevant facts are known only by Defendants or are exclusively within their custody or

control. Lead Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

I.     PRELIMINARY STATEMENT

       1.      This case arises from Defendants’ scheme to dispose of a business that suffered a

catastrophic fire at its most valuable and important manufacturing plant—Venator’s facility in

Pori, Finland (“Pori”)—which produced the Company’s most important and profitable products.

In that effort, Defendants led investors to believe that the damaged facility had returned to

producing 20% of its prior capacity, was “on pace” to restoring full production in just months, and

that Venator’s insurance would fully cover the rebuild expense and any lost profits. Unfortunately

for investors, none of those facts were true. Ultimately, Venator investors incurred massive

damages, as the Company’s shares lost over 70% of their value when the truth concerning the Pori

fire and its impact on Venator’s business came to light.

       2.      Before its initial public offering (“IPO”) in August 2017, Venator existed as the

pigments and additives division of the chemical conglomerate Huntsman Corporation. The

pigments division was focused on the production of titanium dioxide, or TiO2, a white pigment

that is used in numerous everyday products, from paint to sunscreen. As was only revealed after

the end of the Class Period, Defendants’ misrepresentations concealed the fact that fire at Pori in



                                                 2
January 2017 had damaged the facility beyond repair, eliminating nearly 17% of Venator’s TiO2

production capacity and the source of over one-third of the Company’s earnings.

       3.      The devastating impact of the Pori fire was clear to Huntsman’s senior executives

immediately after it occurred—and indeed, prompted Huntsman to abandon a longstanding plan

to spin-off the pigments business to existing Huntsman shareholders. Instead, recognizing the

permanent damage caused by the fire, Huntsman determined to sell the pigments business to public

investors through the IPO of Venator. In fact, rather than take the time to carefully investigate the

fire, assess the damage, and rehabilitate the facility, Huntsman accelerated the IPO process—and

then obtained waivers from its underwriter banks in order to rapidly conduct a follow-on secondary

public offering of Venator stock (“SPO”)—so that Huntsman could exit the irreparably damaged

pigments and additives business as quickly and profitably as possible.

       4.      In order to successfully sell the pigments business to the investing public,

Defendants created a false narrative about the damage caused by the fire, the progress the Company

purportedly made in rebuilding Pori, the amount of TiO2 Pori was producing, and the extent to

which Venator’s insurance would fully cover both rebuilding the facility and any lost business.

Because Defendants knew that investor confidence in Pori’s return was absolutely critical,

Huntsman CEO Peter Huntsman told investors that management was “committed to rebuilding the

facility as quickly as possible,” that Huntsman would never conduct “a spin that takes place under

any sort of cloud of uncertainty” about Pori, and that the IPO would only go forward after

Huntsman had “absolute clarity and certainty about where we’re going and how we are operating.”

       5.      But Defendants never gained any comfort about Pori’s return—indeed, there was

no hope for that possibility. Instead, Defendants made a series of misrepresentations to convince

investors that the facility would quickly return to its prior production levels so that they could exit



                                                  3
the business as quickly and profitably as possible. Most significantly, in the summer of 2017,

Venator told investors that Pori had been quickly rehabilitated and was already operating at 20%

of its prior capacity—a “milestone” Defendants told investors had been “achieved” months before

the IPO. As a result, Defendants claimed Venator was “well-positioned to capitalize on recovering

TiO2 demand and prices,” and the Company would “benefit from our attractive market positioning

throughout the cycle.” Venator followed up these statements by reporting record earnings, which

grew 37% over the prior quarter and were “28% ahead of expectations.” Analysts uniformly

praised the Company’s performance, raised their earnings estimates and price targets, and

complemented the “strong showing in VNTR’s first earnings period as a public company.”

        6.      Based on these statements and others like them, Huntsman sold over $520 million

worth of Venator shares in the IPO and approximately $471 million in a follow-on secondary

offering hurriedly conducted just four months later. In total, Huntsman raised over $1.7 billion in

proceeds from these offerings and a related debt restructuring.          That influx of cash enabled

Huntsman to quickly shore up its balance sheet and reduce its debt load—cutting its leverage ratio

in half in a matter of months—and report vast improvement in the key financial metrics that

determined Peter Huntsman’s compensation.

        7.      In reality, and as detailed in the Finnish Safety Authority report obtained by Lead

Plaintiff after the end of the Class Period, nearly every corner of the facility at Pori, including all

four production lines, suffered extensive damage in the fire. In fact, the “Moore” section of the

plant—which served as the critical component of the manufacturing process for all four separate

production lines—suffered near “complete destruction.” According to numerous former Venator

employees, the only part of the Pori facility that could function at all at any point after the fire was




                                                   4
a small component of the “white end” finishing portion of just one of the facility’s four production

lines.

         8.    Instead of rebuilding Pori, Defendants created the false appearance of actual

production so that they could profitably price the Venator stock offerings. In doing so, Venator

went to extraordinarily expensive and ultimately unsustainable lengths to ship “intermediate” TiO2

manufactured at its facility in Scarlino, Italy to Pori, where the intermediate product would then

be “finished” at the one part of the facility that actually worked. But industry participants have

never understood “finishing” TiO2—the last stage of the manufacturing process—to mean a

plant’s actual “capacity” to manufacture and produce TiO2, nor had Venator ever suggested as

much. In fact, Venator said the opposite, and made clear that “finishing” TiO2 did not result in

any actual “capacity.” Among other things, this is because “finishing” TiO2 is the least costly and

least labor-intensive part of the manufacturing process.

         9.    Moreover, as explained by numerous Venator employees who worked at Pori

before and after the fire, even the limited “finishing” conducted at Pori did not come close to

reaching 20% of the finishing activity conducted at Pori prior to the fire. As those former

employees recounted, production never reached 20%, Venator’s activities at Pori following the

fire seemed to be part of a “scam,” and Venator was not using insurance proceeds to actually

rebuild the facility but to prop up the Company’s financial position.

         10.    As Venator insiders knew, there was never any possibility that the facility would

be rebuilt on the timeline Defendants represented to investors, and Venator was never “on track”

or “on pace” to accomplish the impossible task of returning Pori to 100% production capacity by

the end of 2018, as Defendants falsely claimed. In reality, and as numerous Venator former

employees reported, the preliminary demolition work—the first step in the reconstruction



                                                 5
process—was still ongoing in July 2018, with little to no work at all conducted on three of the four

production lines throughout the entire Class Period. Indeed, Venator had not even completed its

investigation into the Pori fire—let alone developed a plan to rebuild the facility—by the time of

the Company’s IPO.

       11.     While investors were completely in the dark about the true facts, Defendants Turner

and Maiter and other senior executives attended meetings about the Pori rebuild and received

detailed updates concerning the work (or lack thereof) at Pori on a weekly basis, and senior

management had “monthly meetings to review site activities” with Venator’s insurers. As

Defendant Maiter testified in an injunction proceeding brought by the Federal Trade Commission

(“FTC”), he knew that Venator had been “shuffling” intermediate TiO2 from Scarlino to be

finished at Pori, and that even by March 2018, the finishing process at Pori was not fully intact.

       12.     The truth about Pori and its impact on Venator’s business was revealed in a series

of corrective disclosures that triggered dramatic declines in the price of the Company’s shares.

Specifically, beginning in 2018, Venator disclosed skyrocketing costs related to the Pori rebuild

and admitted that the costs to return the facility to prior operating capacity would be hundreds of

millions of dollars above insurance limits. Ultimately, Venator was forced to disclose that Pori

would never be rebuilt, that hundreds of employees would lose their jobs, and that the Company

never generated any profit whatsoever on the sale of products shipped to (at tremendous cost) and

then “finished” at Pori. In fact, the impressive earnings that Venator reported during the Class

Period had been secretly buoyed by a temporary surge in prices for TiO2 that had been triggered

by the drastic elimination of TiO2 supply resulting from the Pori outage.




                                                 6
       13.     In response to these disclosures, Venator stock price collapsed—falling over 70%,

from $22 per share at the time of the SPO to $6.47 on November 1, 2018—wiping out hundreds

of millions of dollars in shareholder value.

       14.     While Venator has been a disaster for investors, Defendants reaped nearly $2 billion

dollars in proceeds by concealing the truth about Pori. Indeed, by selling its stake through the

Venator spin-off, Huntsman garnered over $1.7 billion in proceeds that were used to pay down

Huntsman debt, enabling Huntsman to cut its leverage ratio in half—from 3.8 in 2015 to 1.4 in

2018—the first time in Huntsman’s history it was eligible to obtain an “investment grade” rating.

Those actions also impacted the financial metrics that determined Peter Huntsman’s compensation,

and allowed the Huntsman family to avoid over $150 million in losses. Indeed, Peter Huntsman

took home nearly $17 million in compensation in 2017—including bonuses specifically paid in

recognition of the “significant value” Huntsman obtained through the Venator IPO—the largest

amount he has made in any year since becoming CEO in 2000.

       15.     Lead Plaintiff brings this action to recover the damages to Venator investors caused

by Defendants’ misconduct.

II.    JURISDICTION AND VENUE

       16.     The claims alleged herein arise under Sections 11, 12(a)(2), and 15 of the Securities

Act of 1933 (the “Securities Act”), 15 U.S.C. §§77k, 771(a)(2) and 77o, as well as Sections 10(b)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b) and

78t(a), and the rules and regulations promulgated thereunder, including SEC Rule 10b-5, 17 C.F.R.

§ 240.10b-5 (“Rule 10b-5”).

       17.     This Court has jurisdiction over the subject matter of this action pursuant to Section

22 of the Securities Act, 15 U.S.C. § 77v, Section 27 of the Exchange Act, 15 U.S.C.§ 78aa, and

under 28 U.S.C. § 1331, because this is a civil action arising under the laws of the United States.
                                                 7
       18.     Venue is proper pursuant to Section 22 of the Securities Act, 15 U.S.C. § 77v,

Section 17 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1391(b). Substantial acts in

furtherance of the alleged violations of the securities laws or their effects have occurred in this

District. Many of the acts charged in this Complaint, including the dissemination of materially

false or misleading information, occurred in, or emanated from, this District. In addition, certain

of the Defendants reside, are headquartered, and/or maintain substantial operations in this District.

       19.     In connection with the acts alleged in this Complaint, Defendants directly or

indirectly used the means and instrumentalities of interstate commerce, including without

limitation the mails, interstate telephone communications, and the facilities of the national

securities exchanges.

III.   PARTIES

       A.      Lead Plaintiff

       20.     The City of Miami General Employees’ & Sanitation Employees’ Retirement Trust

(“Miami”) is a government entity that was founded in 1985 to provide benefits—including

retirement, death, and disability benefits—to eligible employees of the government of the City of

Miami, Florida. Miami manages more than $704 million in assets for the benefit of active and

retired members. As set forth in its certification, Miami purchased a significant amount of Venator

securities during the Class Period, and suffered substantial losses as a result of the violations of

the federal securities laws alleged in this action. In particular, Miami purchased approximately

25,050 shares of Venator common stock traceable to the IPO on August 3, 2017 and purchased

shares in the SPO on November 30, 2017. ECF No. 4-2.



       21.     The Fresno County Employees’ Retirement Association (“FCERA”) is a

government entity that was founded in 1945 to provide benefits—including retirement, death, and

                                                 8
disability benefits—to eligible employees of the government of the County of Fresno, California.

FCERA manages more than $4.9 billion in assets for the benefit of active and retired members. As

set forth in its certification, FCERA purchased a significant amount of Venator securities during

the Class Period, and suffered substantial losses as a result of the violations of the federal securities

laws alleged in this action. In particular, FCERA purchased approximately 26,270 shares of

Venator common stock traceable to the IPO between October 2017 and November 2017 and

purchased shares in the SPO on November 30, 2017. ECF No. 4-2.

        22.     The City of Pontiac General Employees’ Retirement System (“Pontiac”) is a

government entity that was founded in 1946 to provide benefits—including retirement, death, and

disability benefits—to eligible employees of the government of the City of Pontiac, Michigan.

Pontiac manages more than $496 million in assets for the benefit active and retired members. As

set forth in its certification, Pontiac purchased a significant amount of Venator securities during

the Class Period, and suffered substantial losses as a result of the violations of the federal securities

laws alleged in this action. In particular, Pontiac purchased approximately 14,970 shares of

Venator common stock traceable to the IPO during November 2017 and purchased shares in the

SPO on November 30, 2017. ECF No. 4-2.

        23.     Miami, FCERA, and Pontiac are collectively referred to herein as “Lead Plaintiff.”

        B.      Defendants

                1.      Venator Defendants

        24.     Defendant Venator Materials PLC (“Venator” or the “Company,”) is a

manufacturer and marketer of chemical products that derives the vast majority of its revenues from

the sale of titanium dioxide, or TiO2. Specifically, during the Class Period, the Company’s

Titanium Dioxide segment contained eight manufacturing facilities across the globe and accounted

for more than 70% of the Company’s total reported revenues. Prior to the IPO in August 2017,

                                                   9
Venator was organized as the Pigments & Additives division within Defendant Huntsman, a

multinational manufacturer of chemical products based Woodlands, Texas.            At that time,

Huntsman was the second-largest pigments producer in the world after acquiring more than $1

billion in TiO2 plants from New York-based Rockwood Holdings in 2014 (the “Rockwood

Acquisition”), which included Venator’s facilities in Pori, Finland, Duisburg, Germany, and

Uerdingen, Germany (the “Rockwood Facilities”). In connection with the IPO, Venator was

incorporated under the laws of England and Wales as a public limited company.

        25.       Defendant Simon Turner (“Turner”) is the current Chief Executive Officer at

Venator and was, at all relevant times, a Director of Venator. Prior to the separation of Venator,

Turner worked at Huntsman from 1999 until 2017, most recently serving as the senior-most

executive of Huntsman’s Pigments and Additives division from November 2008 until August

2017.

        26.       Defendant Kurt D. Ogden (“Ogden”) is the current Executive Vice President and

Chief Financial Officer at Venator. Prior to the IPO, Ogden worked at Huntsman for 13 years,

most recently serving as the Vice President of Investor Relations and Finance from February 2009

until August 2017.

        27.       Defendant Mahomed Maiter (“Maiter”) served as the Senior Vice President of

Venator’s White Pigments Division Business Operations and is now Executive Vice President,

Business Operations. Prior to the IPO, Maiter served as Vice President, Revenue/Global Sales and

Marketing at Huntsman since May 2008 and in other various senior leadership capacities with

Huntsman since August 2004. As Maiter stated in his March 8, 2018 deposition, discussed further

below, Maiter provided “input” into Venator’s presentations for “investors, potential investors

[and] lenders.”



                                                10
       28.    Defendant Stephen Ibbotson (“Ibbotson”) served as Vice President and Corporate

Controller for Venator. Ibbotson signed the IPO Registration Statement and the SPO Registration

Statement, as well as the Company’s financial reports on Forms 10-K and 10-Q filed with the SEC

during the Class Period

       29.    Defendant Russ R. Stolle (“Stolle”) is the current Senior Vice President, General

Counsel, and Chief Compliance Officer at Venator. Prior to the IPO, Stolle served as Senior Vice

President and Deputy General Counsel at Huntsman.

       30.    Defendants Turner, Ogden, Maiter, Ibbotson and Stolle are referred to collectively

as the “Executive Defendants,” and collectively with Venator, the “Venator Defendants.”

              2.      Director Defendants

       31.    Defendant Peter R. Huntsman (“Peter Huntsman”) was, at all relevant times,

Chairman of Venator’s Board of Directors. Peter Huntsman has served as the CEO of Huntsman

Corporation since 2000. Peter Huntsman signed the IPO Registration Statement and SPO

Registration Statement. During the Class Period and around the time of the Venator IPO, Peter

Huntsman also owned approximately 6 million shares of Huntsman Corporation stock worth

approximately $165 million.

       32.    Defendant Douglas D. Anderson (“Anderson”) was, at all relevant times, a member

of Venator’s Board of Directors. He was appointed to the Board of Directors on August 2, 2017

and has served as the Chair of the Audit Committee and as a member of the Nominating &

Corporate Governance Committee of the Board of Directors. Anderson signed the SPO

Registration Statement.

       33.    Defendant Kathy D. Patrick (“Patrick”) was, at all relevant times, a member of

Venator’s Board of Directors. She was appointed to the Board of Directors on October 1, 2017

and has served as Chair of the Nominating & Corporate Governance Committee and as a member
                                              11
of the Compensation Committee of the Board of Directors. Patrick signed the SPO Registration

Statement.

       34.     Defendant Sir Robert J. Margetts (“Margetts”) was, at all relevant times, a member

of Venator’s Board of Directors. He has served as a Director of Huntsman since August 2010.

Margetts has served as a member of the Audit Committee and Nominating & Corporate

Governance Committee of the Board of Directors. Margetts signed the IPO Registration Statement

and SPO Registration Statement.

       35.     Defendant Daniele Ferrari (“Ferrari”) was, at all relevant times, a member of

Venator’s Board of Directors. He was appointed to the Board of Directors on August 2, 2017 and

has served as Chair of the Compensation Committee and as a member of the Audit Committee of

the Board of Directors. Ferrari signed the SPO Registration Statement.

       36.     Defendants Peter Huntsman, Anderson, Patrick, Margetts, and Ferrari are referred

to collectively as the “Director Defendants.”       The Executive Defendants and the Director

Defendants are referred to collectively as the “Individual Defendants.”

               3.     Selling Shareholder Defendants

       37.     Defendant Huntsman Corporation (“Huntsman”) is a multinational manufacturer

and marketer of chemical products for consumers and industrial customers. Huntsman was

founded by Jon Huntsman, Sr., whose family—the Huntsmans—owns a substantial portion of the

company. Specifically, in addition to Peter Huntsman, Jon Huntsman’s son and the current CEO,

the Huntsmans own, through the holdings of several family members and family-run enterprises,

approximately 11% of Huntsman’s equity, which is worth over half a billion dollars.

       38.     Venator was separated from Huntsman in connection with the IPO—although

Huntsman controlled and maintains control of Venator—and Huntsman sold the shares offered in



                                               12
the IPO and the SPO through its wholly-owned subsidiaries Defendant Huntsman Holdings and

Defendant Huntsman International (defined below).

       39.     Throughout the Class Period, Huntsman exerted control over Venator. As Venator

acknowledged in its amended Form S-1, filed July 24, 2017, “Huntsman will continue to control

a majority of the voting power of our ordinary shares. As a result, we will be a ‘controlled

company’ within the meaning of the New York Stock Exchange listing standards.” Venator further

acknowledged Huntsman’s control in the Company’s Form 10-K filed February 23, 2018, after

the SPO, stating, “So long as Huntsman beneficially owns ordinary shares representing at least a

majority of the votes entitled to be cast by the holders of our outstanding ordinary shares,

Huntsman can effectively control and direct our board of directors.” Huntsman took advantage of

this control, and Defendants Peter Huntsman and Margetts, who both served on the board of

Huntsman, were appointed to Venator’s board. Venator further noted the control that Huntsman

exerted over more internal Venator functions, stating that “by virtue of Huntsman’s controlling

ownership and the tax matters agreement, Huntsman effectively controls all of our tax decisions

in connection with any tax reporting group tax returns in which we (or any of our subsidiaries) are

included.”

       40.     Defendant Huntsman (Holdings) Netherlands B.V. (“Huntsman Holdings”) is a

wholly-owned subsidiary of Defendant Huntsman. Huntsman Holdings sold shares offered in the

IPO and the SPO.

       41.     Defendant Huntsman International LLC (“Huntsman International”) is a wholly-

owned subsidiary of Defendant Huntsman. Huntsman International sold shares offered in the IPO.

       42.     Huntsman exerted its control over Venator, in part, through Huntsman Holdings

and Huntsman International. As stated in Venator’s amended Form S-1, filed July 24, 2017, “Upon



                                                13
the completion of this offering, we will be a stand-alone public company and Huntsman, through

one or more subsidiaries, including HHN, will be our controlling shareholder.”

       43.     Defendant Huntsman, together with Defendant Huntsman Holdings and Defendant

Huntsman International, are referred to collectively as the “Selling Shareholder Defendants.”

       44.     The Selling Shareholder Defendants controlled Venator before, during, and

immediately after both the IPO and the SPO. Prior to the IPO, the Selling Shareholder Defendants

beneficially owned all of Venator’s ordinary shares. Through the IPO, completed on August 8,

2017, the Selling Shareholder Defendants sold 26,105,000 shares of Venator at an offering price

of $20 per share and received all of the proceeds, which totaled approximately $522 million.

Through the SPO, which completed on December 4, 2017, the Selling Shareholder Defendants

sold 21,764,000 shares of Venator at an offering price of $22.50 per share and received all the

proceeds, which totaled approximately $490 million.          On December 4, 2018, the Selling

Shareholder Defendants sold an additional 4,4334,389 shares of Venator and received all the

proceeds, which totaled approximately $19 million. Following these transactions, and the exercise

of options by the underwriters in connection with the IPO and SPO, Huntsman owned

approximately 48.3% of the Company’s shares. In total, the Selling Shareholders Defendants

received approximately $1.03 billion for the sale of Venator shares.

               4.      Underwriter Defendants

       45.     Defendant Citigroup Global Markets Inc. (“Citigroup”) served as a lead

underwriter for the IPO and the SPO and sold millions of Venator shares in each of the IPO and

SPO, receiving certain fees and commissions. In the IPO, Citigroup was allocated 5,522,910

shares to sell to the investing public. In the SPO, Citigroup was allocated 5,163,404 shares to sell

to the investing public. Citigroup acted as a representative of the underwriters in the IPO and SPO.



                                                14
       46.     Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill Lynch”)

served as a lead underwriter for the IPO and the SPO and sold millions of Venator shares in each

of the Offerings, receiving certain fees and commissions. Specifically, in the IPO, Merrill Lynch

was allocated 3,075,850 shares to sell to the investing public. In the SPO, Merrill Lynch was

allocated 5,163,404 shares to sell to the investing public. Merrill Lynch acted as a representative

of the underwriters in the IPO and SPO.

       47.     Defendant Goldman Sachs & Co. LLC (“Goldman”) served as a lead underwriter

for the IPO and the SPO and sold millions of Venator shares in each of the Offerings, receiving

certain fees and commissions. In the IPO, Goldman was allocated 5,522,910 shares to sell to the

investing public. In the SPO, Goldman was allocated 5,163,404 shares to sell to the investing

public. Goldman acted as a representative of the underwriters in the IPO and SPO.

       48.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as a lead

underwriter for the IPO and the SPO and sold millions of Venator shares in each of the Offerings,

receiving certain fees and commissions. In the IPO, J.P. Morgan was allocated 3,075,850 shares

to sell to the investing public. In the SPO, J.P. Morgan was allocated 2,816,402 shares to sell to

the investing public. J.P. Morgan acted as a representative of the underwriters in the IPO and SPO.

       49.     The Defendants referenced in ¶¶ 45-48 are collectively referred to as the

“Underwriter Defendants.” The Underwriter Defendants are investment banking houses which

specialize, inter alia, in underwriting public offerings of securities.      They served as the

underwriters of the IPO and SPO and shared more than $48 million in fees paid to the underwriting

syndicate.




                                                15
IV.     FORMER VENATOR EMPLOYEES1

        50.    Certain of the Complaint’s allegations are based on information provided by former

Venator employees interviewed by Lead Counsel.

        51.    Former Employee 1 (“FE 1”) was a Project Coordinator and Transformation Coach

at the Pori facility from 2009 until January 2019. FE 1 served in a managerial role at Pori after

the fire.

        52.    Former Employee 2 (“FE 2”) worked in production at the Pori facility from March

1994 until December 2018. Following the fire, FE 2 worked in the water works and had direct

knowledge of the Pori facility’s power usage.

        53.    Former Employee 3 (“FE 3”) worked as a Warehouse Manager and Purchaser at

the Pori facility from January 2005 until December 2018.

        54.    Former Employee 4 (“FE 4”) worked as the North American Market Manager for

Huntsman and then Venator from July 2016 until December 2018. FE 4 handled all the sales

activity for Venator’s ink and fiber businesses in the United States and his/her work was directly

impacted by the Pori outage.

        55.    Former Employee 5 (“FE 5”) worked as the Director of Supply Chain in Venator’s

Specialty Business Unit from 2017 until 2018, in which FE 5 oversaw part of the product stream

coming out of Pori.




1
  For ease of readability while preserving the former employees’ anonymity, the Complaint uses
the terms “he/she” and “his/her” to refer to all former employees.


                                                16
V.     EXCHANGE ACT ALLEGATIONS

       A.      Background On Venator

       56.     Venator is a manufacturer and marketer of chemical products, particularly TiO2—

a white inert pigment that provides whiteness, opacity and brightness to a range of everyday

products, including plastics, paints, coatings, inks, fibers, food and personal care products. The

TiO2 market is divided into two distinct segments: (i) commoditized or functional TiO2 and (ii)

specialty or differentiated TiO2. The most significant difference between the two types of TiO2

is that the prices for commoditized TiO2 follow a boom-and-bust economic cycle, and sometimes

fall to severe, unprofitable lows.    Commoditized TiO2’s price follows this cycle because

commoditized TiO2 products are generally uniform in quality, even between different producers,

and customers can easily substitute functional TiO2 produced by different manufacturers. As a

result, the price for commoditized TiO2 closely tracks global demand. Further, when demand

decreases, producers cannot take production offline to reduce supply and help stabilize prices

because the fixed-cost of operating TiO2 factories is high and taking production offline does not

decrease the overall operating cost. Instead, TiO2 producers are forced to sell the commoditized

TiO2 at a cheaper price, which further decreases prices throughout the market.

       57.     By contrast, specialty TiO2 generally sells at a much higher margin than functional

TiO2, and these margins are more stable. Specialty TiO2 is used in end products such as fibers,

catalysts, food, pharmaceuticals and cosmetics.     These products often require TiO2 that is

produced with unique qualities; for example, pharmaceutical TiO2 must be safe for human

consumption. As a result, consumers of specialized TiO2 products cannot simply switch to

whichever product is the cheapest on the marketplace. In fact, for certain specialized TiO2

products, only one option is available. As a result, producers of specialized TiO2 products can



                                               17
demand a premium compared to commoditized TiO2 for their product, which protects specialized

TiO2 from the dramatic price swings in the commoditized market.

         58.     As Venator explained in its SEC filings, the Company differentiated itself from its

competitors by focusing primarily on specialty TiO2, noting that the Company’s higher margin

and more reliably profitable specialty TiO2 products insulated it from the boom-and-bust cycles

that characterize the functional TiO2 market. Specifically, Venator claimed to be the “leading

differentiated TiO2 producer in the world,” having developed a specialty TiO2 portfolio that “has

allowed us to reduce our exposure to more commoditized TiO2 applications, while growing our

position in the higher value differentiated applications where there is a greater need for technical

expertise and client service.” According to Venator, the Company’s specialty TiO2 business was

three times larger than that of the Company’s next closest competitor during the Class Period. A

Huntsman spokesman highlighted this feature prior to Venator’s IPO, explaining at a May 16,

2017 investor conference that what sets Venator apart from its peers is its “150,000 tons of what

we’d consider to be specialty [capacity],” which carries a “$1,000 per ton price premium.”

         59.     Venator’s TiO2 facility in Pori, Finland was a vital component of Venator’s TiO2

manufacturing segment—and by extension, its entire business—because of its production of

specialty TiO2. Prior to the fire at Pori (discussed in depth in Section V.D. below), Pori was

Venator’s second largest TiO2 facility, with a nameplate capacity of 130,000 metric tons per year,

and accounted for approximately 17% of Venator’s total nameplate capacity and 2% of global

TiO2 demand.2 Moreover, 60% of the facility’s capacity was dedicated to producing specialty




2
    Nameplate capacity represents a facility’s maximum production capabilities.

                                                 18
TiO2, with Venator reporting that, on average, those specialty products contributed greater than

75% of the site’s profit or EBIDTA.3

       60.     Further, as detailed by multiple former employees of Venator, including FE 1, a

former project coordinator and transformation coach at Venator from 2016 to 2019, and FE 5, a

supply chain director of Venator’s specialty business unit from 2017 to 2018, at Pori, Venator

produced certain highly specialized, cutting-edge products, including pharmaceutical grade TiO2

products. These products could not be manufactured at any other Venator facilities because they

lacked the requisite equipment, personnel, and expertise. As Defendant Turner explained during

Huntsman’s Investor Day on March 2, 2016, prior to the sale of the Venator business, “Pori is

probably the best sulfate plant in the world, this is a plant that’s not only got efficiency and scale,

it’s got fantastic revenue streams coupled up with a cosmetics and food and pharma application.”

       B.      The TiO2 Manufacturing Process

       61.     TiO2 is manufactured in two different processes, the sulfate process and chloride

process. The majority of Venator’s facilities produced TiO2 using the sulfate process, which

entails a three-step production process to turn the raw iron ore “feedstock” into TiO2. First, the

iron feedstock is treated with sulfuric acid to extract the TiO2 pigment, although the resulting TiO2

is still hydrated and must be separated from the processing liquids. This process occurs in the

“black end” of the manufacturing facility. Second, the TiO2 is filtered out from the processing



3
   EBITDA refers to Earnings Before Interest Expense, Interest Income, Income Tax
Expense/Benefit, Depreciation and Amortization, and net income attributable to non-controlling
interests. In reporting its quarterly financial results, Venator provided investors with adjusted
EBITDA, a non-GAAP measure which it defined as “net income (loss) from continuing operations
before interest, income tax and depreciation and amortization.” According to Venator, adjusted
EBITDA, which is comparable to net income under GAAP, is used by management and provided
to investors because it excludes certain items that Venator claims are not indicative of operational
profitability and that may obscure underlying business results and trends.

                                                  19
liquids using “Moore” filters and sent to a calciner, a rotating steel cylinder inside a heated furnace,

where the newly created TiO2 crystals can grow and the remaining water can be extracted. Finally,

and only after the TiO2 has dried in the calciner, the TiO2 can begin the “finishing” phase, where

it is milled and chemically treated based on the product’s intended end use. The third and final

finishing phase occurs in the “white end” of the manufacturing facility.

       62.     The finishing phase is the least costly and least labor-intensive part of the

manufacturing process and is not even necessary in all instances. As Jean-Francious Turgeon,

COO of rival TiO2 manufacturer Tronox Holdings PLC (“Tronox”), testified before the FTC, “The

finishing is only, I mean, 10 to 15 percent of the work, you know, and of the cost, because the hard

work in making pigment is achieving the 100 percent TiO2 product, the molecule. And it’s true

in both sulfate and chloride pigment.”

       63.     In fact, TiO2 can be sold without proceeding through the finishing process at all.

Kronos Worldwide, Inc. (“Kronos”), one of the world’s five largest TiO2 manufacturers, stated in

the Company’s Forms 10-K filed for the years 2010 through 2018 that, “[a]fter separation from

the impurities in the ore (mainly iron), the TiO2 is precipitated and calcined to form an

intermediate base pigment ready for sale or can be upgraded through finishing treatments.”

       64.     Venator, Huntsman, other industry participants, analysts and investors understand

that the amount of TiO2 end-product produced by completing this three-step process represents a

manufacturing facility’s total “capacity,” and use the term “capacity” when referring to the

complete production process.

       65.     For example, prior to its separation, when Venator still existed as the Pigments and

Additives division of Huntsman, Huntsman made the decision to close only the “black end” of its

TiO2 facility in Calais, France while continuing to operate the “white end” of the facility. Before



                                                  20
closing the “black end” at the Calais facility, Huntsman reported that the Calais factory had an

annual “capacity” of approximately 95,000 metric tons. After closing the “black end” of the

facility, Huntsman reported that the Calais facility had an annual capacity of zero – “0” – even

though the “white end” of the facility was still finishing TiO2.

       66.     In doing so, Huntsman executives—including Defendants Peter Huntsman, Turner

and Ogden—made clear that closing only the “black end” portion of the facility would eliminate

the facility’s entire capacity, telling investors that the “black end” closure “will reduce our titanium

capacity by approximately 100 kilotons, or 13% of our European capacity.” Defendants also made

clear that even though the “finishing” portion of the Calais facility was still operational, the

“finishing” process did not generate any TiO2 “capacity” whatsoever, and instead was designated

deliberately and solely as a “finishing facility” in Huntsman’s and Venator’s SEC filings. For

example, in Huntsman’s annual report and Form 10-K for 2015, Huntsman described the Calais

facility solely as a TiO2 finishing facility that did not generate any TiO2 capacity whatsoever, as

highlighted below:




                                                  21
                                       Annual Capacity (metric tons)
Site                                  EAME North America APAC                   Process
Greatham, U.K.                        150,000                           Chloride TiO2
Pori, Finland                         130,000                           Sulfate TiO2
Uerdingen, Germany                    107,000                           Sulfate TiO2
Duisburg, Germany                     100,000                           Sulfate TiO2
                                      100,000                           Functional additives
Calais, France                              0                           TiO2 finishing plant
Huelva, Spain                          80,000                           Sulfate
Scarlino, Italy                        80,000                           Sulfate
Umbogintwini, South Africa             25,000                           Sulfate
Lake Charles, Louisiana(1)                              75,000          Chloride
Teluk Kalung, Malaysia                                           60,000 Sulfate

Total                                 772,000                75,000 60,000




        67.     Similarly, in the prospectus Venator filed in connection with its IPO, Venator did

not even list the Calais facility when detailing the Company’s “[p]roduction capacities,” and only

referenced the Calais facility in a footnote, calling it a “finishing plant”:




                                                  22
                                  Annual Capacity (metric tons)
                                             North
Site                            EAME(1)     America         APAC                       Process
Greatham, U.K.                     150,000                                      Chloride TiO2
Pori, Finland(3)                   130,000                                      Sulfate TiO2
Uerdingen, Germany                 107,000                                      Sulfate TiO2
Duisburg, Germany                  100,000                                      Sulfate TiO2
Huelva, Spain                       80,000                                      Sulfate TiO2
Scarlino, Italy                     80,000                                      Sulfate TiO2
Lake Charles, Louisiana(2)                       75,000                         Chloride TiO2
Teluk Kalung, Malaysia                                          60,000          Sulfate TiO2

Total                                 647,000          75,000          60,000


(1) Excludes a sulfate plant in Umbogintwini, South Africa, which closed in the fourth quarter of
2016, and our TiO2 finishing plant in Calais, France.
(2) This facility is owned and operated by LPC, a manufacturing joint venture that is owned 50%
by us and 50% by Kronos. The capacity shown reflects our 50% interest in LPC.
(3) In January 2017, our TiO2 manufacturing facility in Pori, Finland experienced fire damage, and
it is currently not fully operational. We are committed to repairing the facility as quickly as
possible and we anticipate that some level of production will have resumed prior to completion of
the separation and we estimate that the Pori facility will be fully operational around the end of
2018. The Pori facility has nameplate capacity of up to 130,000 metric tons per year, which
represents approximately 17% of our total TiO2 nameplate capacity and approximately 2% of total
global TiO2 demand.

        68.     Further, in its Prospectus, Venator clarified that “finishing” process encompasses

only the final step in TiO2 production. Venator stated that “[o]nce an intermediate TiO2 pigment

has been produced using either the chloride or sulfate process, it is ‘finished’ into a product with

specific performance characteristics for particular end-use applications.” Venator repeated this

explanation in the Company’s prospectus filed prior to the SPO on December 1, 2017, and in the

Company’s Forms 10-K for 2017 and 2018 filed February 23, 2018 and February 20, 2019,

respectively.

        69.     Similarly, Venator’s competitors delineated the “finishing” process as the final step

when discussing TiO2 production with investors, and referred to “capacity” exclusively in


                                                 23
connection with the entire manufacturing process. For example, in Tronox’s Forms 10-K filed on

February 28, 2013 and February 27, 2014, the company stated:

       In the sulfate process, batch digestion of ilmenite ore or titanium slag is carried out
       with concentrated sulfuric acid to form soluble titanyl sulfate. After treatment to
       remove soluble and insoluble impurities and concentration of the titanyl sulfate,
       hydrolysis of the liquor forms an insoluble hydrous titanium oxide. This precipitate
       is filtered, bleached, washed and calcined to produce a base pigment that is then
       forwarded to the finishing step.

       70.     As reflected above, and as made clear in Huntsman’s and Venator’s SEC filings, as

well as filings from other TiO2 manufacturers, a facility’s TiO2 production “capacity” does not

include products that are merely “finished” at that facility.

       C.      Huntsman’s Pori Facility Was A Critical Part of the Venator Spin-Off

       71.     Huntsman initially intended to spin-off its pigments business—including

Huntsman’s TiO2 business segment—to its shareholders, including the Huntsmans, in order to

capture the economic benefit of a strengthening TiO2 market. For example, on October 28, 2016,

Huntsman disclosed that it would separate its pigments and additive business through a U.S. tax-

free spin-off to Huntsman shareholders, stating in a press release that the “shares of the spin-off

corporation that will be distributed to Huntsman shareholders in the spin-off are expected to be

listed and traded on the New York Stock Exchange.” As Huntsman’s largest shareholders, the

Huntsmans would be the largest benefactors of the spin-off—and would own an equivalent stake

in the spin-off company.

       72.     At the time, TiO2 were prices were seeing some improvement, and as Peter

Huntsman explained to investors on Huntsman’s third quarter earnings call held October 28, 2016,

Huntsman’s plan to spin-off the pigments business to existing Huntsman shareholders—as

opposed to selling it to public investors through an IPO—would benefit Huntsman shareholders

by enabling them to “capture the appreciation in value associated with an improving titanium


                                                 24
dioxide cycle.” Defendant Ogden similarly explained at a Bank of America Merrill Lynch

America Leveraged Finance Conference on November 30, 2016 that Huntsman wanted to

“preserve the economic upside as the TiO2 cycle improves.” He added that “we didn’t want to

give the [TiO2] business away at the bottom of the cycle.”

       73.     Shortly thereafter, Huntsman solidified its plans to spin-off the Venator business to

existing Huntsman shareholders in the first half of 2017. At a Bank of America Merrill Lynch

America Leveraged Finance Conference on November 30, 2016, Defendant Ogden told investors

that Huntsman planned “to complete [the Venator] spinoff in the first half of 2017.” Huntsman

then publicly confirmed that the company would separate its pigments business by spinning-off

Venator to Huntsman shareholders on January 17, 2017 in a press release filed that day. Huntsman

also announced through the press release that the spin-off would be called Venator Materials

Corporation.

       D.      The Pori Facility Burns Down

       74.     On January 31, 2017, Huntsman announced that a seemingly inconsequential fire

had damaged its Pori facility. As Huntsman disclosed in a press release, the fire had started the

previous morning, January 30, 2017, and the “fire brigade responded quickly and extinguished the

fire.” Huntsman stated that it was “committed to repairing the facility as quickly as possible to

ensure that customers can continue to receive the quality products by [the] Pori site.”

       75.     Based on the information provided by Huntsman shortly following the fire, analysts

presented positive assessments for the Pori facility restarting. Wells Fargo analysts stated that the

closure would only last “several months,” while J.P. Morgan analysts expected the plant to be

“offline for 60-90 days.” The estimates would have been wildly unrealistic had investors been

told the true extent of fire’s damage.



                                                 25
       76.     Indeed, Huntsman’s press release and other reassurances to investors concealed the

severity of the damage of the damage caused by the fire, and the reality of the devastating impact

on the Venator business. In fact, rather than having been quickly “extinguished” at the time the

press release was issued, the fire was still smoldering in some portions of the facility, and

Huntsman could not even re-enter the facility because of the potential that radiation could leak

from the damaged instruments.

       77.     In truth, Pori had been destroyed. As detailed by the fire inspection report, or

“onnettomuustutkintalautakunta,” conducted by the Finnish Safety Authority obtained by Lead

Plaintiff through a records request, the fire sparked from one of the Facility’s electrical filters in

the central building and spread quickly through Pori’s pipe network and through the manufacturing

halls. The fire rose up through the central structure, which measured three to five stories

throughout the building, and eventually reached the roof, setting alight the “process gas pipes”

there, which “burned rapidly, spreading the fire.” “Within minutes, the fire spread across the entire

width of the building,” setting 15,000 square meters of the facility’s roof ablaze, as well as the

indoor spaces below the burned roof.

       78.     FE 1 and FE 2, both of whom worked at Pori for over a decade and both before and

after the fire, explained that this central facility detailed in the Finnish accident report was Pori’s

“Moore” facility. All four of Pori’s production lines connected through the “Moore” facility, from

the precipitator in the “black end” of the Facility to the finishing area in the “white end.”

       79.     By the time the first fire teams arrived at the scene at 5:54 a.m. (GMT +2) on

January 30, 2017, the fire was already widespread. The central building, where the fire originated,

was in flames and the “flames extended from ground level up to the ceiling.” Along the roof, “the

process-gas pipes were burning intensely,” and “pipes leading to the adjacent powerplant building,



                                                  26
and to the high smokestack, burned with open flames.” Further, “hot metal objects, and molten

fiberglass” fell from the burning roof, igniting the other floors in the Facility below. These falling,

flaming objects were joined by “[s]everal explosions” that fire inspectors stated were likely caused

by “heat-induced damage to various pressure vessels.”

        80.     The size and intensity of the fire made it difficult to extinguish. The plant is very

large—over the length of a football field at almost 400 meters, and an average of 20 meters high,

with the highest burning roofs at a height of 30 meters—and the “fire spread over a wide area with

a damaged roof area of 15,000 square meters.” Over 300 rescue team personnel spent more than

20 hours on the primary extinguishing efforts, not including the on-site fire brigade, which took

over combating the remaining fire approximately 48 hours after the fire had started. The fire

remained out of control until a helicopter could be deployed at 12:50 p.m. (GMT +2) to combat

the fire spreading across the facility’s roof. Smoldering and burning was still detected within the

walls of the plant buildings “a full week after the fire,” feeding off of the insulation inside the

facility’s walls.

        81.     The entire Pori facility was damaged during the fire except for one small, auxiliary

building. However, the middle “Moore” section of the facility suffered the worst damage, with

some areas suffering “complete destruction.” As confirmed by both FE 3, who worked as a

purchaser and warehouse manager at the Pori facility from 2005 until 2018, and FE 2, who also

worked in production at Pori during the time of the fire, the fire destroyed all four of the facility’s

production lines. Only the “white-end” finishing portion of the “CD” production line survived.

        82.     At least one month elapsed before the premises were declared safe enough to enter

so that the damage could be assessed. FE 1 explained that some of the instruments used in the Pori

facility and damaged in the fire had the potential to leak radioactive material as a result of the fire



                                                  27
damage, and the danger had to be assessed before the factory could safely be re-entered. As the

Finnish Safety Authority report noted, two weeks after the fire, on February 16, 2017, the

Radiation and Nuclear Safety Authority (“STUK”) conducted a readiness inspection to assess the

radiation risk. According to the report, there were 41 sources of radiation in the fire area, and in

connection with the inspection, “no area damaged by the fire was reached, so complete assurance

of the condition of the radiation sources was not obtained.” As a result, STUK required Huntsman

to develop a plan to clear the burned areas so as not to compromise radiation safety.

       83.     In fact, the Finnish Safety Authority noted that while Huntsman had “set up its own

internal investigation team to investigate the fire,” the Huntsman investigation team’s report “was

not completed during the accident investigation” conducted by Finnish authorities and still had

not been completed its investigation by September 22, 2017—weeks after the Venator IPO.

       E.      Recognizing That Pori Had Been Destroyed, Huntsman Switches Transaction
               Structures In Order To Dispose Of Its Interest In The Pigments Business And
               Accelerates The Separation

       84.     The damage to Pori and its impact on the pigments business was immediately

apparent to Huntsman insiders. Senior Huntsman executives visited the facility in the weeks after

the fire, including Peter Huntsman, who gave a speech to Pori workers on February 8, 2017.

Huntsman senior executives formed a task force to deal with the Pori outage, and recognized that

the damage to the Pori facility would have a severe and lasting impact on the pigments business.

However, rather than pause to assess how and whether Pori could return to normal operating

capacity, Huntsman’s senior executives determined to dispose of the pigments business as quickly

and profitably as possible.

       85.     In doing so, Huntsman determined to alter the transaction structure for the

separation of the pigments business that it had previously said it would use. Even though the IRS

approved the spin-off structure on February 16, 2017—permitting Huntsman to retain a 40%
                                                28
economic interest in the business tax-free in distributing the remaining interest to existing

Huntsman shareholders—Huntsman decided to pursue an alternative plan to separate the pigments

business as an IPO to public shareholders.

       86.    By separating from the Venator business through an IPO (rather than through a

shareholder spin-off as originally planned and the IRS approved), the Huntsmans would avoid

being saddled with an equity interest in a newly separated company whose business had been

imperiled by the destruction of the Pori facility. At the time, the Huntsman family owned

approximately 27.5 million Huntsman shares, or approximately 11% of the company’s outstanding

equity worth over half a billion dollars, and a spin-off would have given the Huntsmans an

equivalent stake in the new company. By contrast, an IPO would allow the Huntsmans to dispose

of their interest in the doomed pigments business while also raising substantial cash from the

investing public to pay off Huntsman debt—an objective that took on heightened urgency in light

of the merger discussions that Huntsman was having with rival specialty chemicals maker Clariant

AG (“Clariant”).

       87.    Specifically, while Huntsman had for nearly 10 years entertained the possibility of

merging with Clariant, those discussions accelerated in the beginning of 2017. Rumors of a

potential merger first surfaced on March 28, 2017 when then-Huntsman Chairman Jon Huntsman

Sr. told investors at an investor conference that the Company was “seriously looking at the

possibility of doing a merger,” which Jon Huntsman said would follow a spin-off of the pigments

business. On May 21, 2017, The Wall Street Journal reported that Clariant and Huntsman were in

discussions to merge. The next day, on May 22, 2017, the two companies formally announced the

proposed transaction in a joint call held by Huntsman CEO Defendant Peter Huntsman and

Clariant CEO Hariolf Kottmann. As the two disclosed that day, under the proposed transaction,



                                              29
Peter Huntsman would be installed as the CEO of the combined company, which would become

the second largest chemical company in the world.

       88.     Just before the proposed merger was announced, on April 26, 2017, Huntsman

disclosed that it had abruptly changed plans for the future of Venator. Instead of pursuing a tax-

free spin-off, Huntsman now planned to separate by conducting an initial public offering, selling

Huntsman’s interest in the Venator business to the investing public rather than spinning it off

directly to existing Huntsman shareholders. With the IPO proceeds, Huntsman could quickly pay

off a significant portion of its existing debt, achieve an investment grade rating, and appease the

activist investors who were opposed to the Huntsman-Clariant deal precisely because of

Huntsman’s overburdened balance sheet.

       F.      Huntsman Reassures Investors It Is “Committed To Rebuilding The Facility
               As Quickly As Possible” And Would Not Proceed With A Separation “Under
               Any Cloud Of Uncertainty” About Pori

       89.     Even though Huntsman had dramatically changed the transaction structure for the

Venator separation due to the impact of the Pori fire, Defendants knew that disclosing the truth

about Pori would doom the IPO. Instead, Huntsman executives explained that the change was

driven supposedly legitimate factors, such as the “rebound” in the TiO2 market, and repeatedly

assured investors that the Pori fire had no impact. Indeed, before anyone at Huntsman could even

enter the facility—let alone conduct the necessary inspection to assess the damage—Huntsman

told investors that the Venator separation would not occur unless and until there was a near

certainty that Pori would return to its full prior operating capacity.

       90.     Specifically, on February 26, 2017, two weeks following the fire and before anyone

could safely reenter Pori, Peter Huntsman confirmed on Huntsman’s fourth quarter 2016 earnings

call that Huntsman still planned to conduct the tax-free spin-off its TiO2 business. During the call,

Peter Huntsman assured investors that Huntsman was “committed to rebuilding the facility as
                                                  30
quickly as possible” and that if the Venator spin-off happened before “the restart and

demonstration of Pori coming back online,” then Huntsman management would “have to be very,

very certain that we were very close to startup, and that there wasn’t a lot of start-up risk.” Further,

Peter Huntsman told investors that the fact that Huntsman would retain a significant 40% economic

interest in the separated company reflected its “vote of confidence in what we believe will be a

successful spin-off.”

        91.     Peter Huntsman also made clear that the Venator separation would not occur if

management was not entirely confident about the ability to rebuild the Pori facility, as Huntsman

did not want “a spin that takes place under any sort of cloud of uncertainty.” In response to an

analyst’s question, Peter Huntsman specifically told investors that Huntsman would not proceed

with the Venator separation until it had “absolute clarity and certainty about where we’re going

and how we are operating.”

        92.     Huntsman executives reassured investors—who repeatedly asked about the Pori

facility and its impact on the separation—that Pori’s capacity would quickly come back online.

For example, on March 27, 2017, Huntsman disclosed a timeline for restarting the Facility that

reaffirmed Peter Huntsman’s earlier comments downplaying the extent of the damage caused by

the fire. Specifically, Huntsman represented that the entire facility would return to 100% capacity

in a year and a half—with approximately 20% of capacity restored by the end of the second quarter

2017, an additional 40% brought online by the end of the first half 2018, and the final 40%

completed and the site returning to full 100% capacity by the end of 2018.

        93.     Even though Huntsman told investors that the separation would not take place

“under any sort of cloud of uncertainty,” Huntsman accelerated the separation timeline after

announcing it would be pursued as an IPO. For example, Peter Huntsman mentioned multiple



                                                  31
times in the call announcing the proposed Huntsman-Clariant merger on May 22, 2017 that the

merger would “not impact our expected IPO of our Pigments & Additives business this summer.”

In fact, Huntsman began the process of monetizing the separation from the Venator business just

weeks later on June 26, 2017 by launching a private offer for an aggregate $375 million in senior

notes through the soon-to-be separated business.       According to a Huntsman press release

announcing the private offer, the company planned to use the proceeds from these senior notes to

“repay intercompany debt owed to Huntsman, to pay a dividend to Huntsman and its subsidiaries

and to pay related fees and expenses.”

       G.      Huntsman Rushes To Complete The Venator IPO Before Completing Its
               Investigation Into The Fire

       94.     Despite Huntsman’s repeated reassures investors concerning the Pori timeline and

progress of the rebuild, Huntsman still had not completed its own investigation into the fire. The

Finnish fire report on Pori, completed after the IPO, stated that the “factory owner, the American

Huntsman Group, set up its own international investigation team to investigate the fire. The

investigation team’s report was not completed during the accident investigation by the Accident

Investigation Authority.”

       95.     Notwithstanding the fact that Huntsman had not even completed its own

investigation into the fire—and thus could not possibly have properly assessed the damage or its

ability to rebuild—Huntsman sped ahead with the IPO process. For instance, Venator filed a Form

S-1 with the SEC on May 5, 2017 which reiterated the timeline for the Pori completion that Peter

Huntsman had provided investors just weeks before. In response to SEC comments, Venator filed

a series of amendments to the S-1 on June 13, June 30, and July 14—each reiterating the timeline

in which 20% of the Pori was operational by the end of the second quarter, and the facility would

be fully operational by the end of 2018.


                                               32
       96.     While the SEC had several comments to the S-1 and the amendments, one particular

criticism stood out. Specifically, in a June 13, 2017 letter from the SEC, the agency requested that

Venator provide better disclosures to investors concerning the Company’s earnings and operating

expenses. The SEC specifically cited a lack of clarity concerning the material drivers impacting

the Company’s earnings, and asked that Venator “ensure your disclosures discuss the main cost

drivers affecting your operating expenses and quantify in dollars how those increases/decreases in

costs impacted your Segment Adjusted EBITDA amounts during each period presented.”

       97.     As noted below, even after Venator amended its SEC filings in a purported effort

to address the agency’s concerns, investors were still in the dark about the true drivers of the

Company’s expenses and their impact on earnings. The lack of disclosure concerning the

Company’s operating expenses were particularly problematic given that, during this time, Pori-

related expenses were skyrocketing, and the impact of the fire on Pori’s earnings was unclear.

Instead of providing the disclosures requested by the SEC, Venator made a series of

misrepresentations that obfuscated the impact of the Pori outage on TiO2 prices, the allocation and

amount of Venator’s business interruption insurance, and the resulting impact on earnings.

       98.     Indeed, Defendants provided additional assurance to investors concerning

Venator’s prospects by explaining that insurance would largely cover the cost of both the facility

rebuild and any earnings lost from Pori’s outage. As Huntsman told investors before the Class

Period, and as Venator explained in the prospectus issued in connection with the IPO and in other

SEC filings throughout the Class Period, the Pori facility was insured for $500 million, which

covered both property damage and business interruption losses. As a result, Venator repeatedly

told investors that the “fire at our Pori facility did not have a material impact” on quarterly

operating results “as losses incurred were offset by insurance proceeds.” Moreover, as Venator



                                                33
noted in those filings, Company management had “established a process with our insurer that

provides timely advance payments for the reconstruction of Pori manufacturing facility and

recovery of business interruption losses.” And as Peter Huntsman told investors on Huntsman’s

April 26, 2017 first quarter 2017 earnings call, “[b]eginning the second quarter, we expect to be

reimbursed by our insurers for all lost margins going forward.” But in truth, Huntsman used the

insurance policy to prop up Venator’s earnings—so that it could capitalize in the fully subscribed

and generously priced IPO and SPO—rather than rebuild Pori.

       99.     Indeed, Defendants’ statements concealing the true impact from Pori—and the

repeated and definitive timeline for Pori’s return—gave analysts confidence in the to-be-separated

company’s prospects, with Wells Fargo analysts commenting in a June 27, 2017 report that “[w]e

still expect the Pori facility to come back online by late 2018.”

       100.    Consistent with the timeline for separating the pigments business before the fire—

and before Huntsman had completed its investigation of the fire—on August 2, 2017, Venator

entered into an underwriting agreement with the Underwriter Defendants in which it would sell a

25% stake in the business for half a billion dollars. Huntsman’s agreement with the Underwriter

Defendants included a lock-up agreement which barred “Huntsman and its directors and executive

officers, and the selling shareholders and their directors and executive officers” from selling any

Venator shares for 180 days after the date of the IPO.4 Importantly, however, the lock-up could

be waived by agreement of three of the four Underwriter Defendants, in which case Huntsman

could sell its shares “at any time without notice.”




4
 A lock-up agreement is a contractual provision barring insiders of a company from selling their
shares for a specified period of time.
                                                 34
               1.      Huntsman Separates Venator Through the IPO

       101.    In the IPO, Huntsman marketed Venator based on its three main factors: (i) its

significant TiO2 production, both globally and in Europe, (ii) the quality of its specialty products,

which strongly positioned Venator in comparison to peers that were more focused on

commoditized products, and (iii) its strong customer base, which resulted from the first two factors,

i.e., the Company’s strong production capabilities and superior specialized products.

       102.    First, sheer production numbers were an important part of Huntsman’s pitch.

Venator would be “among the three largest global TiO2 producers, with nameplate production

capacity of approximately 782,000 metric tons per year, accounting for approximately 11% of

global TiO2 production capacity.”

       103.    Second, Venator would be supported by the strength of its specialty products and

associated customers. The IPO materials marketed Venator as “the leader in the specialty

TiO2 industry segment, which includes products that sell at a premium and have more stable

margins,” with a specialty business “three times larger than that of our next closest competitor.”

According to the IPO registration statement, “specialty and differentiated products” would account

for “approximately half of our 2016 TiO2 sales.”

       104.    Third, these specialty products would allow Venator to cultivate a more stable and

specialized customer base. According to the IPO materials, Venator’s “focus is on marketing

products and services to higher growth and higher value applications . . .such as fibers and films,

catalysts, cosmetics, pharmaceuticals and food, where customers’ needs are complex resulting in

fewer companies that have the capability to support them.” As fewer companies could fulfill these

product requirements, Venator occupied a niche position and had the ability to become a sole

supplier for those customers.



                                                 35
       105.    Pori was critical to all three aspects of the Venator investment proposition. At the

time, Pori was the second largest facility at Venator with a nameplate capacity of 130,000 metric

tonnes and would help Venator “take advantage of an improvement in the TiO2 industry cycle,”

noting this fact was one of the Company’s “Competitive Strengths.” Venator’s filing noted that

TiO2 prices had surged by $300 per metric ton in 2016 based on an “approximately 8%” growth

in demand, and were projected to grow by an additional “$600 per metric ton, the equivalent of

more than 24%, from December 31, 2018 through the end of 2017.” According to Venator, “[w]ith

approximately 782,000 metric tons of annual nameplate production capacity, we believe that we

are well-positioned to capitalize on recovering TiO2 demand and prices.” Venator’s statement

touting the Company’s production numbers included Pori’s full 130,000 metric tons capacity.

       106.    Pori also contributed significantly to Venator’s earnings. While Venator did not

disclose Pori’s specific contribution to the Company’s earnings, the IPO materials made clear that

the facilities acquired through the Rockwood Acquisition, which included Pori, positioned Venator

“as a leader in the specialty and differentiated TiO2 industry segments, which includes products

that sell at a premium and have more stable margins.”

       107.    The IPO materials also emphasized that Venator was well-positioned to benefit

from rising prices in the TiO2 market, and that those prices were on a sustained upward

trajectory—a critical concern for investors given the TiO2 boom-and-bust cycle. For example,

Venator noted that the Company would benefit from the fact that it had “successfully negotiated

four consecutive quarterly TiO2 price increases which took effect beginning in the second quarter

of 2016,” and cited industry estimates to claim that the Company would continue to benefit from




                                                36
this favorable upward pricing trend.5 According to Venator, TiO2 prices were increasing because

“supply/demand fundamentals began improving in 2016 primarily due to strong global demand

growth and some capacity rationalizations.” In short, Venator told investors that TiO2 pricing was

rising, and would begin a period of sustained price increases.

       108.    The above statements concealed the extent of the damage to the Facility and its

impact on Venator’s business, TiO2 industry dynamics, and Venator’s true value. While the IPO

Materials represented that production at Pori had already restarted, with “approximately 20%

capacity in the second quarter of 2017,” when in fact Pori had no capacity and would never regain

the any capacity whatsoever. Further, rather than proceeding on schedule to return to full capacity

by the end of 2018, at the time of the IPO, Venator had not even completed its investigation of the

fire and was still a year away from completing the demolition work needed to start the rebuild.

And while Venator claimed that rising prices and strengthening TiO2 market dynamics was

“primarily due to strong global demand growth,” in truth, the Pori outage itself had caused a

dramatic but temporary spike in TiO2 prices, as the U.S. District Court for the District of Columbia

would later conclude. As would only be revealed after the Class Period, Venator exploited the rise

in TiO2 prices to report higher earnings using business interruption insurance proceeds, and create

the illusion that Venator’s business was poised for sustained growth.




5
  Venator cited data from TZ Minerals International Pty Ltd (“TZMI”), an independent consulting
and publishing company that specializes in the TiO2 industry, suggesting that the market price of
global high quality TiO2 would grow by more than $500 per metric ton, of more than 20%, from
December 31, 2016 through the end of 2017.
                                                37
       H.      Following The IPO, Defendants Assured Investors That Pori Would Be
               Rebuilt, That Tio2 Prices Were Increasing Due To Improving Demand, That
               Pori Was At 20% Capacity, And That Insurance Would Cover The Rebuild

       109.    Following the IPO, which closed on August 8, 2017, Defendants Peter Huntsman

and Turner, along with other members of Venator’s senior management visited the Pori facility,

holding an event held on August 27, 2017. Defendants continued to promote Pori’s returning

capacity, telling investors that 20% of the facility’s production capacity had been restored, and

reported results that beat analyst estimates across the board. According to Venator, the Company

was benefitting from increasing TiO2 prices, which had been driven by the “solid demand, good

demand around the world” and had provided a “really strong uplift” in Venator’s earnings. These

statements buoyed the price of Venator shares, and enabled Huntsman to dump another $470

million of its Venator shares through a secondary offering of stock that Venator rushed to complete

before investors learned the truth.

       110.    For example, on Venator’s first earnings call as a public company on October 27,

2017, Venator reported “strong set of business results”—with earnings per share beating consensus

by 37%—driven by the TiO2 segment and higher TiO2 selling prices, and noted that the Company

continued to “see good demand” across both specialty and functional products. Defendants also

assured investors that while the improved market dynamics for TiO2 had impacted insurance limits

for Pori, Venator was well on its way to returning Pori to its full operating capacity. For example,

on the earnings call, Defendant Ogden reassured investors that at Pori, “[w]e are already running

at 20% of previous capacity,” and that the Company would “restore manufacture of the balance of

these more profitable specialty products as quickly as possible in 2018.”

       111.    At the same time, Venator highlighted the strengthening TiO2 cycle, telling

investors that TiO2 price increases were driven by stronger demand. For example, Defendant

Turner noted that “segment adjusted EBITDA [was] up 37% over the prior quarter, primarily
                                                38
driven by higher TiO2 selling prices,” and that Venator “continue to see good demand across the

market for our specialty, differentiated and functional grades, and we are currently implementing

price increases for the fourth quarter.” Turner repeated this point later in the call, telling an RBC

Capital Markets analyst that the Company’s strong earnings “uplift” was “related to solid demand,

good demand around the world.” In fact, when asked how the current TiO2 price cycle compared

to previous cycles, Turner emphasized that the Company had seen “better underlying demand this

time around.”

       112.     Defendants also told investors that the improving demand and price environment

had impacted its insurance for the Pori fire. Specifically, CEO Turner assured investors that “[o]ur

$500 million insurance policy is more than enough to cover the costs of the rebuild on its own”

but that improving TiO2 market dynamics and “strong market conditions” had led Venator to

allocated a greater amount of insurance proceeds to pay for business interruption losses.

According to Turner, the increase over insurance limits had nothing to do with the rebuild itself,

and only underscored the underlying strength of Venator’s business:

       Our $500 million insurance policy is more than enough to cover the costs of the
       rebuild on its own, but the insurance policy also covers lost earnings. Due to
       prevailing strong market conditions, our TiO2 selling prices continue to improve,
       and our business is benefiting from the improved profitability and cash flows. This
       also has the effect of increasing our insurance claim for lost earnings from the Pori
       site.

       113.     Defendants further suggested that any additional capital expenditures above policy

limits would only be needed to cover the less profitable, commodity capacity at the Facility. When

a Nomura analyst asked whether the “$100 million to $150 million the approximate CapEx you’ll

need to invest after the end of 2018 to bring the last 40% of commodity capacity?” Defendant

Ogden confirmed that this was “a reasonable way to think about it.” In other words, rebuilding




                                                 39
the specialty portion of Pori, which was responsible for 75% of its earnings, had not been and

would not be impacted by the recently disclosed overages.

       114.    Analysts credited Defendants’ explanations. For example, Barclays analysts noted

in an October 27, 2017 report that Venator had “confirmed they are already running at ~20%

operating rates [at Pori] (relatively in-line with earlier guidance)[.]” Similarly, analysts at

Deutsche Bank gave Venator a “Buy” in their November 2, 2017 report, noting that “20% of

capacity is running” at Pori.

       115.    Analysts also accepted Defendants’ statements that any additional costs above

insurance limits simply reflected the fact that the “strong market conditions” required a greater

portion of proceeds be allocated to business interruption losses. For example, in their October 27

and 29 reports, RBC analysts stated that Venator provided had “a strong showing for VNTR’s first

earnings period as a public company,” that its results showed “the strength of the TiO2 business,”

and that the Pori rebuild program appeared to be “on track.” According to RBC, the “cost overrun

of $100-150M” was only the “result of the strength in the TiO2 market”—underscoring the

conclusion that “positive TiO2 market dynamics . . . will drive additional margin expansion and

offset any uncertainty surrounding Pori cost overruns.” These representations had their intended

effect, with Venator shares appreciating over 25% since the IPO to close at $24.81 per share on

October 27.

       116.    Taking advantage of this inflated share price, Huntsman quickly sought to unload

as much of its interest in Venator as quickly as possible. Despite still being under a 180-day lock-

up, Venator moved forward with the SPO by obtaining a waiver from the Underwriter Defendants

and, on November 27, 2017, filed a Form S-1 with the SEC for the SPO on November 27, 2017

(the “SPO Registration Statement”). In rushing the secondary offering to market, Huntsman



                                                40
accelerated the timeline contemplated by the lock-up nearly a third, and obtained permission from

the Underwrite Defendants to sell its shares over two months earlier than planned.

                1.      Venator Repeated False Assurances About Pori To Promote The SPO

        117.    In the SPO Materials, Venator repeated assurances to investors regarding: (i) Pori’s

production capacity; (ii) the status of the facility after the fire, the timeline to reconstruct the

facility, and the reconstruction progress, (iii) the financial impact of the fire, and (iv) the extent to

which Venator’s insurance would cover the damage resulting from the fire.

        118.    In the SPO, Venator continued to assert that Pori was operating at “20% prior

capacity,” stating:

        The Pori facility had a nameplate capacity of up to 130,000 metric tons per year,
        which represented approximately 17% of our total TiO2 capacity and
        approximately 2% of total global TiO2 demand. We are currently operating at 20%
        of total prior capacity but producing only specialty products, and we currently
        intend to restore manufacturing of the balance of these more profitable specialty
        products by the fourth quarter of 2018. The remaining 40% of site capacity is more
        commoditized and we will determine if and when to rebuild this commoditized
        capacity depending on market conditions, costs and projected long term returns
        relative to our other investment opportunities.

        119.    As in the IPO, Venator again stated that Pori had an “Annual Capacity” of “130,000

metric tons” while making clear that Venator’s Calais facility—which only performed the

“finishing” phase of the TiO2 manufacturing process—was a “finishing facility” that did not

generate any TiO2 capacity.6 Further, the SPO materials provided TiO2 production totals for

Venator’s facilities in Uerdingen, Germany; Duisburg, Germany; and Scarlino, Italy. Specifically,

the SPO stated that production capacity for these facilities remained unchanged from the figures




6
 Instead, as in the IPO, the SPO Materials stated that Huntsman’s decision to shut down the black-
end portion of the Calais facility in February 2015 reduced that facility’s prior TiO2 capacity to
zero.
                                                   41
provided in the IPO at 107,000, 100,000 and 80,000 metric tons, respectively, showing that Pori’s

semi-restored 20% capacity had not impacted capacity at other Venator facilities.

         120.   As part of the SPO Registration Statement, Venator again confirmed that it would

repair Pori’s remaining specialty product capacity by the end of 2018. As the SPO Registration

Statement stated multiple times, “we currently intend to restore manufacturing of the balance of

these more profitable specialty products by the fourth quarter of 2018.”

         121.   The SPO materials also confirmed that Venator would only exceed its insurance

policy by $100 million to $150 million, and that the overage was a result of strong TiO2 prices

rather than any cost overruns in repairing the facility. According to the SPO Materials, as a result

of “prevailing strong market conditions, our TiO2 selling prices continue to improve and our

business is benefitting from the resulting improved profitability and cash flows [which] has the

effect of increasing our total anticipated business interruption losses from the Pori site.”

Venator again stated that it expected to “contain these over-the-limit [insurance] costs within $100

million to $150 million, and to account for them as capital expenditures.”

                2.     After The SPO, Defendants Claimed That Pori Was Operating At 20%
                       Capacity, That The Pori Rebuild Was “On Pace” And “On Track,” And
                       That Increased Insurance Costs Were Due To The “Fast-Track” Program

         122.   Over the next eight months, Defendants repeated the refrain that Pori was operating

at 20% capacity. For example, in Venator’s year-end and quarterly SEC filings and earnings calls,

the Company stated that Pori was “currently operating at 20% of total prior capacity,” while

Defendant Turner reiterated that Pori currently had “20% of the total prior site capacity available

for production” on the Company’s first quarter 2018 earnings call. These repeated statements

reinforced the idea that Pori was producing 20% of the product manufactured onsite prior to the

fire, rather than just finishing product that had been shipped from Scarlino, Italy and other Venator

sites.
                                                 42
         123.   At the same time, Defendants continued to assure investors that Pori was on track

to be rebuilt and that the portion of the facility devoted to specialty products would be restored by

the end of 2018. Indeed, on the Company’s fourth quarter earnings call on February 23, 2018,

Defendants explained that Venator was so committed to adhering to this schedule that it was

willing to a pay a “fast track” premium to ensure that Pori’s specialty capacity was fully restored

by the end of 2018, and that the Company had hit every “milestone” in terms of reconstruction

progress so far:

         At Pori, we remain on track with our fast-paced project to restore the higher
         profitability, 60% specialty capacity by the end of 2018 through our original plan,
         hitting both the midyear and end-year milestones. The economics to rebuild the
         remaining 40% of capacity are compelling, and these more commodity products
         will be reintroduced to the market at a more normalized pace but not before 2020.

         124.   Turner repeated this sentiment later in the call, telling a Citi analyst that “the

specialty portion of the 60% [Pori] rebuild that we are going at a fast pace to restore, in which we

are on pace, that’s a very demanding timeline.” Turner’s comments matched the statements

Venator made in its Form 10-K for 2017, filed February 23, 2018, which stated “we intend to

restore manufacturing of the balance of these more profitable specialty products by the end of

2018.”

         125.   Analysts accepted Defendants’ reassuring statements that Pori was operating at

20% capacity and that the rebuild was on track. In their February 23, 2018 report, SunTrust

analysts highlighted that 20% is currently operating” at Pori and that Venator’s work on the

specialty portion of the facility was “on track.” Likewise, in their February 26, 2018 report,

Barclays analysts noted that “VNTR remains on track to restart the specialty unit, (60% of total

capacity) by the end of 2018.” Deutsche Bank analysts similarly agreed, stating in their February

26, 2018 report that Venator’s Pori “issue is transitory as construction for the specialty products

portion of the facility (75% of site EBITDA) is [on] track to be completed by end of ‘18.”
                                                 43
       126.    While Defendants continued to claim that Pori would still be rebuilt, they now

revealed that the cost would exceed the insurance policy by $325 to $375 million because of a

“fast-track” premium applied to construction costs at the site. As Turner explained on Venator’s

2017 fourth quarter earnings call, the “fast-track premium” was being spent to return the facility’s

more valuable “specialty” operations back to normal as fast as possible, as Venator was “paying

premium prices where necessary to attain equipment and services, to hit back to fast-paced

approach.” In reality, the “fast-track premium” was spent not on rebuilding facility, but on funding

an expensive makeshift manufacturing process in which Venator produced product at other

facilities—and then shipped that intermediate product to Pori, where it was “finished.”

       127.    Again, analysts accepted Defendants’ assurances that the newly revealed insurance

overages were only caused by the “fast-track premium” paid by Venator to bring Pori’s specialty

capacity online by the end of 2018, and did not suspect that Venator’s insurance proceeds were

rapidly depleting due to the shipment of intermediate TiO2 by truck across Europe. For example,

RBC analysts in their February 25, 2018 report noted that one of the “[p]rimary cost escalation

factors” at Pori was “fast-tracking the specialty component (paying a premium to get the 60%

specialty portion up).” Jefferies analysts repeated the same sentiment in their February 26, 2018

report, stating that the costs for the Pori rebuild were increasing, “mostly resulting from

accelerating the timeline for specialty.”

       128.    Defendants also continued to assert that the rising prices in the TiO2 market were

driven by increases in demand—not as a result of the Pori outage. For example, on Venator’s

fourth quarter 2017 earnings call, Defendant Turner told investors that the “Titanium Dioxide

segment delivered another great quarter, with TiO2 pricing and business improvement benefits

driving the results.” According to Defendant Turner, the stronger TiO2 pricing was supposedly



                                                44
caused by a “positive underlying demand across the market,” with Venator seeing “ further price

improvement in TiO2” in 2018.

       129.   Analysts also credited Defendants’ explanation for increasing TiO2 prices based on

strengthening demand. Barclays analysts noted in their February 26, 2018 report that, “Venator

reiterated its bullishness on the TiO2 cycle, with expectations for 5% further sequential price

improvement in 1Q’18.” Deutsche Bank analysts in their February 26, 2018 report likewise noted

that TiO2 price increases were “driven by strong TiO2 industry fundamentals.”

       I.     In Truth, Pori Never Regained The Ability To Produce Any Tio2 Capacity
              After The Fire—Let Alone The 20% Capacity Defendants Falsely Claimed—
              Was Never “On Pace” To Be Rebuilt, And Could Not Have Economically Been
              Rebuilt

       130.   Contrary to Defendants’ representations, Pori never regained operational capacity

of 20%, and could never have been economically or feasibly rebuilt, as Defendants had falsely

claimed. In fact, to conceal the truth about Pori, Venator executives engaged in an elaborate,

expensive, and fundamentally unsustainable scheme to create the “appearance” of manufacturing

production—and to falsely tout a “20% of total prior capacity” in the IPO and SPO offering

documents and in other statements to investors—to enable Huntsman to dump the irreparably

damaged pigments business division in the most profitable manner.

              1.      Pori Was Damaged Beyond Repair and Would Never Again Reach 20%
                      Capacity

       131.   Numerous former employees of Venator confirmed that the Company’s claim of

20% production capacity had no basis in reality, and that the facility was so irreparably damaged

that it could never have been rebuilt. For example, FE 4, who worked as Venator’s North

American Market Manger and was responsible for sales activity for Venator’s ink and fiber

customers in the United States—including the part of the business that was directly impacted by

the fire—explained that the facility was never up to 20% capacity. FE 4 explained that he/she

                                               45
spoke to numerous Venator employees, all of whom confirmed that the facility never returned to

20% output.

       132.    Likewise, FE 2, a production worker at Pori from 1994 to 2018, said he/she did not

believe production capacity ever hit 20% after the fire. According to FE 2, “It wasn’t realistic in

any way to expect the facility to go back to full capacity by 2018. When you looked at the way

they worked . . . nothing happened, just lots of people hanging around. I think they just pretended

to do something in order to collect money from the insurance company.” According to FE 2, Pori’s

inability to reach 20% output was discussed among the facility workers directly involved in the

finishing process—the only production stage that was functioning at all after the fire.

       133.    Similarly, FE 3, who worked at Pori from January 2005 to December 2018 as a

purchaser, stated that no production activity could take place at the factory after the fire as all four

production lines at the Facility were destroyed from the middle to the end. Like FE 3, FE 4 said

that only the CD-line, which manufactured the specialty pigments such as RDI-S, could operate in

the main facility, and only in part. Put another way, FE 3 reported that, following the fire, the

factory never operated at 20% and that this figure was overly optimistic and did not reflect reality.

       134.    Nor was there any possibility that the facility could be rebuilt to achieve 20%

capacity. Multiple former Venator employees confirmed that little to no reconstruction actually

occurred at Pori following the fire. For example, FE 1 and FE 2 explained that demolition work

was still ongoing at Pori in July of 2018. In fact, as FE 2 stated, much of Pori was still largely

fenced off in July 2018, and almost no work beyond the ongoing demolition had occurred onsite

since the fire occurred back in January 2017. FE 2 confirmed that only one of the facility’s four

production lines had been worked on at all during this period. To illustrate, the photographs below

were taken in March and April 2018 and show that the demolition for the core damaged “Moore”



                                                  46
portion of the facility had not even been completed by that time, and infrastructure and other

adjoining areas of the facility were exposed. As April 2018, demolition vehicles from Delete, a

Finnish demolition company, were still in the process of tearing down the damaged Moore facility,

providing direct evidence that Venator was never “on track” or “on pace” to rebuild Pori:7




            Pori Facility March 5, 2018                      Pori Facility April 13, 2018



                 2.     Venator Went to Great Lengths to Create the False Appearance of 20%
                        Capacity

         135.    Huntsman and Venator executives knew that returning Pori to full capacity was a

primary concern for investors, and that Venator had to provide concrete progress toward that goal

in order to quickly and profitably separate the pigments business. To provide that assurance,




7
    See Delete home page, available at https://www.delete.fi/en/.
                                                 47
Venator turned to extreme measures to manufacture the false appearance that the Pori facility was

actually “producing” TiO2 by shipping intermediate TiO2 manufactured at other facilities in Italy

and Germany to Pori to be “finished.”

       136.    FE 5, who served as the Director of Supply Chain for the Specialty Chemical

Division, explained that Venator shipped intermediate product manufactured at Venator’s facilities

in Scarlino, Italy and Duisburg, Germany to be finished at Pori because the fire had destroyed

Pori’s ability to produce any product. FE 5 confirmed that the decision to ship intermediate

product from Germany and Italy was made just weeks after the fire—when it became clear that

Pori would not be able to produce any TiO2 itself and existing TiO2 product inventory quickly

depleted—and approved by Venator senior management. According to FE 1, Phil Wrigley,

Venator’s former Vice President of Environmental, Health and Safety (EHS) and Manufacturing

Excellence was involved in this approval.

       137.    FE 5 also explained that the plan to produce intermediate product at other facilities

in Italy and Germany was discussed with Venator’s senior executives—including Defendants

Turner and Maiter—who were kept apprised of Venator employees’ efforts to fill customer orders

following the fire. FE 5 said that he/she discussed this makeshift approach, termed the “production

plan,” at weekly meetings with a team of Venator employees who were dealing with the fallout

from the fire, including managing the customer relationships that had been impacted. According

to FE 5, the team would provide reports to Venator senior management detailing any dynamic or

changing numbers, the timing of production, the capacity of each line, and the resulting production

plan based on those numbers.

       138.    In fact, Defendant Mahomed Maiter—the senior-most Venator executive

responsible for business operations—confirmed in a deposition on March 8, 2018 that after the



                                                48
Pori fire, there was some “shuffling of production from plant to plant,” whereby intermediate TiO2

product was manufactured at the Company’s Scarlino facility and then shipped to Pori for

finishing. Specifically, in March 2018, Maiter testified in the FTC’s preliminary injunction

proceeding involving the Tronox-Cristal merger that, following the fire, Venator was forced to

“produce some semi-differentiated production at our Scarlino factory which we now finish off at

our Pori, Finland facility for certain product requirements for our specialty business.” Maiter

further testified that there were other factories that performed additional “small remixes”—i.e.,

produced intermediate TiO2 that was then shipped and finished at Pori—“in one or two factories

but they would not be major.” Defendant Maiter clarified that even the finishing process at Pori

had been impacted by the fire, testifying that it was not fully intact, but “largely intact would be a

better way” to describe it.

       139.    Further, as FE 4 recounted, certain grades of TiO2, such as R-DIS, could only be

finished at Pori. But because none of the four lines at the facility could function properly—as they

had been irreparably damaged in the fire—Venator began shipping intermediate products

manufactured from Italy to have them “finished” at Pori. As FE 4 explained, the fire destroyed

the “black end” of the Facility and the middle stage, where the processing of the products took

place, while certain portions of the facility involved in “finishing” intermediate TiO2 products

survived.

       140.    FE 4 also reported that the intermediate products produced in Italy, and then

shipped to and finished at Pori, were of lesser quality and poor replacements for those that were

produced at Pori before the fire. As FE 4 explained, after the fire, customers who received TiO2

produced in Italy but finished at Pori were “constantly complaining” about quality, and Venator

lost customers as a result.



                                                 49
       141.    FE 4 said that he left Venator in part because of the lack of disclosure surrounding

the Pori fire and because the Company was not sharing the reality of the situation at Pori with

anyone. According to FE 4, employees at Pori believed insurance proceeds were not being used

to fund the reconstruction of the facility, but instead used to prop up the Company’s financial

condition as Huntsman was trying to separate the business through the Venator spin-off.

       142.    FE 1, who was a Project Coordinator and Transformation Coach at Venator from

2016 through January 2019 responsible for Pori (and had previously worked at Huntsman since

2009), confirmed that after the fire, Pori could only “finish” TiO2 products. FE 1 explained that

it was his/her responsibility to ensure the facility was finishing 60 tons of product per day using

half-finished product that was manufactured in Italy and then shipped to Pori, while before the

fire, Pori was responsible for producing 350 tons of TiO2 per day.

       143.    FE 1 confirmed that “finishing” product at Pori was different than manufacturing

that product from start to finish. FE 1 made clear that he/she did not think it was reasonable for

the Company to expect to achieve annual production of 130,000 tons of nameplate capacity after

the fire, including because a critical part of the factory where the washing part of the process was

done was damaged, particularly given the speed of the reconstruction efforts and the levels of

investment Venator was devoting to the rebuilding effort. As FE 1 explained, the middle part of

each of the four production lines was completely destroyed, and at least 10 of the motor control

centers in the factory that controlled electricity were destroyed by the fire. These motor control

centers were needed to run the production lines in the Moore facility. Further, only one of four

production line’s end part was repaired—the so-called CD-line that produces inks—and that this

production line was solely used to “finish” half-finished special pigment product from Italy.




                                                50
       144.    In addition, even the finishing activity conducted at Pori did not reach the 20% of

Pori’s prior finishing capacity or equate to the same level of output. As FE 2 explained, the amount

of unfinished product being shipped in from Italy fell below the levels needed to generate 20% of

the prior amount of finished product Pori produced before the facility. FE 2 said that while the

amount of intermediate TiO2 shipped to Pori varied during the Class Period, it was typically about

two trucks per week—which would not be nearly enough TiO2 material for the plant to have

finished 20% of the product it had before the fire.

               3.      Senior Management Closely Tracked the Pori “Shuffle” and Knew the
                       Rebuild Never Got Off the Ground

       145.    Venator senior management—including Defendants Turner and Ogden—closely

tracked the progress of the Pori rebuild and the Company’s efforts to “shuffle” intermediate

product produced in Scarlino that was then shipped and finished at Pori. FE 5 reported that

progress for filling customer orders was discussed during the task force’s weekly meetings, and

that the updates from these meetings were reported to Defendant Turner and other senior Venator

executives each week. Those reports included details about which products were being produced

in which facilities—e.g., the intermediate products produced in Scarlino and then shipped to

Pori—as well as the actual capacity at the Pori facility, and specifically that Pori’s capabilities

were limited to finishing intermediate product manufactured at other facilities.

       146.    As FE 5 explained, manufacturing intermediate product in Germany and Italy but

then shipping it to Pori was tremendously expensive. Making matters worse, during the critical

months after the Venator IPO, intermediate product produced in Italy could only be transported by

truck, as train lines from Scarlino to Pori had been disrupted by the collapse of the tunnel being

built near Rastatt, Germany, which served as a major thorough way of trains from Italy to Pori.




                                                51
The Rastatt collapse blocked all rail traffic from September 2017 through November 2017, and

caused shipping costs to more than double during this time.

               4.      Pori’s Closure Caused a Surge in TiO2 Prices

       147.    Venator’s inability to produce any TiO2 whatsoever had a dramatic and immediate

impact on TiO2 prices, with the complete elimination of the supply of TiO2 from Pori triggering

a sustained surge in TiO2 prices. Contrary to Defendants’ representations in the IPO and SPO

Materials and to investors throughout the Class Period, TiO2 prices were not benefitting from

improved “demand” for TiO2. Rather, the elimination of the supply from Pori caused the price

increases—a fact that Defendants concealed from investors, who were wrongly led to believe that

Pori was still operating at 20% capacity.

       148.    The cause of the sharp increase in TiO2 prices following the Pori fire—and the fact

it was the lack of supply from Pori that caused those increases, as opposed to growing demand or

another factor—was the subject of extensive fact and expert discovery in the FTC’s action seeking

to enjoin the proposed Tronox-Cristal merger announced in December 2017. Following extensive

expert and fact discovery and testimony—a substantial portion of which is under seal and not

available to the public—the United States District Court for the District of Columbia issued a

thorough opinion concluding that the Pori fire served as a “supply restriction” that led directly to

the TiO2 price increases occurring just before the Venator IPO. Mem. Op., Fed. Trade Comm’n

v. Tronox Ltd., Case No. 1:18-cv-01622 (TNM), ECF No. 108 (D.D.C. Sept. 12, 2018).

Specifically, the District Court held that in “January 2017, a fire at a large TiO2 plant in Pori,

Finland, decreased the available titanium dioxide in Europe and caused a rapid and significant

price increase.”

       149.    That conclusion was reached after a review of voluminous documentary evidence

and several experts and industry participants testified about the significant impact the Pori fire had
                                                 52
on TiO2 pricing. While much of that evidence is still subject to confidentiality orders, the limited

testimony and evidence available to the public confirms the District Court’s conclusion that the

Pori outage triggered the TiO2 price increases that Venator falsely attributed to “improved

supply/demand fundamentals.”       For example, chemical industry expert Kenneth M. Stern

concluded that while Europe had historically been a net exporter of TiO2, it became a “net

importer” in 2017 “largely as the result of the Pori plant fire.” Similarly, Dr. Nicholas Hill, an

economics expert who testified on behalf of the FTC, explained that once Pori “stopped producing

titanium dioxide in Europe… the price over the course of a year rose 42 percent.” Dr. Hill’s

testimony directly linked surging TiO2 prices to the Pori fire not to increased demand. Indeed,

Tronox COO Jean Francois Turgeon concurred with these experts, testifying that “there was a fire

at the biggest plant in Europe, the Pori plant, and that create[d] a situation where Europe was

lacking pigment, so because it’s a global business, Europe, who used to be one of the lowest area

price in the world suddenly switched to become the highest price.”

       150.    Naturally, Venator’s senior executives closely tracked TiO2 prices, and knew

without doubt that the spike in prices for TiO2 was caused by the fact that Pori had not been

producing any TiO2 since the fire in January 2017.

       J.      Venator Reassures Investors That The Pori Rebuild Is “On Track” While
               Disclosing Costs May Exceed Insurance Policy Limits Due To The “Fast
               Track” Premium

       151.    On Venator’s February 23, 2018 earnings call for the fourth quarter of 2017,

Defendants stated that the cost of rebuilding the Pori Facility would exceed the limits of the

Company’s $500 million insurance policy and the estimates the Company had previously

disseminated. Specifically, Defendant Turner announced, “We currently estimate the total cost to

rebuild the facility, including the commodity products portion, will exceed the limits of our

insurance proceeds. Though, we do not have final cost estimates, we anticipate the cost could be
                                                53
– exceed our insurance proceeds by as much as $325 million.” Further, Defendant Turner

explained, “[A]pplying additional contingency for the upper limits of design and our current

construction cost estimates, the uninsured portion of the cost it could be as much as $375 million.”

       152.    Despite the potential for increased costs, on the February 23, 2018 earnings call,

Defendant Turner misled investors by reassuring them that the Company still intended to contain

the damage and that the Company still expected to be “fully reimbursed” for business interruption

losses “within our insurance policy limits.” Turner further stated, “We expect to account for any

over-the-insurance-limit costs as capital expenditures. We are aggressively pursuing options to

reduce the estimated over-the-insurance-limit costs, and will keep you updated as [to] the material

developments.”

       153.    Defendant Ogden reiterated that the Company still expected to rebuild the Pori

facility—regardless of these new cost estimates—and that the schedule to do so remained intact

and “on track” and “on schedule.” Specifically, Ogden stated, “At Pori, we remain on track with

our fast-paced project to restore the higher profitability, 60% specialty capacity by the end of 2018

through our original plan, hitting both the midyear and end-year milestones. The economics to

rebuild the remaining 40% of capacity are compelling, and these more commodity products will

be reintroduced to the market at a more normalized pace but not before 2020.”

       154.    On the call, Defendant Turner stated, “Our Titanium Dioxide segment delivered

another great quarter, with TiO2 pricing and business improvement benefits driving the

results. Pricing was up 5% compared to the prior year quarter, in line with our expectations. . . .

We see further price improvement in TiO2.” Defendant Ogden stated further, “The majority of

this [EBITDA] improvement came through higher selling prices. More specifically, an

improvement in TiO2 selling prices contributed approximately $90 million.”



                                                 54
       155.   Seeking clarity about Pori, analysts repeatedly questioned Defendants about the

extent to which production capacity had returned, and the Company’s expectations about when the

plant would be restored to full operating capacity. For example, a Barclays analyst asked whether

Venator would need to address agreements with raw material suppliers as the rest of Pori’s full

capacity came online—a question that would only make sense if the analyst believed Defendants’

representations that the “20% capacity” Defendants touted involved the full production process,

i.e., turning raw ore into TiO2. Further concealing the truth—that Pori did not produce any TiO2

at all, but only “finished” intermediate TiO2—Turner responded that “[t]here will be some

nominal—not ores, but some raw semi-finished TiO2 to brought into the finished operation during

2018, a small portion.” In truth, all of Pori’s production in 2018 would come from semi-finished

TiO2 rather than only a “small” or “nominal” amount of production coming from semi-finished,

imported product.

       156.   Defendants’ press release that day reiterated these disclosures, as well as

Defendants’ false reassurances concerning increasing TiO2 prices that hid the fact that the Pori

outage had driven them and the reality that Pori had not produced any additional TiO2 capacity

whatsoever. In the press release, Defendant Turner stated, “We continue to see an elongated

TiO2 cycle and despite significant rebuild cost escalation, we remain on schedule to restore our

specialty business capacity, and ultimately full operation of the remaining capacity as economic

conditions warrant at our Pori, Finland site.” The press release further stated, “Pori specialty

capacity rebuild on schedule but recently experiencing increasing estimates for costs exceeding

insurance proceeds.”

       157.   The Company’s Form 10-K filed with the SEC on February 23 further reassured

investors that Venator was benefitting from increasing TiO2 prices: “Due to prevailing strong



                                               55
market conditions, our TiO2 selling prices continue to improve and our business is benefitting

from the resulting improved profitability and cash flows.”

       158.    Analysts credited Defendants’ false statements. For instance, Barclays’ analysts

noted in a February 23, 2018 report that “Results were driven by higher TiO2 selling price[s] . . .

Management reiterated their belief in favorable TiO2 industry fundamentals, which should further

benefit margins as increasing TiO2 selling price outpaces ore price.” The Barclays analyst also

repeated Defendants’ false statement that the Pori “rebuild is on schedule to be completed by year

end of 2018, and the current TiO2 market has made the rebuilding of the remaining 40%

commodity capacity economically favorable.”

       159.    Morgan Stanley analysts similarly credited Defendants’ claims, noting in a

February 23, 2018 report that, “Venator now estimates that the total cost to rebuild the entire

facility will exceed its insurance proceeds by $325-375 million (up from $100-150 million prior),

but continues to believe that business interruption losses will be fully reimbursed through

EBITDA. The company expects this capacity (40% of Pori, or ~50kt) to come back online no

sooner than 2020. The remaining 60% of the facility, focused on specialty TiO2 (75% of facility

EBITDA) is still expected to be online by the end of 2018.”

       160.    Similarly, RBC Capital Markets’ analyst noted, “The costs are a result of stronger-

than-anticipated TiO2 pricing causing greater-than-expected lost sales and repair costs above

VNTR’s $500M [P]ori insurance policy. That said, per the release, VNTR still intends to capitalize

the additional costs, and we expect this will be across 2018-19.” And SunTrust Robinson’s analyst

reported that “TiO2 price capture was maintained due to strong underlying demand.”




                                                56
       K.     Venator Continues To Mislead Investors Concerning The Progress Of The
              Pori Rebuild

       161.   On May 1, 2018 Venator released its financial results for the first quarter of 2018.

On the Company’s earnings call, Defendants provided new information about the rebuild of the

Pori facility but continued to mask the import of those new disclosures by providing false

reassurances about the 20% capacity the facility was supposedly producing and that the rebuild

was proceeding “in line” with expectations. On the earnings call, Defendant Turner explained:

       We continue to make progress on the construction phase of the rebuild, and our
       estimates for the self-funding of the reconstruction and commissioning of Pori
       remain unchanged at $325 million to $375 million.

       We currently have 20% of the total prior site capacity available for production of
       finished specialty product. We expect to restore additional capacity and be
       producing some finished specialty product during the second half of 2018. And the
       remaining specialty capacity be restored and producing finished product during
       2019.

       Based on current market and economic conditions, associated cost and projected
       returns, we currently intend to rebuild the commodity portion of the facility. We do
       not currently expect product from it to be reintroduced to the market prior to 2020.

       162.   Analysts were skeptical, however, as to why—despite the disclosure of slowing

progress on rebuild—Defendants were comfortable maintaining the $325-375 million estimate. In

response to a Wells Fargo analyst who asked Defendant Turner to elaborate on what gave the

Company that “confidence,” Turner stated,

       We have said for a while that this was a fire in the center of the plant, it requires a
       lot of reconstruction work in close quarters, there’s some shared infrastructure, and
       of course, it’s fast paced….And it’s the amount of focus that we are looking at, all
       opportunities to strengthen the process up on the site, and of course, it’s a very
       visible and important part of what we are doing. So that’s really what give us --
       gives us the confidence, along with the fact that we continue to use this new
       information to model a range of outcomes and scenarios around the cost and
       timeline, and that’s what draws us back to reiterate that we are in this range of $325
       million to $375 million.




                                                 57
       163.     Additionally, a Bank of America analyst peppered Defendant Ogden with

questions about the allocation of insurance proceeds for “business interruption versus

reconstruction,” how those premiums will “flow through the P&L,” and whether the extended

timeline for the rebuild meant that more insurance would be “used for business interruption rather

than reconstruction.” In response, Defendant Ogden stated:

       So let’s be clear here. The reconstruction is still generally in line with what our
       expectations have been. The additional clarity that we are providing to you now is
       around when we will have the actual finished product. And we -- as Simon has
       indicated, we now have greater visibility into when we will have that finished
       product available.

       164.    Defendants’ encouraging statements about Pori’s 20% operating capacity reassured

analysts and buoyed Venator’s stock price. For instance, Barclays’ May 1, 2018 analyst report

also noted, “[C]urrently 20% of the site’s total capacity is now available for production.” BMO

Capital Markets noted the same, the same day: “Pori is currently operating with 20% of the site’s

capacity available for production.” RBC Capital Markets reported on May 1, 2018, “20% of the

site is available for production.” Jefferies wrote on May 1, 2018, “Venator has ~20% of capacity

available for specialty products, and another ~40% will come onstream for 2019.”

VI.    The Truth Regarding Pori Emerges

       A.      Venator Announces The Cost Of Rebuilding The Pori Facility Will Exceed
               The Company’s Insurance Policy By More Than $375 Million

       165.    On July 31, 2018, Venator began to reveal the truth about the fire damage at the

Pori facility, Venator’s ability to rebuild the Pori facility and the true costs associated with

rebuilding the facility, and the effect of the fire at the Pori facility on Venator’s business. In

announcing second quarter earnings, Defendants disclosed that the damage to the Pori facility

caused by the fire was far more extensive than they had originally suggested. As a result, the cost




                                                58
to rebuild the facility fully would substantially exceed the $375 million in Company-funded costs

beyond the insurance policy limits that Defendants had projected.

       166.    In a press release issued on July 31, 2018, Defendants stated that “a full rebuild and

commissioning may require more self-funding than our previous estimate of $325 to $375 million

and may result in a longer period of time for project completion.” The press release also stated

that the Company is “reviewing options within our manufacturing network, including the option

of transferring the production of Pori’s specialty and differentiated products to elsewhere in our

network, and are pacing our on-going construction activities at Pori accordingly during this period

of review.”

       167.    The same day, the Company filed its quarterly report with the SEC for the second

quarter ended June 30, 2018. In the Form 10-Q, the Company revealed that “additional damage

outside the immediate fire zone leading to increased costs” and “a full rebuild and commissioning

of our Pori facility may require more self-funding than our previous estimate of $325 to $375

million, and may result in a longer period of time for project completion.” The Form 10-Q also

stated that “the Pori reconstruction and commissioning process is currently under review,” and

specifically that the Company is “reviewing options within our manufacturing network, including

the option of transferring the production of Pori’s specialty and differentiated products to

elsewhere in our network, and are pacing our on-going construction activities at Pori accordingly

during this period of review.”

       168.    As a result of this disclosure, the price of Venator shares declined 4.75%, from a

closing price of $15.35 on July 30, 2018 to close at $14.62 the following day.

       169.    Despite the disclosure of this disappointing news, the Company continued to

misrepresent the true impact the Pori fire would have on Venator’s business. Specifically, in the



                                                59
July 31, 2018 press release, Defendant Turner stated that the Company remains “well positioned

to capitalize on the positive trends supporting [Titanium Dioxide] industry profitability,” despite

the substantial fire damage to the Pori facility.

       170.    Venator also continued to conceal the extent to which the Company’s business loss

insurance was covering the Company’s adjusted EBITDA based on inflated TiO2 prices. A

Barclays analyst expressed frustration in requesting Defendants to clarify the issue on the earnings

call asking:

       So with Pori, you have been earning money that runs through your EBITDA or
       adjusted EBITDA that you didn’t really or you didn’t sell those tonnes from
       insurance, both last quarter and LTM. Can you help us -- I mean parse out, what
       was from insurance in both the last quarter’s EBITDA for that segment and the
       LTM EBITDA for that segment, so that we can build our model going forward off
       a base that you won't have that insurance flowing through that segment?

       Defendant Ogden refused to answer the question, and instead stated that “we’re not going

back and identifying [sic] the specific business interruption.” In response, the analyst emphasized

Venator’s obfuscation, stating “I guess that gets to my point because this whole thing has seemed

very opaque and very difficult on the outside to model. And I just – that’s what I don’t

understand why can’t we get a specific number? What was business interruption?”

       171.    Defendants still refused to answer, with Defendant Turner responding: “Well, I

think we’ve tried to provide you with the information that we think will be helpful. Going forward,

without providing more detail than what we have provided historically.”

       172.    Following the Company’s announcement, analysts and market commentators

connected the uncertainty and confusion around the rebuild of the Pori facility to the Company’s

declining stock price:

                  BMO Capital Markets’ analyst described Venator’s “troubles” in the
                   “Pori reconstruction saga,” including “another setback at Pori” causing
                   further delays and rising out-of-pocket reconstruction costs, noting, “we
                   would expect the stock to be down” and seeking “clarity . . . around
                                                    60
                    costs . . . potential recourse . . . and color around the weakness in
                    customer orders” (July 31, 2018);

                   J.P.Morgan’s analysts commented on the “basketful of puzzles” that
                    Venator’s earnings report presented, including “what is the effect of the
                    settlement of the Pori insurance claims on future quarterly adjusted
                    EBITDA; and what exactly are Venator’s intentions with respect to the
                    rebuilding of the Pori, Finland plant” (August 1, 2018);

                   Barclays’ analyst report reiterated Defendants’ false statements that
                    “~20% of the [Pori] site’s total capacity was available for production,
                    an incremental 40% was expected to come on in phases between
                    2H,’18/2019, with the final 40% of capacity (‘commodity’ production)
                    expected to be ready in 2020,” but noted that “[n]ow the company is
                    reviewing its full slate of options” (July 31, 2018);

                   Jefferies noted, “For now, we continue to model Venator as if it will
                    rebuild Pori,” relying specifically on Defendants’ false statement that
                    “[t]wenty percent of Pori operated in Q2” (July 31, 2018);

                   Morgan Stanley noted Venator’s “Pori Uncertainty” (July 31, 2018);

                   RBC Capital Markets’ analyst also reiterated that “Pori is currently
                    operating at ~20%” (August 1, 2018);

                   SunTrust Robinson Humphrey also wrote, “[W]e expect that Pori will
                    continue to operate at 20% near-term.” (August 1, 2018).

        B.      Venator Discloses That It Will Not Reopen Pori And That Pori Would Only
                “Finish” TiO2

        173.    During a special “Pori Update Conference Call” held on September 12, 2018,

Defendant Turner announced that the Company was abandoning Pori altogether, and that Venator

would have to pay another $280 million on top of its existing Pori spend as a result. Defendants

further revealed part of the truth regarding the damage that Pori suffered during the fire and the

true costs associated with rebuilding the facility, as well as the effect of the fire at the Pori facility

on Venator’s business. According to Turner, “the timeline to completion have prompted Venator

to forgo the reconstruction efforts of [] Pori.”



                                                   61
       174.    Additionally, Venator would absorb an expected $130 million in “fixed costs” that

were “associated with winding down the reconstruction efforts at the plants.” In order to “maintain

Venator’s leadership position in the high-quality specialty and differentiated TiO2 market,”

Venator would also pay “approximately $150 million of CapEx to both upgrade the mix of certain

facilities by transferring inks, products and adding incremental high-value production cosmetics,

pharmaceutical and food applications.” This $280 million would be in addition to the $550 million

in insurance proceeds already spent by Venator on restoring the facility, and would in part pay for

the cost of transferring some of the manufacturing technology at Pori to other Venator sites in

Europe. These revelations were in stark contrast with Defendant Ogden’s October 27, 2017

assurance that Venator’s “$500 million insurance policy is more than enough to cover the costs of

the [Pori facility] rebuild on its own.”

       175.    Defendants also first suggested on this call that, after the fire, the Pori facility never

actually produced any TiO2 products, instead merely “finishing” products produced at other

Venator facilities that were then shipped to Pori. On the September 12, 2018 call, Turner claimed

that Pori was able to “produce up to 25 kilotons or 20% of the sites operating capacity and will

continue to supply the finished product to customers throughout the transition period.” These

numbers aligned with Pori’s supposed 20% capacity first established during the SPO. However,

when a Barclays analyst asked if Pori would actually “be processing ore there and producing base

TiO2,” Turner explained, “we will be taking interim product from elsewhere and finishing it [at

Pori].” While Defendant Turner was addressing Venator’s future plans for Pori, this disclosure

provided the first public indication that Pori’s operating capacity may not have reached the 20%

amount Defendants previously claimed.




                                                  62
       176.    Defendants also revealed that none of the TiO2 that was supposedly manufactured

at Pori generated any margins for Venator whatsoever. Indeed, as analysts struggled to understand

Pori’s actual contributions to Venator’s historical results, Defendant Ogden revealed that after the

fire, Pori had never generated any earnings but had operated at a “breakeven” level:

       BoA Merrill Lynch Analyst: And you said Pori will run -- it's 25,000 net ton
       specialty differentiated at breakeven until shutdown, more or less. On the other
       hand, I see from the slides that it generated $94 million -- I'm sorry -- yes, $94
       million in the LTM period when it was presumably absorbing fixed cost of the
       larger site, which I may or may not have heard, was a $15 million headwind, which
       might suggest that was $109 million, if I'm supposed to add that together. So how
       is that running the $25 million breakeven, going forward, compare with the $94
       million of LTM EBITDA of the Pori site?

       Defendant Ogden: So Roger, as you will recall, prior to -- well, the second quarter
       of 2018 and in prior quarters, we were recognizing business interruption income
       associated with the collection in quarterly installments from our insurance
       underwriter. So we -- now that we have received all those funds, we took a big
       recognition in the second quarter. And so we'll now no longer be recognizing that
       business interruption lost EBITDA component in 3Q going forward. But rather,
       we'll only recognize whatever that site in its reduced state is able to generate, and
       we estimate that at breakeven.

       BoA Merrill Lynch Analyst: Okay. So it sounds like, excluding the insurance
       proceeds, since you restarted that 25kt, and I guess, Q2 '17, that the plant's been
       running around breakeven, and you expect that to keep going until the end -- at
       around breakeven until it's shut down. Is that a fair statement?

       Defendant Ogden: Yes.

       177.    The same day, the United States District Court for the District of Columbia issued

an order granting the FTC’s motion for a preliminary injunction to prevent Tronox and Cristal

from consummating their merger until the FTC completed its review and any additional judicial

proceedings concluded. In its order, the District Court held that:

       In January 2017, a fire at a large TiO2 plant in Pori, Finland, decreased the available
       titanium dioxide in Europe and caused a rapid and significant price increase.
       Producer invoice data suggest that, before the fire, North American TiO2 prices
       were roughly $200 - $250 per metric ton higher than European prices. After the
       fire, however, European prices significantly exceeded those in North America. . . .

                                                 63
       The Pori fire thus shows a dramatic relative increase in European pries not
       ‘disciplined by customer arbitrage.’

       Mem. Op., Fed. Trade Comm’n v. Tronox Ltd., Case No. 1:18-cv-01622 (TNM), ECF No.

108 at 19 (D.D.C. Sept. 12, 2018) (citations omitted).

       178.    In response to the above disclosures, the price of Venator shares declined 4.76%,

from a closing price of $11.35 on September 11, 2018 to a closing price of $10.81 on September

12, 2018.

       179.    Following this disclosure, analysts discussed the closure of the Pori facility as the

driver of Venator’s steep stock decline:

                  BMO Capital Markets noted that “VNTR this morning announced the
                   decision to permanently shut down the rebuild at its 130k mt Pori,
                   Finland facility and the transfer of 45k mt of specialty/differentiated
                   production to other sites within Europe. Pori will continue to operate
                   with its current 20% (25k mt) output through 2021, while the 45k mt of
                   shifted capacity is slated to come online in 2020 (~$30M in EBITDA,
                   hitting a full run-rate by 2023 (~$60M of EBITDA)….” (September 12,
                   2018);

                  RBC Capital Markets downgraded VNTR on the news of the Pori
                   closure, noting its decision to “move to the sidelines awaiting TiO2
                   price recovery,” and “overall weak sentiment, which leads us to believe
                   it could take several quarters before investors are willing to give VNTR
                   a chance” (September 12, 2018);

                  SunTrust Robinson Humphrey similarly noted Venator’s purported plan
                   to “continue to operate Pori at 20% capacity through 2021” (September
                   12, 2018);

                  UBS’s analyst commented, “Instead of rebuilding, VNTR will close its
                   plant in Pori (Finland), which had a fire just prior to VNTR going public.
                   VNTR will restore some of the Pori specialty & differentiated grades
                   capacity at other sites, but the net loss to our 2020E EBITDA is still
                   ~$20M versus our prior partial rebuild base case” (September 12, 2018);

                  J.P. Morgan’s analyst note reiterated Venator’s purported plan “to
                   operate Pori at 20% utilization rate (of the 130kt capacity) through
                   2021” and “to later transfer the 25kt residual capacity at Pori to other


                                                64
                   facilities as well as to add 20kt debottlenecked tons to its existing
                   specialty grade TiO2 capacity network” (September 21, 2018);

                  BMO Capital Markets explained that Venator’s decision to close Pori
                   was “positive for the industry,” but less so for the Company in
                   particular, noting its “anemic valuation” (September 26, 2018).

       180.    Venator had never previously disclosed that Pori was only finishing intermediate

product when describing Pori’s purported return to “20% prior capacity,” and the Company’s

suggestion on the September 12, 2018 call that it would produce intermediate TiO2 at other

facilities to be shipped and “finished” at Pori going forward provided the first indication that

Defendants’ Class Period statements were false. Indeed, the Company repeatedly told investors

during the Class Period that Pori was “already running at 20% of previous capacity” without

delineating which portions of the facility were operational while simultaneously telling investors

that the Calais facility only had “finishing” operations and, as a result, did not generate any

“capacity” whatsoever.

       181.    As a result of Defendants’ misrepresentations, analysts and investors did not

appreciate or understand that Pori was merely being used to finish TiO2. For example, the question

from the Barclays analyst who asked whether Pori would be “processing ore” following the shut-

down demonstrates a lack of understanding that the “black end” processing function at Pori had

been eliminated, as the “black end” portion would be the only part of the facility that would be

involved in “processing ore” as the analyst described it. Indeed, prior to September 2018, the same

Barclays analyst repeatedly published reports reflecting his incorrect understanding that Pori had

“already [been] running at ~20% operating rates” for months.

       C.      Venator Discloses Skyrocketing Costs Beyond Insurance Associated With Pori
               And Reveals that TiO2 Demand Was Lower Than Previously Stated

       182.    Finally, on October 30, 2018, Defendants announced that, in addition to the over

$500 million in costs and lost business associated with the Pori fire that Venator had incurred to
                                                65
date—which, by that point, had been covered entirely by Venator’s insurance policy—the

Company incurred an additional $415 million in restructuring expenses, and would incur

additional “charges of $220 million through the end of 2024” related to Pori.

       183.    Additionally, Defendants revealed that “[s]ales volume declined 18% year-over-

year largely relating to slower than expected demand[.]” Defendants had initially concealed that

demand was far weaker than projected by attributing increased TiO2 prices to stronger global

demand as opposed to capacity shortages caused by Pori. As a result, when Chinese TiO2

manufacturers increased capacity to compensate for the vacuum left by Pori, Venator had to

acknowledge the weaker than previously stated demands and the impact weaker demand had on

Venator’s sales.

       184.    As a result of the October 30, 2018 disclosure, the price of Venator shares declined

more than 19%, on unusually high trading volume, from a closing price of $8.00 on October 29,

2018 to close at $6.47 the following day.

       185.    Analysts similarly understood that the October 30, 2018 announcement regarding

developments at the Pori facility contributed to the stock decline:

                  SunTrust Robinson Humphrey’s analysts noted that “significant cash
                   flows are being absorbed to cover Pori facility closure/relocation costs,”
                   and highlighted “weaker demand for functional-grade TiO2” (October
                   30, 2018);

                  RBC Capital Markets lowered its Q4 2018 and full year 2018 estimates
                   for Venator “to reflect anticipated sequential headwinds,” including
                   “lower volumes,” “higher ore costs,” “lower TiO2 prices,” and “softer
                   than expected TiO2 demand” (October 30, 2018);

                  UBS noted, “Pori restructuring; $415M total charge, of which $385M
                   is non-cash charge…VNTR previously announced it will close its plant
                   in Pori (Finland), which had a fire just prior to VNTR going public.
                   VNTR will restore some of the lost Pori specialty & differentiated
                   grades capacity at other sites, but will take a number of years to
                   complete” (October 30, 2018);

                                                66
                  Barclays’ analyst explained, “VNTR is struggling to generate cash,
                   which leaves it unable to defend its stock. The FCF generation is
                   hindered by a) lower EBITDA generation, b) cash costs for Pori closure,
                   and c) working capital consuming more cash than expected.
                   Unfortunately, a & b look likely to continue all through 2019” (October
                   31, 2018).

       186.    By October 30, 2018, the price of Venator shares had fallen 68% from their price

at the time of the IPO, and 71% from the price at which the Company sold the shares to investors

in the SPO—dramatic declines that wiped out hundreds of millions of dollars in shareholder value

and caused substantial damage to Lead Plaintiff and the Class.

VII.   POST-CLASS PERIOD EVENTS

       187.    After the end of the Class Period, Venator revealed additional information

concerning the impact of the Pori fire on its business. For example, during an appearance at the

Citi Basic Materials Conference on November 27, 2018, Defendants disclosed, for the first time,

Venator’s “Pori EBITDA adjustment.”         Specifically, in an Investor Presentation, Venator

disclosed the following adjustments to the Company’s quarterly and annual EBITDA history,

which reflected a previously undisclosed impact of the Pori fire:




       188.    Analysts had previously requested that Venator reveal these numbers, with a

SunTrust analyst asking on the February 23, 2018 earnings call, “Could you remind us, what would
                                                67
be the normalized EBITDA for Pori in 2018? Were there no outage?” Defendant Ogden refused

to provide the requested EBITDA breakdown at the time and explained, “it’s a very good question.

It is one that for commercial reasons, we have not given explicit transparency to.” Following the

November 27, 2018 presentation, J.P. Morgan analysts in their December 3, 2018 report reduced

2018 EBITDA estimate for Venator “from $482m to $439m” and their 2019 EBITDA estimate

“from $379m to $286m.” The J.P. Morgan report also downgraded Venator.

       189.    During the course of the FTC’s investigation into the merger of Tronox and Cristal,

the United States District Court for the District of Columbia found that the fire at Venator’s Pori

facility caused the dramatic increase in prices of TiO2 from which Defendants claimed to be

benefitting.

       190.    Also during the FTC’s investigation into the merger, Venator went to significant

lengths to keep its business information confidential and indefinitely under seal. For example,

Defendant Maiter, Venator’s Senior Vice President for white pigments, who was deposed by the

FTC as part of its investigation, submitted a declaration requesting that data concerning

Huntsman’s presentations to investors regarding the Venator business—including information

directly relating to Pori and the Pori outage on TiO2 prices—be placed under seal. According to

Defendant Maiter, “if such information were to become part of the public record, Venator would

be significantly harmed in its ability to compete in the titanium dioxide industry,” requesting the

information be provided “in camera treatment indefinitely, or, at a minimum, for a period of 3

years,” and that the material only be made accessible to certain designated individuals.

       191.    A state court in Texas recently sustained claims for violations of the Securities Act

against the Venator Defendants, the Huntsman Defendants, and the Underwriter Defendants for

misrepresentations and omissions in Venator’s IPO and SPO Materials—the same or overlapping



                                                68
misstatements contained in the IPO and SPO set forth below. Specifically, on February 8, 2019,

the Macomb County Employees’ Retirement System filed suit in the District Court for Dallas

County, Texas against the Venator Defendants, the Huntsman Defendants, and the Underwriter

Defendants for violations of Sections 11, 12(a)(2), and 15 of the Securities Act (the “Texas

Action”). After briefing on a Rule 91A motion to dismiss, the court sustained Macomb County’s

Securities Act claims in the Texas Action.

VIII. SUMMARY OF SCIENTER ALLEGATIONS

       192.    Numerous facts, considered collectively, demonstrate that the Venator Defendants

knew that the Class Period representations set forth below misrepresented Pori’s operational

capacity after the fire, its impact on TiO2 prices, the actual progress of the Pori rebuild, and other

facts concerning Pori and the fire’s impact on the Company business or, at minimum, acted with

severe recklessness. All of these allegations must be considered holistically in evaluating the

Venator Defendants’ scienter, and the cumulative knowledge of senior executives at Venator is

properly imputed to Venator. These allegations include the following:

       193.    First, Defendants were repeatedly informed—through meetings and other direct

reports—in specific detail about the reconstruction efforts at Pori, the Facility’s actual capacity

during the reconstruction, and the fact that intermediate TiO2 was produced at other facilities and

shipped to Pori only for “finishing.” For example, Defendants held regular internal meetings to

discuss the status of the rebuild of Pori and the efforts Venator’s sales team had undertaken in

order to supply product to customers impacted by the fire. FE 5 stated that senior management in

the United Kingdom, including Defendants Turner and Maiter, attended meetings about the Pori

rebuild and related topics. Venator established these meetings immediately following the fire and

continued to hold them on a weekly basis throughout the Class Period for the specific purpose of

tracking and handling the rebuild efforts and managing customer orders that could not be filled
                                                 69
because Pori lost all ability to fill customer orders following the fire. As FE 5 recounted, the key

findings and updates discussed at these weekly meetings were reported directly to Defendants

Turner and other senior Venator executives. Indeed, Defendant Maiter admitted under oath that

he knew that intermediate product was “shuffled” from Scarlino to Pori to be “finished,” and

Defendants Peter Huntsman, Turner, and other members of Venator’s senior management visited

Pori shortly after the IPO.

       194.    Along similar lines, Venator management had “monthly meetings to review

relevant [Pori] activities and interim claims as well as regular progress payments” with its insurers

throughout the Class Period. Given that these insurers were covering both the expenses for

rebuilding Pori and business interruption losses, as discussed above, these meetings necessarily

would have addressed Venator’s lack of progress in rebuilding Pori, the expenses relating to

shipping materials to be “finished” at Pori, the only manufacturing function the facility could

perform, and the direct and substantial effect that Pori’s outage had on TiO2 prices. The above

reports and meetings provided direct evidence to Defendants that the underlying realities at Pori

did not match their statements to investors during the Class Period.

       195.    Second, Pori was a critical topic of discussion on every earnings call during the

Class Period, the subject of both Defendants’ and analysts’ intense focus, and Defendants

professed to know detailed information concerning the status of the Facility’s rebuild and the fire’s

impact on Venator’s business. For example, on the Company’s first earnings call as a public

company on October 27, 2017, Defendant Ogden stated that Pori was “already running at 20% site

capacity,” and Defendant Turner confirmed that, “[a]s a priority, we will restore 75% of Pori

earnings potential, the total specialty business at Pori by the end of 2018.” Similarly, at least three




                                                  70
different analysts asked specific questions about Pori during this first call, which were answered

in detail by Defendants Turner and Ogden.

        196.   Detailed questions and responses about Pori, the progress of the rebuild, and the

impact on Venator were repeated during every conference call during the Class Period.

        197.   In addition, Defendants also made specific statements about the use of insurance

proceeds for the Pori fire, providing detail concerning the extent to which those funds were

allocated to rebuilding the facility versus business interruption payments. In all of Venator’s

quarterly filings with the SEC during the Class Period, Defendants discussed the use of the Pori

insurance proceeds in detail and, indeed, were required to under ASX 220-30-45-1 to specifically

identify the allocation of those proceeds in Venator’s financial statements.

        198.   Third, Pori’s importance to Venator’s business supports an inference of scienter.

As Turner explained, before the fire, Pori was “one of the most profitable [plants] in Europe,”

manufactured the most profitable TiO2 products Venator produced, was the sole plant that

manufactured numerous high-margin Venator TiO2 materials, accounted for 17% of the

Company’s total TiO2 manufacturing capacity and—unbeknownst to investors during the Class

Period—was responsible for approximately one-third of Venator’s earnings every quarter. In other

words, Pori was so material to the Company’s business that it would be implausible for Defendants

to have been ignorant of the truth. Indeed, out of Venator’s eight facilities, Pori alone accounted

for one-third of the Company’s earnings. Pori’s staggering importance to the Company’s financial

well-being, even without accounting for the massive and expensive construction and rebuilding

process supposedly occurring throughout most of the Class Period, strongly support and inference

of scienter.




                                                71
       199.    Moreover, the magnitude of the reconstruction effort, which ultimately exceeded

$1 billion—an amount that is approximately triple the Company’s current market capitalization—

bolsters a strong inference that the Defendants knew or recklessly disregarded the truth about Pori.

Even based on the false estimates Defendants initially provided to investors, the Pori rebuild was

to purportedly cost $500 million including business interruption losses, before quickly rising to

more than $600 million, and then to $875 million. And once Venator disclosed it would abandon

the facility, Venator would incur hundreds of millions of dollars in additional costs to pay for

cleanup and site remediation. These were the most significant expenses ever incurred by Venator,

strongly suggesting the Defendants knew or at minimum recklessly disregarded the truth about

Pori and what these extraordinary sums were being spent on.

       200.    Fourth, Defendants’ false and misleading statements concerned the most

significant events and initiatives at Venator. Pori was a critical production facility that generated

17% of the Company’s TiO2 total output and WAS one of only two Venator facilities capable of

producing the specialty products that were critical to Venator’s business model. As FEs 1 and 5

recounted, Pori’s specialty production also included a range of products that could be produced at

any of the Company’s other facilities. Given both the quantity of the TiO2 products produced,

and the quality of those products in light of Venator’s focus on specialty markets, Pori’s production

capacities and the reconstruction efforts at the Facility were critical interests for Defendants.

       201.    Fifth, Defendants went to great lengths to manufacture the false appearance that

Pori had been restored to 20% production capacity—including by spending significant sums to

manufacture intermediate TiO2 product at the Scarlino facility in Italy and ship it to Pori for

finishing. Such a drastic departure from normal business operations could only have been

undertaken with direct approval from Venator’s senior leadership and, indeed, as former



                                                 72
employees recounted, Defendants Turner, Maiter and other senior managers closely tracked the

production and shipment of intermediate TiO2 in Italy that was then sent to Pori.

       202.    Sixth, Huntsman’s efforts to accelerate the Venator spin-off and capitalize on the

business separation are probative of scienter. Huntsman had a significant financial interest in

separating the severely damaged Venator business in the most profitable manner. Huntsman had

a particularly acute motive to do so, as the IPO proceeds would be used to deleverage Huntsman’s

balance sheet—a prerequisite for Huntsman’s planned merger with Clariant. Prior to the fire at

Pori and announcing the Clariant merger, Huntsman had approximately $3.8 billion in debt on its

balance sheet—representing a 3.8 leverage ratio—and initially disclosed it would spin-off the

Venator business to existing Hunstman shareholders, including the Huntsman family.

       203.    Following the fire and announcing the planned merger, however, Huntsman

generated a significant amount of cash by separating the Venator business, used the proceeds to

cut Huntsman’s leverage ratio nearly in half—from 3.8 to 2.2—and allowed the Huntsman family

to avoid being saddled with the damaged Venator business. Huntsman generated net proceeds of

approximately $475 million through the IPO, an additional $732 million from the Venator debt

distribution conducted in connection with the IPO, and approximately $471 million in the

secondary offering. In total, Huntsman generated over $1.2 billion in net proceeds through the

IPO and an additional $471 million in the SPO. Huntsman then used the proceeds to significantly

deleverage the Huntsman’s balance sheet. That Huntsman was only able to raise these funds

through deception about Pori further supports Defendants’ scienter.

       204.    Seventh, Defendants Huntsman, Turner and Ogden had a powerful personal

financial motive to mislead. To start, Peter Huntsman and the Huntsman Defendants had a

significant personal financial interest in ensuring that Venator separated from Huntsman after the



                                               73
fire as profitably as possible. Immediately before the start of the Class Period, Defendant Peter

Huntsman and the Huntsman family collectively controlled approximately 24.75 million shares of

Huntsman, or approximately 11% of the outstanding shares. If the Venator separation were to

occur as a spin-off in which Venator shares were distributed to existing Huntsman shareholders on

a pro rata basis—as Huntsman had originally told investors it would—the Huntsmans would have

owned or controlled an equivalent percentage of Venator shares.

       205.    Instead, knowing the true damage to the pigments business as a result of the Pori

fire, the Huntsmans chose to change the transaction structure to sell Venator shares to public

investors through two public offerings—enabling Huntsman to raise over $1.2 billion in cash that

was then used to pay off existing Huntsman debt. Through this change in transaction structure,

and based on the price of Venator shares at the time of IPO and SPO, the Huntsmans were able to

avoid over $150 million in losses.

       206.    Further, Defendants Peter Huntsman, Turner and Ogden also had a personal

financial incentive to conduct the Venator separation on the terms most financially beneficial to

Huntsman. Specifically, by concealing the truth about Pori in separating the pigments business,

Huntsman was able to garner over $1.7 billion in proceeds that were used to pay down existing

debt, enabling Huntsman to cut its leverage ratio in half, and for the first time in the Company’s

history qualify for an “investment grade” rating.     Notably, the Venator separation enabled

Huntsman to improve the key financial metrics that determined Peter Huntsman’s compensation.

Indeed, as a direct result of the Venator offerings, Peter Huntsman took home nearly $17 million

in compensation in 2017—including bonuses specifically paid in recognition of the “significant

value” Huntsman was able to obtain through the Venator IPO and SPO—the largest amount he

has made in any year since becoming CEO in 2000. Defendants Turner and Ogden likewise



                                               74
received substantial incentive compensation in connection with the IPO and SPO, garnering

hundreds of thousands of dollars each as a result of their “contributions” to the separation.

IX.    DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS

       207.    As summarized in detail below, throughout the Class Period, Venator and the

Executive Defendants made materially false and misleading statements and omissions concerning,

among other things: (i) the Pori facility’s operating at “20% capacity” after the fire; (ii) that the

timeline to rebuild Pori was “on pace” and “on track”; (iii) the cause of rising TiO2 prices and

Pori’s impact on TiO2 prices; and (iv) the manner in which the Company was spending its

insurance proceeds, the costs associated with rebuilding the Pori facility and the overall financial

impact of the fire on Venator’s business.

       A.      Defendants Misrepresented That The Pori Facility Was Operating at “20%
               Capacity” Following The Fire

       208.    Defendants reassured investors about Pori by representing that the facility had

already achieved “20% capacity” by the second quarter of 2017—before the Company’s IPO—

and repeated this false assurance throughout the Class Period.

       209.    For example, in the offering materials for the Company’s IPO on August 4, 2017—

i.e., a full two months after the second quarter ended on June 30, 2017—Venator represented that

the plan to rebuild Pori would proceed along the following timeline:

       We are committed to repairing the facility as quickly as possible. We expect the
       Pori facility to restart in phases as follows: approximately 20% capacity in the
       second quarter of 2017; approximately 40% capacity in the second quarter of 2018;
       and full capacity around the end of 2018.

       210.    On September 6, 2017, in its first in-person presentation to the analyst community

after the IPO, Venator executives appeared at the UBS Global Chemicals & Paper and Packaging

Conference to discuss the Company. On that day, Venator posted to its investor relations website

a slide presentation that Defendants used during their presentation.          In this presentation,

                                                 75
Defendants stated that the Pori “site [is] expected to be fully operational by 4Q 2018 through

phased restart” with “~20% capacity 2Q 2017 achieved.”

       211.       On September 13, 2017, the Company appeared at the KeyBanc Basic Materials &

Packaging Conference. Venator posted to its investor relations website a slide presentation that

Defendants used during their presentation. In this presentation, Defendants stated “~20% capacity

2Q 2017 achieved” at the Pori facility.

       212.       On October 27, 2017, Venator announced its financial results for the third quarter

of 2017, disclosing earnings that significantly beat market consensus estimates. In the Company’s

press release discussing the earnings, Venator told investors that “We are already running at 20%

of previous capacity.”

       213.       Also on October 27, 2017, Venator held its earnings call for the third quarter of

2017—its first-ever earnings call as a public company. On the call, Defendant Ogden and Turner

reiterated the Company’s impressive earnings, and Defendant Ogden provided an update on

Venator’s progress on the Pori rebuild, explaining that the Pori facility is “already running at 20%

site capacity.”

       214.       On November 3, 2017, the Company issued its Form 10-Q for the third quarter of

2017, which was signed by Defendants Ogden and Ibbotson and contained certifications as to its

accuracy and completeness by Defendants Turner and Ogden. In the Form 10-Q, Venator stated:

“We are currently operating at 20% of total prior capacity but producing only specialty products.”

       215.       On February 23, 2018, Venator filed its Form 10-K for the year ended December

31, 2017, which was signed by Defendants Ogden and Ibbotson and contained certifications as to

its accuracy and completeness by Defendants Turner and Ogden. In the 10-K, Defendants stated,




                                                  76
“[W]e continue to repair the facility . . . . We are currently operating at 20% of total prior capacity

producing specialty products.”

       216.    On May 1, 2018, Venator announced its financial results for the first quarter of

2018. The Company issued a press release, filed with the SEC on Form 8-K, in which Defendant

Turner stated, “Currently, 20% of the site’s prior total capacity is available for production.”

       217.    Also on May 1, 2018, Venator filed its Form 10-Q for the first quarter of 2018,

which was signed by Defendants Ogden and Ibbotson and contained certifications as to its

accuracy and completeness by Defendants Turner and Ogden. In the Form 10-Q, Defendants

stated, “[W]e continue to repair the [Pori] facility.” The 10-Q further stated, “We have restored

20% of the total prior capacity, which is dedicated to production of specialty products.”

       218.    Also on May 1, 2018, the Company released its earnings presentation for the first

quarter of 2018, in which it stated, “20% of total prior site capacity is currently available for

production of specialty products.”

       219.    Also, on May 1, 2018, Venator held its earnings call for the first quarter of 2018.

On that call, Defendant Turner stated that “20% of the site’s prior capacity for the production of

finished specialty products was available.”

       220.    Despite analysts’ confusion on the Company’s earnings calls, throughout the Class

Period, the market incorporated Defendants’ false statements about the Pori facility operating at

20% capacity, and analysts repeated this information in their reporting. For instance, on October

27, 2017, Barclays’ analyst noted, “The company confirmed they are already running at ~20%

operating rates . . .with the remainder of specialty capacity to return ‘as quickly as possible in

2018.’” Similarly, on February 23, 2018, SunTrust Robinson’s analyst wrote, “20% is currently

operating.” On May 1, 2018, Barclays’ analyst report also noted, “[C]urrently 20% of the site’s



                                                  77
total capacity is now available for production.” BMO Capital Markets noted the same, on February

23, 2018: “Pori is currently operating with 20% of the site’s capacity available for production.”

RBC Capital Markets reported on May 1, 2018, “20% of the site is available for production.”

Jefferies wrote on May 1, 2018, “Venator has ~20% of capacity available for specialty products,

and another ~40% will come onstream for 2019.”

       221.    The statements in ¶¶ 209-19 above were false and misleading because, in fact, in

the aftermath of the Pori fire, the Pori facility was not operating at 20% capacity, as Defendants

falsely stated—it was not producing any TiO2 at all. In reality, the only part of the Pori facility

that was functioning at all was the portion that conducted the TiO2 “finishing” process—the least

costly and least labor-intensive part of the process—for one of the facility’s four production lines.

Further, Defendants’ representations regarding Pori’s purported 20% operating capacity were false

because, in truth, Venator was expending extraordinary amounts of money and going to extreme

lengths to ship intermediate product—manufactured at other facilities, such as Scarlino and

Duisburg—to the Pori facility for the finishing process. FE 2 stated that employees working on

the finishing line laughed when discussing Venator operating at 20% capacity at Pori.

       222.    Last, Defendants’ statements that the Pori facility was operating at 20% were

materially false because they concealed the reality that, instead of actually producing TiO2—

whose sale would contribute to Venator’s margins and earnings—Defendants’ efforts to create the

false appearance of production, by shipping intermediate product from other facilities to Pori for

finishing, was actually causing a substantial drain on Venator’s other facilities in Scarlino and

Duisburg, where TiO2 was actually being produced. Venator’s efforts to conceal the lack of

production at Pori was straining and overwhelming capacity at its other sites.




                                                 78
       223.    In addition, Defendant’s material misrepresentations about Pori’s production

capacity—which were largely disseminated to the public prior to Venator’s December 2017

SPO—created the impression to investors that the Company had made significant progress in

returning Pori to full production capacity, and that the timeline Defendants told investors to expect

would be met. These statements were specifically intended to reassure investors that the Pori fire

had not materially impacted Venator’s business or capacity for production, and more than justified

the valuation of the Company in the IPO and SPO.

       B.      Defendants Misrepresented The Company’s Timeline To Rebuild Pori, The
               Company’s Purportedly “On Pace” and “On Track” Progress, And The
               Magnitude Of The Damage To The Pori Facility

       224.    Defendants also sought to reassure investors concerning the timeline for rebuilding

Pori, and repeatedly told investors that the Pori rebuild was proceeding as planned and was “on

track” and “on pace.”

       225.    Starting in the offering materials for the Company’s IPO on August 4, 2017,

Venator set out the Company’s schedule for rebuilding Pori and stated, “We are committed to

repairing the facility as quickly as possible. We expect the Pori facility to restart in phases as

follows: approximately 20% capacity in the second quarter of 2017; approximately 40% capacity

in the second quarter of 2018; and full capacity around the end of 2018.”

       226.    On August 28, 2017, the Company issued its Form 10-Q for the second quarter of

2017, which was signed by Defendants Ogden and Ibbotson and contained certifications as to its

accuracy and completeness by Defendants Turner and Ogden. In the Form 10-Q, Venator stated,

the Pori Facility is “currently not fully operational,” but “[w]e are committed to repairing the

facility as quickly as possible.”

       227.    The Form 10-Q further stated, “A portion of our white end production became

operational during the second quarter of 2017, and we expect the Pori facility to restart in phases
                                                 79
as follows: approximately 40% capacity in the second quarter of 2018; and full capacity around

the end of 2018.”

         228.   On September 6, 2017, the Company appeared at the UBS Global Chemicals &

Paper and Packaging Conference. Venator posted to its investor relations website a slide

presentation that Defendants used during their presentation. In this presentation, Defendants stated

that the Pori “site [is] expected to be fully operational by 4Q 2018 through phased restart . . . ~20%

capacity 2Q 2017 achieved . . . ~40% capacity 2Q 2018 . . . ~100% capacity around year end

2018.”

         229.   On September 13, 2017, the Company appeared at the KeyBanc Basic Materials &

Packaging Conference. Venator posted to its investor relations website a slide presentation that

Defendants used during their presentation. In this presentation, Defendants stated that the Pori

“site [is] expected to be fully operational by 4Q 2018 through phased restart . . . ~20% capacity

2Q 2017 achieved . . . ~40% capacity 2Q 2018 . . . ~100% capacity around year end 2018.”

         230.   Venator’s October 27, 2017 announcement of its financial results for the third

quarter of 2017 stated, “[W]e intend to restore manufacturing of the balance of these more

profitable specialty products as quickly as possible in 2018. The remaining 40% of site capacity

is more commoditized and may be reintroduced at a slower pace depending on market conditions,

cost and projected long term return.”

         231.   Also on October 27, 2017 Venator held its earnings call for the third quarter of

2017. Defendant Ogden stated, “[W]e intend to restore manufacture of the balance of these more

profitable specialty products as quickly as possible in 2018.”

         232.   In Venator’s November 3, 2017 Form 10-Q, Defendants stated, “[W]e currently

intend to restore manufacturing of the balance of these more profitable specialty products by the



                                                 80
fourth quarter of 2018. The remaining 40% of site capacity is more commoditized and we will

determine if and when to rebuild this commoditized capacity depending on market conditions,

costs and projected long term returns relative to our other investment opportunities.”

       233.    On February 23, 2018, Venator announced its financial results for the fourth quarter

and full year of 2017. While Venator disclosed that cost estimates for the Pori rebuild had

increased, Defendants continued to mislead investors concerning the timeline and expenditures for

the rebuild.

       234.    For example, in the Company’s press release, filed with the SEC on Form 8-K that

day, Defendant Turner stated, “We continue to see an elongated [titanium dioxide] cycle and

despite significant rebuild cost escalation, we remain on schedule to restore our specialty

business capacity, and ultimately full operation of the remaining capacity as economic conditions

warrant at our Pori, Finland site.”

       235.    The press release further stated:

       Construction for the specialty and differentiated products portion of the facility
       is on pace and we expect it to be complete by the end of 2018, however we are
       paying a fast-track premium. Prior to the fire, this part of the facility represented
       60% of site capacity and contributed, on average, 75% of the site EBITDA. Current
       TiO2 business conditions are favorable and provide compelling economics for the
       rebuild of the remaining 40% commodity portion of site capacity. However, this
       part of the rebuild program will not be accelerated and capacity will be reintroduced
       to the market no sooner than 2020.

       236.    Also on February 23, 2018, Venator filed its Form 10-K for the year ended

December 31, 2017, in which the Company stated, “[W]e intend to restore manufacturing of the

balance of these more profitable specialty products by the end of 2018. The remaining 40% of

site capacity is more commoditized and, based on current market and economic conditions,

associated costs and projected returns, we currently expect to rebuild this portion of the facility,

but do not expect it to be reintroduced into the market prior to 2020.”

                                                   81
       237.    Also on February 23, 2018, the Company released its earnings presentation for the

third quarter of 2017, in which it stated: “Construction for the specialty and differentiated products

portion of the facility is on pace and we expect it to be complete by the end of 2018 . . . Current

TiO2 business conditions provide compelling economics for the rebuild of the remaining 40%

commodity portion of the facility . . . Market introduction of commodity portion no sooner than

2020 . . . Estimated reconstruction costs continue to escalate and accuracy improves with elapsed

time . . . Actively pursuing options to reduce the over-the-insurance-limit costs.”

       238.    On Venator’s February 23, 2018 earnings call for the fourth quarter and full year

of 2017, Defendant Turner stated that the Company planned to restore its “high-value specialty

and differentiated products” portion of the Pori facility “as quickly as possible as it provides

approximately 75% of site EBITDA” and that “[c]onstruction on the rebuild of the specialty

products portion of the facility is on pace” and “expect[ed] to be complete by the end of 2018.”

       239.    On the same call, Defendant Turner stated that the Company is paying a “fast-track

premium” and “remain[s] on track with our fast-paced project to restore the higher profitability,

60% specialty capacity by the end of 2018” but the remaining 40% of the site’s commodity

capacity “will be reintroduced to the market at a more normalized pace but not before 2020.”

       240.    On May 1, 2018, Venator announced its financial results for the first quarter of

2018. The Company issued a press release, filed with the SEC on Form 8-K, in which Defendant

Turner stated, “We continue to make progress on the construction phase of our complex Pori

project.”

       241.    The May 1, 2018 press release further stated:

       We are focused on restoring an additional 40% of capacity as quickly as possible
       to reach an aggregate 60% of former site capacity for manufacturing of our higher
       value specialty products. . . . Subject to the pace of our progress during
       commissioning, we expect some of this additional capacity to be producing finished

                                                 82
       product during the second half of this year, and the remaining specialty capacity to
       be restored and producing finished product during 2019. Based on current market
       and economic conditions, associated costs and projected returns, we intend to
       rebuild the commodity production capacity of the facility, but do not currently
       expect it to produce product prior to 2020.

       242.    Also on May 1, 2018, Venator filed its Form 10-Q for the first quarter of 2018, in

which Defendants stated, “[W]e intend to restore manufacturing of the balance of these more

profitable specialty products as quickly as possible . . . [s]ubject to the pace of our progress during

commissioning, we expect some of this specialty capacity to be producing finished product during

the second half of this year and the remaining specialty capacity to be restored and producing

finished product during 2019. Based on current market and economic conditions, associated costs

and projected returns, we currently expect to rebuild the commodity portion of the facility, but do

not expect it to be reintroduced into the market prior to 2020.”

       243.    These representations were credited by analysts, who repeatedly relied on

Defendants’ statements concerning the progress of the Pori rebuild to determine their valuations

of the Company’s stock, repeating the Company’s reassurances that the project remained “on

pace” or “on schedule.” For example, on October 27, 2017, RBC Capital Markets’ analyst wrote,

“Pori and the $90M productivity program both appear to be on track.” Similarly, on February 23,

2018, Barclays’ analyst reported, “The rebuild of Pori specialty capacity (60% of total capacity) is

on schedule to be completed by year end of 2018.” The same day, SunTrust Robinson’s analyst

also noted, “Plans to restore the specialty TiO2 capacity at Pori (60% of total capacity, 75% of site

EBITDA) are on track.” On May 2, 2018, Jefferies’ analyst wrote, “The Pori rebuild is on track

for $325-375m.”

       244.    The statements in ¶¶ 225-41 above were false and misleading because the rebuild

of the Pori facility was not proceeding “on pace,” nor was the Company paying a “fast track

premium” to ensure its timely rebuilding. To the contrary, the effort to repair the Pori facility never
                                                  83
proceeded past the demolition work done on the Moore facility and no additional work was done

on the nonoperational production lines. In fact, as Defendants were saying that “fast track

premium(s)” were driving up costs, Venator was actually spending its insurance proceeds on the

expensive, undisclosed “shuffle” of unfinished products from Italy to the Pori facility in order to

keep up the false appearance that Pori had production capacity.

       245.    For example, on February 23, 2018, when Defendants represented that they were

“on pace” and “on schedule” to fully rebuild the specialty portion of Pori, in reality, Venator had

not yet even completed the demolition phase of reconstruction at Pori. As FE 2 explained, almost

a month later, as of March 2018, the Company had still not yet begun any reconstruction efforts

on the damaged precipitator section of the factory or on factory lines 1, 2, or 3—a fact that cannot

be reconciled with the timeline provide in Defendants’ public statements.

       246.    Similarly, on May 1, 2018, Defendants represented that Venator “continue[s] to

make progress on the construction phase of the rebuild,” and “we expect some of this specialty

capacity to be producing finished product during the second half of this year.” In reality, as FEs

1 and 2 explained, by July 2018, two months after Defendants’ May 1, 2018 statements, Venator

still had not completed the demolition work at the Venator facility, and the status of the rebuild

remained in the same place as it had been in March 2018. As FE 2 explained, by July 2018, FE 2

could see that no progress was occurring, as FE 2 stated, the rebuilding process was a “scam,” and

no repairs were made to the production lines 1, 2, or 3 during the Class Period.

       C.      Defendants Misrepresented The Cause Of Rising TiO2 Prices And Concealed
               Pori’s Impact On TiO2 Prices

       247.    Defendants attempted to convince investors that rising TiO2 prices stemmed from

increased demand and presaged a booming market, when, in truth, the rising TiO2 prices were

largely a result of the Pori supply removing a significant amount of TiO2 from the marketplace.


                                                84
          248.   Venator’s offering materials for the Company’s IPO on August 4, 2017 presented

a strong market for TiO2 and stated that, “[w]e realized approximately $300 per metric ton

improvement in pricing over the course of 2016. TZMI estimates that the market price of global

high quality TiO2 will grow by more than $600 per metric ton, the equivalent of more than 24%,

from December 31, 2016 through the end of 2017.”

          249.   Venator continued promoting the strength of the TiO2 market in the Company’s

Form 10-Q filed August 28, 2017, which was signed by Defendants Ogden and Ibbotson and

contained certifications as to its accuracy and completeness by Defendants Turner and Ogden. In

the Form 10-Q, Venator state, “Average selling prices increased primarily due to continued

improvement in business conditions for TiO2.”

          250.   On August 28, 2017, Venator also issued a press release, in which Defendant

Turner stated, “Selling prices for titanium dioxide continue to improve and we continue to work

closely with our customers in this regard.”

          251.   On October 27, 2017, Venator announced its financial results for the third quarter

of 2017. The Company issued a press release, which it filed with the SEC on Form 8-K, in which

Defendant Turner stated, “Due to prevailing strong market conditions, our TiO2 selling prices

continue to improve and our business is benefitting from the improved profitability and cash

flows.”

          252.   Also on October 27, 2017, Venator held its earnings call for the third quarter of

2017. On the call, Defendant Turner explained that “segment adjusted EBITDA up 37% over the

prior quarter, primarily driven by higher TiO2 selling prices,” and added that, “[w]e continue to

see good demand across the market for our specialty, differentiated and functional grades, and we

are currently implementing price increases for the fourth quarter.” Later in the call Defendant



                                                 85
Turner told a RBC Capital Markets analyst that the Company’s strong earnings “uplift” was

“related to solid demand, good demand around the world.” Defendant Turner emphasized that

the Company had seen, “better underlying demand this time around,” when asked how the current

TiO2 price cycle compared to previous cycles by a Citi analyst.

       253.    In Venator’s February 23, 2018 Form 10-K, Defendants stated, “[t]he improvement

in [TiO2] selling prices reflected continued improvement in business conditions for TiO2, allowing

for an increase in prices globally, and improvement from favorable exchange rates, primarily

against the Euro.”

       254.    On Venator’s earnings call for the fourth quarter 2017, held February 23, 2018,

Defendant Turner stated, “Our Titanium Dioxide segment delivered another great quarter, with

TiO2 pricing and business improvement benefits driving the results.” The stronger TiO2 pricing

was supposedly caused by a “positive underlying demand across the market,” for TiO2 products.

Defendant Turner added, “We see further price improvement in TiO2” in 2018.

       255.    In Venator’s Form 10-Q for the first quarter 2018, filed May 1, 2018, Defendants

repeated that, “[t]he increase in selling prices reflects continued improvement in business

conditions for TiO2, allowing for an increase in prices globally.” Defendants also noted a

“[f]avorable environment for TiO2 price increases in the second quarter of 2018.”

       256.    On Venator’s earnings call held May 1, 2018, Defendant Turner stated that

Venator’s “Titanium Dioxide segment delivered another great quarter and generated $143 million

of adjusted EBITDA, driven by higher TiO2 pricing and additional benefit from our business

improvement program. Pricing increased 23% compared with the prior year quarter and 5%

compared to the fourth quarter of 2017, reflecting strong industry fundamentals.”




                                               86
       257.    These representations were credited by analysts, who repeatedly relied on

Defendants’ statements concerning TiO2 prices and demand to determine their valuations of the

Company’s stock, repeating the Company’s reassurances, with Barclays analysts in their October

31, 2017 report noting that, “[m]anagement continues to see a positive picture of the up-cycle:

solid demand growth.” Jeffries analysts highlighted in their February 23, 2018 report that TiO2

“[s]upply/demand remain[s] strong and pricing should rise.” Analysts also repeated Defendants’

claims that increased TiO2 demand made this pricing cycle more sustainable, with SunTrust

analysts in their October 30, 2017 report, stating “This cycle peak appears more sustainable than

the last.” To support this, the analysts echoed Defendants and claimed that, “[u]nderlying demand

[for TiO2] has been stronger,” during this cycle.

       258.    The statements in ¶¶ 248-56 above were false and misleading because Defendants

because Defendants claimed that the TiO2 market was seeing “improvement” when, in fact, the

reduced supply of TiO2 from Pori’s closure was actually driving higher TiO2 prices. Defendant’s

statements that Venator was “benefitting” from “TiO2 selling prices” was materially misleading

because, in fact, as the United States District Court for the District of Columbia held, the Pori fire

was the cause of the rising TiO2 selling prices.

       D.      Defendants Misrepresented The Manner In Which The Company Was
               Spending Its Insurance Proceeds, The Costs Associated With Rebuilding The
               Pori Facility, And The Overall Impact Of The Pori Fire On Venator’s Business

       259.    In order to convince investors that the Pori fire would not have a significant impact

on Venator, Defendants continuously told investors that insurance payments would cover the Pori

rebuild and concealed the damage that losing Pori caused to Venator’s overall business.

       260.    On August 28, 2017, the Company issued its Form 10-Q for the second quarter of

2017, which was signed by Defendants Ogden and Ibbotson and contained certifications as to its

accuracy and completeness by Defendants Turner and Ogden. In the Form 10-Q, Venator stated
                                                   87
the “site is insured for property damage as well as business interruption losses.” The Form 10-Q

also stated, “The fire at our Pori facility did not have a material impact on our 2017 second quarter

operating results as losses incurred were offset by insurance proceeds.”

       261.      On October 27, 2017, Venator announced its financial results for the third quarter

of 2017. The Company issued a press release, which it filed with the SEC on Form 8-K, in which

Defendant Turner stated, “the combination of increased TiO2 profitability and estimated

reconstruction costs indicate that we will exceed our $500 million insurance limit. We expect to

contain these over-the-limit costs within $100-150 million and account for them as capital

expenditures.” Defendant Turner also stated that “We are encouraged by our strong sequential

earnings growth in the third quarter, driven by higher price capture, our leading TiO2 position in

Europe and the quality of our specialty TiO2 business.”

       262.      Also on October 27, 2017, the Company released its earnings presentation for the

third quarter of 2017, in which it stated: “We expect to contain over-the-limit costs within $100-

$150 million.”

       263.      Also on October 27, 2017, Venator held its earnings call for the third quarter of

2017. On the call, Defendant Ogden stated, Venator’s “$500 million insurance policy is more than

enough to cover the costs of the rebuild on its own, but because the insurance policy also covers

lost earnings,” strong market conditions and higher TiO2 selling prices “ha[ve] the effect of

increasing our insurance claim for lost earnings from the Pori site.” Defendant Ogden further stated

that the Company “expect[s] to contain these over-the-limit costs within $100 million to $150

million.”

       264.      Analysts sought further clarification from Defendants on this call about how the

Company was accounting for its insurance proceeds. An analyst from Bank of America asked



                                                 88
Defendant Ogden, “can you break out that $3 million of operating expense? How much of it was

insurance proceeds offsetting [selling, general, and administrative expense]?” The analyst also

asked, “you have operating expenses of $3 million. And I’m assuming that you got SG&A in there,

and you have an offset from insurance proceeds. Is that right? And can you break that out?”

Defendant Ogden responded by saying,

       So as far as the income statement goes, you ought to think about it as a complete
       wash in terms of what our cost was and the lost EBITDA. We’re fully reimbursed
       for that. So the net impact on the income statement is we have only recognized the
       lost EBITDA associated with that facility. So the -- that does not apply to the
       operating expenses that you see there of $3 million in the third quarter.

       265.    In Venator’s November 3, 2017 Form 10-Q, the Company stated, “The fire at our

Pori facility did not have a material impact on our 2017 third quarter operating results as losses

incurred were offset by insurance proceeds.”

       266.    On February 23, 2018, Venator disclosed its fourth quarter and year-end results. In

doing In Venator’s February 23, 2018 press release, Defendants stated, “Based on current

estimates, we expect the total cost to rebuild the Pori facility (including the commodity portion)

will exceed the limits of our insurance policy by as much as $325 million, or up to $375 million

when providing additional contingency for the upper limits of our current design and construction

cost estimates. . . . Based on current and anticipated market conditions, we currently expect our

business interruption losses to be fully reimbursed within our insurance policy limits.”

       267.    The February 23, 2018 Form 10-K stated:

       Due to prevailing strong market conditions, our TiO2 selling prices continue to
       improve and our business is benefitting from the resulting improved profitability
       and cash flows. This also has the effect of increasing our total anticipated
       business interruption losses from the Pori site. We currently believe the
       combination of increased TiO2 profitability and recently estimated reconstruction
       costs will result in combined business interruption losses and reconstruction costs
       in excess of our $500 million aggregate insurance limit. We currently estimate that
       the total cost to rebuild the Pori facility (including the commodity portion) will

                                                89
       exceed the limits of our insurance policy by as much as $325 million, or up to $375
       million when providing additional contingency for the upper limits of our current
       design and construction cost estimates.

       268.    Venator’s February 23, 2018 10-K further stated, “The fire at our Pori facility did

not have a material impact on our 2017 fourth quarter operating results as losses incurred were

offset by insurance proceeds.”

       269.    On Venator’s February 23, 2018 earnings call, Defendant Turner stated that the cost

to rebuild the Pori facility would exceed the Company’s insurance proceeds by $325 million and

the “cost could be as much as $375 million.” On this same call, Defendant Ogden also stated that

in the “most likely case” the Company’s “current estimates are $325 million to rebuild the entire

site,” with additional contingency added “simply out of a measure of prudence and conservatism.”

       270.    Defendants’ new estimates about the cost of the Pori rebuild puzzled analysts, who

sought clarity on the earnings call. David Begleiter of Deutsche Bank asked Defendant Turner

point blank, “[O]n the . . . Pori cost, what happened between the November call and today to

increase the cost estimate here?” Turner responded:

       So in effect, we have not got a normal sequential schedule for these projects, but
       rather, we have to think about design, procurement build and startup and where
       possible, we wanted to try and rapidly restore these to meet the strong customer
       demand. So we’ve got some complexity there in a way these projects are run. This
       fast-track approach, just -- does make it more challenging to accurately estimate
       the costs. And we are paying premium prices where necessary to attain equipment
       and services, to hit back to fast-paced approach.

       271.    Analysts’ questions on the new cost estimate continued with a question from Eric

Petrie of Citi, who asked Defendant Turner, “And just going back to the cost estimates for the Pori

restart sort of range of $325 million to $375 million, versus $100 million to $150 million

higher. You noted that, part of it was due to the fast-track premium, but I don’t think you’ve

changed your timeline for the restart of the specialty grades. So I’m just wondering, why such a

higher -- over 70% above your $500 million insurance policy, why is that?” Turner responded:
                                                90
       [T]he specialty portion of the 60% rebuild that we are going at a fast pace to restore,
       in which we are on pace, that’s a very demanding timeline. And ordinarily, and to
       think we had a fire at roughly 12 months ago and we’ll bring on the first pounds in
       the second quarter of this year. That’s a very fast-paced recovery.

       272.      In Venator’s May 1, 2018 press release announcing its financial results for the first

quarter of 2018, Defendants stated, “We continue to estimate the self-funded portion of the

reconstruction and commissioning remain within the range of our previous guidance of $325 to

$375 million.”

       273.      In Venator’s May 1, 2018 10-Q, Defendants stated, “We continue to estimate that

the total cost to rebuild and commission the Pori facility will exceed the total insurance proceeds

received by $325 to $375 million.”

       274.      The May 1, 2018 10-Q further stated, “The fire at our Pori facility did not have a

material impact on our 2018 first quarter or our 2017 year to date operating results as losses

incurred were offset by insurance proceeds.”

       275.      Also on May 1, 2018, Venator held its earnings call for the first quarter of 2018.

During the call, Defendant Turner stated that estimates of the reconstruction and commissioning

of the Pori site remain unchanged at $325 to $375 million above the insurance proceeds. Defendant

Turner stated that the Company has “confidence, along with the fact that we continue to use [ ]

new information to model a range of outcomes and scenarios around the cost and timeline, and

that’s what draws us back to reiterate that we are in this range of $325 million to $375 million.”

       276.      Analysts continued to be puzzled by the increasingly unclear information that

Defendants were disseminating regarding the cost of the Pori rebuild. For instance, Steve Byrne

asked Defendant Turner, “[G]iven the Pori reconstruction is taking longer, does that mean more

of it will be allocated to business interruption versus reconstruction? And of that $236 million you

received a couple of weeks ago, will that flow through the P&L all the way through 2019?” Turner

                                                  91
responded, “Let’s be clear, on that final settlement that we have received from our insurer of $236

million, that is a receipt in advance of the needs that we have, both to fund the reconstruction of

the capital costs as well as the recognition of business interruption that will continue to take place

through 2019.”

       277.    Byrne, however, sought more granular information, and followed up with

Defendant Turner, “[G]iven that it’s taking longer to rebuild Pori, does that mean more of that is

being used for business interruption rather than the reconstruction?” And Defendant Turner

muddied the waters even more: “The reconstruction is still generally in line with what our

expectations have been. The additional clarity that we are providing to you now is around when

we will have the actual finished product. And we -- as Simon has indicated, we now have greater

visibility into when we will have that finished product available.”

       278.    The statements in ¶¶ 260-77 above were false and misleading because Defendants

failed to disclose the line items in Venator’s statement of operations in which the proceeds of its

business interruption losses insurance were classified, as they were obligated to do under FASB

Accounting Standards, ASX 220-30-45-1. Specifically, Defendants failed to disclose that prices

for TiO2 were rising precisely because the Pori facility was not producing TiO2—causing a severe

shortage in worldwide supply (as the District Court for the District of Columbia found), and thus

the true impact of the Pori fire on Venator’s EBITDA was much more extreme than investors had

been led to believe. On October 30, 2018 and, after the Class Period on November 27, 2018,

Defendants provided additional detail concerning the impact of the Pori fire on Venator’s business

by breaking out clearly and visibly the “Pori EBITDA Adjustment” in its financial results. On

October 30, 2018, for instance, Defendants disclosed:




                                                 92
And on November 27, 2018, after the Class Period, Defendants disclosed additional historical

quarterly and yearly EBITDA adjusted for Pori:




Venator never before disclosed this information, despite its obligations under ASX 220-30-45-1

and the prior requests by the SEC to “ensure your disclosures discuss the main cost drivers

affecting your operating expenses and quantify in dollars how those increases/decreases in costs

impacted your Segment Adjusted EBITDA amounts during each period presented”

X.     LOSS CAUSATION

       279.   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs and the Class. Throughout the Class Period, Defendants
                                              93
made materially false and misleading statements and omissions, and engaged in a scheme to

defraud investors. Defendants’ conduct artificially inflated the price of Venator securities and

operated as a fraud and deceit on the Class. During the class period, Plaintiffs and the Class

purchased Venator common shares, at artificially inflated prices and were damaged thereby when

the price of Venator common shares declined when the truth was revealed.

       280.    Specifically,    Defendants’    materially   false   and    misleading     statements

misrepresented Pori’s production capacity, the extent of the damage resulting from the fire at the

facility, the timeline and progress of the facilities reconstruction, and the financial impact of the

fire, including the extent to which the Company’s insurance would cover rebuilding the facility.

When Defendants’ prior misrepresentations and fraudulent conduct were disclosed to investors the

price of Venator securities fell significantly. As a result of the disclosure of the truth of

Defendants’ fraud, Venator’s common shares declined by 68%, from a closing price of $20.89 per

share on August 2, 2017, the day Venator shares were sold to investors in the IPO to a closing

price of $6.47 on October 30, 2018. The price of Venator shares also sank by 71% from the day

the shares were sold to investors in the SPO to the end of the Class Period, including in response

to the following disclosures.




                                                 94
         Date                      Corrective Event              Closing Common S&P 500
                                                                  Stock Stock Price  Price
                                                                  Price   Change    Change
    July 31, 2018       Defendants disclose that the cost to     $13.53   -11.9%     0.4%
  (August 1, 2018)      rebuild Pori will exceed Venator’s
                        insurance policy by more than $375
                        million.

 September 12, 2018 Defendants disclose that Venator             $10.31       -9.2%         0.6%
   (September 13,   will not reopen Pori and that Pori
       2018)        was never operating at 20%
                    capacity.

  October 30, 2018      Defendants disclose that Venator          $6.47      -19.1%         1.6%
                        would incur an additional $415
                        million in restructuring expenses in
                        order to close down Pori and lower-
                        than-expected demand.



       281.     It was entirely foreseeable to Defendants that their materially false and misleading

statements and omissions would artificially inflate the price of Venator’s common shares. It was

also foreseeable to Defendants that the revelation of the truth about Pori’s production capacity, the

extent of the damage resulting from the fire at the Facility, the timeline and progress of the

Facility’s reconstruction, and the financial impact of the fire, including the extent to which the

Company’s statements concerning the use of insurance proceeds would cause the price of the

Company’s securities to fall as the artificial inflation caused by Defendants’ misstatements and

omissions was removed. Thus, the stock price declines described above were directly and

proximately caused by Defendants’ materially false and misleading statements and omissions.

XI.    PRESUMPTION OF RELIANCE

       282.     At all relevant times, the market for Venator common stock was efficient for the

following reasons, among others:




                                                 95
               (a)     Venator stock met the requirements for listing, and was listed and actively
                       traded on the NYSE, a highly efficient and automated market;

               (b)     As a regulated issuer, Venator filed periodic public reports with the SEC
                       and NYSE;

               (c)     Venator regularly and publicly communicated with investors via established
                       market communication mechanisms, including through regular
                       disseminations of press releases on the national circuits of major newswire
                       services and through other wide-ranging public disclosures, such as
                       communications with the financial press and other similar reporting
                       services; and

               (d)     Venator was followed by several securities analysts employed by major
                       brokerage firm(s) who wrote reports which were distributed to the sales
                       force and certain customers of their respective brokerage firm(s). Each of
                       these reports was publicly available and entered the public marketplace.

       283.    As a result of the foregoing, the market for Venator common stock promptly

digested current information regarding Venator from all publicly available sources and reflected

such information in the price of Venator stock. Under these circumstances, all purchasers of

Venator stock within the defined Class during the Class Period suffered similar injury through

their purchase of Venator stock at artificially inflated prices and the presumption of reliance

applies.

       284.    A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because

the Class’s claims are grounded on Defendants’ material omissions. Because this action involves

Defendants’ failure to disclose material adverse information regarding the Pori fire and its impact

on Venator—information that Defendants were obligated to disclose—proof of positive reliance

is not a prerequisite to discovery. All that is necessary is that the facts withheld be material in the

sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Pori facility to Venator’s business, as set forth above, that

requirement is satisfied here.

                                                  96
XII.   INAPPLICABILITY OF THE STATUTORY SAFE HARBOR

       285.    The statutory safe harbor applicable to forward-looking statements under certain

circumstances does not apply to any of the misrepresentations pleaded in this Complaint. The

statements complained of herein were historical statements or statements current facts and

conditions at the time the statements were made. Further, to the extent that any of the false or

misleading statements alleged herein can be construed as forward-looking, the statements were not

accompanied by any meaningful cautionary language identifying important facts that could cause

actual results to differ materially from those in the statements.

       286.    Alternatively, to the extent the statutory safe harbor otherwise would apply to any

forward-looking statements pleaded herein, Defendants are liable for those false and misleading

forward-looking statements because at the time each such statement was made, the speaker knew

the statement was false or misleading, or the statement was authorized and/or approved by an

executive officer of Venator who knew that the statement was false, and/or the statement omitted

material adverse information whose disclosure was necessary to render the statement not

misleading.    None of the historic or present tense statements made by Defendants were

assumptions underlying or relating to any plan, projection, or statement of future economic

performance, as they were not stated to be such assumptions underlying or relating to any

projection or statement of future economic performance when made, nor were any of the

projections or forecasts made by Defendants expressly related to, or stated to be dependent on,

those historic or present tense statements when made.




                                                 97
XIII. CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                      FIRST CLAIM FOR RELIEF
                            For Violation of Section 10(b) of the Exchange Act
                                    and SEC Rule 10b-5 Thereunder
                                 (Against Venator, Turner and Ogden)

        287.    Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above

as if fully set forth herein.

        288.    During the Class Period, Defendants Venator, Turner and Ogden carried out a plan,

scheme, and course of conduct which was intended to and, throughout the Class Period, did: (i)

deceive the investing public, including Plaintiffs and other Class members, as alleged herein; and

(ii) cause economic harm to Plaintiffs and other members of the Class.

        289.    Defendants Venator, Turner and Ogden (i) employed devices, schemes, and

artifices to defraud; (ii) made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading; and/or (iii) engaged in acts, practices, and

a course of business which operated as a fraud and deceit upon the purchasers of the Company’s

stock in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        290.    During the Class Period, Defendants Venator, Turner and Ogden, individually and

in concert, directly and indirectly, by the use, means or instrumentalities of interstate commerce

and/or of the mails, engaged and participated in a continuous course of conduct to conceal adverse

material information about the Company’s financial well-being, operations, and prospects.

        291.    During the Class Period, Defendants Venator, Turner and Ogden made the false

statements specified above, which they knew or recklessly disregarded to be false or misleading

in that they contained misrepresentations and failed to disclose material facts necessary in order to




                                                 98
make the statements made, in light of the circumstances under which they were made, not

misleading.

       292.    Specifically, these Defendants are liable for the following materially false and

misleading statements and omissions made during the Class period as alleged above in Section IX:

               (a)    Defendant Venator: Defendant Venator is liable for all the false and
                      misleading statements and omissions made by its spokespersons and
                      Defendants Turner and Ogden, its senior most officers during the Class
                      Period and lead spokesperson for the Company during that time, which are
                      set forth above in Section IX.

               (b)    Defendant Turner: Defendant Turner is liable for the false and misleading
                      statements and omissions made in the Company’s Forms 10-Q filed on
                      August 28, 2017, November 3, 2017, and May 1, 2018 and Form 10-K filed
                      on February 23, 2018, the IPO Materials and SPO Materials (defined below)
                      and for statements made in conference calls in which he participated during
                      the Class Period held on October 27, 2017, February 23, 2018, May 1, 2018,
                      and July 31, 2018.

               (c)    Defendant Ogden: Defendant Ogden is liable for the false and misleading
                      statements and omissions made in the Company’s Forms 10-Q filed on
                      August 28, 2017, November 3, 2017, and May 1, 2018 and Form 10-K filed
                      on February 23, 2018, the IPO Materials and SPO Materials (defined below)
                      and for statements made in conference calls in which he participated during
                      the Class Period held on October 27, 2017, February 23, 2018, May 1, 2018,
                      and July 31, 2018.

       293.    Defendants Turner and Ogden, as senior officers of the Company, are liable as

direct participants in the wrongs complained of herein. Through their high-ranking positions of

control and authority as the most senior executive officers of Venator, each of these Defendants

was able to control, and did directly control, the content of the public statements disseminated by

CenturyLink. Defendants Turner and Ogden had direct involvement in the daily business of the

Company and participated in the preparation and dissemination of Venator’s materially false and

misleading statements set forth above.

       294.    Defendants Venator, Turner and Ogden had actual knowledge of the

misrepresentations and omissions of material facts set forth herein, or recklessly disregarded the

                                                99
true facts that were available to them. Defendants Venator and the Executive Defendants engaged

in this misconduct to conceal Venator’s true condition from the investing public and to support the

artificially inflated prices of the Company’s stock.

        295.    Plaintiffs and the Class have suffered damages in that, in reliance on the integrity

of the market, the purchased Venator stock and were harmed when the truth about Venator

negatively impacted the price of those securities. Plaintiffs and the Class would not have

purchased Venator stock at the prices they paid, or at all, had they been aware of the truth about

Venator.

        296.    As a direct and proximate result of Defendants Venator, Turner and Ogden’s

wrongful conduct, Lead Plaintiff and other members of the Class suffered harm in connection with

their respective purchases of the Company’s stock during the Class Period.

        297.    By virtue of the foregoing, Defendants Venator and the Executive Defendants

violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

                                    SECOND CLAIM FOR RELIEF
                            For Violation of Section 20(a) of the Exchange Act
                            (Against the Executive Defendants and Huntsman)

        298.    Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above

as if fully set forth herein.

        299.    As alleged in detail above, throughout the Class Period, the Executive

Defendants and the Huntsman were each controlling person of the Company within the meaning

of Section 20(a) of the Exchange Act. By reason of each Defendant’s voting power, ownership,

rights as against Venator, and/or specific acts, the Executive Defendants and Huntsman had the

power to control Venator’s operations and its decision-making processes.




                                                 100
       300.     Specifically, (i) throughout the Class Period, Huntsman maintained a controlling

interest in both Venator’s common stock and in its voting securities; (ii) Huntsman had the power

to appoint, and did appoint, a majority of the Board’s directors, including Defendants Peter

Huntsman and Margetts, who sat on the board of both Huntsman and Venator during the Class

Period; (iii) Huntsman hand-picked Venator’s senior executive team, including Defendants

Turner, Ogden, and Maiter, who were senior personnel at Huntsman prior to the IPO; and (iv)

Huntsman had the power to cause Venator to register and offer securities for sale to the public.

       301.     By reason of such conduct, Huntsman is liable pursuant to Section 20(a) of the

Exchange Act.

       302.     The Executive Defendants also acted as controlling persons of Venator within the

meaning of Section 20(a) of the Exchange Act by virtue of their high-level positions, participation

in and/or awareness of the Company’s operations, direct involvement in the day-to-day operations

of the Company, and/or intimate knowledge of the Company’s actual performance, and their power

to control public statements about Venator, the Executive Defendants had the power and ability to

control the actions of Venator and its employees.

       303.     By reason of such conduct, the Executive Defendants are liable pursuant to Section

20(a) of the Exchange Act.

XIV. SECURITIES ACT ALLEGATIONS

       304.     In this section of the Complaint, Plaintiffs Miami, FCERA, and Pontiac assert a

series of strict liability and negligence claims based in the Securities Act on behalf of themselves

and the members of the Class who purchased or otherwise acquired Venator shares either in or

traceable to Venator’s IPO, which occurred on or around August 2, 2017, and/or Venator’s SPO,

which occurred on or around December 4, 2017, and suffered damages as a result.



                                                101
       305.    Plaintiffs’ claims under the Securities Act do not sound in fraud, and Plaintiffs

expressly disavow and disclaim any allegations of fraud, scheme or intentional conduct as part of

their claims under the Securities Act, which do not have scienter, fraudulent intent, or motive as

required elements. To the extent that these allegations incorporate factual allegations elsewhere

in this Complaint, those allegations are incorporated only to the extent that such allegations do not

allege fraud, scienter, or intent of the Defendants to defraud Plaintiffs or members of the Class.

       306.    As alleged below, Venator and the other Securities Act Defendants made a series

of materially untrue statements and omissions of material facts in Venator’s IPO Registration

Statement and IPO Prospectus (together, the “IPO Materials”) and/or in Venator’s SPO

Registration Statement and SPO Prospectus (together, the “SPO Materials”), and in the Company’s

public filings incorporated by reference into and therefore deemed part of the IPO Materials and/or

SPO Materials.

       307.    Specifically, on or around August 3, 2017, Venator conducted the IPO pursuant to

an IPO Registration Statement that the Company filed with the SEC on May 5, 2017 and which,

after six amendments, was declared effective by the SEC on August 2, 2017. On August 4, 2017,

Venator filed a Prospectus for the IPO on Form 424B4, which incorporated and formed part of the

IPO Registration Statement.

       308.    The IPO Registration Statement was signed by the Defendants Turner, Ogden,

Ibbotson, Huntsman, Margetts.

       309.    By means of the IPO Materials, Venator offered and sold more than 26 million

ordinary shares (which included the underwriters’ exercise in full of their option to purchase an

additional 3,405,000 ordinary shares) at $20.00 per share, resulting in over $522 million in gross

proceeds for Huntsman.



                                                102
       310.    On or around December 4, 2017, Venator conducted a secondary public offering of

ordinary shares pursuant to a registration statement that the Company filed with the SEC on

November 27, 2017 which was declared effective by the SEC on November 29, 2017. On

December 1, 2017, Venator filed a prospectus for the SPO on Form 424B4, which incorporated

and formed part of the SPO Registration Statement.

       311.    The SPO Registration Statement was signed by the Defendants Turner, Ogden,

Ibbotson, Huntsman, Margetts, Anderson, Ferrari and Patrick.

       312.    By means of the SPO Materials, Venator offered and sold more than 23.7 million

ordinary shares (which included the underwriters’ purchase of an additional 1,948,955 ordinary

shares pursuant to a partial exercise of their over-allotment option) at $22.50 per share, resulting

in over $533 million in gross proceeds to Huntsman.

       A.      The IPO Materials Contained Material Misstatements and Omissions

               1.      Misstatements About Venator’s Capacity

       313.    The IPO Prospectus contained material misstatements and omissions about

Venator’s capacity. The Prospectus stated, “We are committed to repairing the [Pori] facility as

quickly as possible. We expect the Pori facility to restart in phases as follows: approximately 20%

capacity in the second quarter of 2017; approximately 40% capacity in the second quarter of

2018; and full capacity around the end of 2018.”

       314.    Likewise, the IPO Prospectus claimed that the Company’s “782,000 metric tons”

of annual production capacity, which included full production from the Pori facility, made it the

“leader in the specialty [Titanium Dioxide] industry segment, which includes products that sell at

a premium and have more stable margins” as well as the “[Titanium Dioxide] market leader in the

fibers and films, cosmetics and food end markets, and are at the forefront of innovation in these



                                                103
applications, with an exciting pipeline of new products and developments that we believe will

further enhance our competitive position.”

        315.   The Prospectus also included the below table, which included the full capacity for

the Company’s Scarlino, Italy facility and stated their “TiO2 finishing plant in Calais, France” was

excluded:

                                        Annual Capacity (metric tons)
                                                   North
Site                                   EAME(1)    America       APAC                  Process
Greatham, U.K.                           150,000                                 Chloride TiO2
Pori, Finland(3)                         130,000                                 Sulfate TiO2
Uerdingen, Germany                       107,000                                 Sulfate TiO2
Duisburg, Germany                        100,000                                 Sulfate TiO2
Huelva, Spain                             80,000                                 Sulfate TiO2
Scarlino, Italy                           80,000                                 Sulfate TiO2
Lake Charles, Louisiana(2)                            75,000                     Chloride TiO2
Teluk Kalung, Malaysia                                             60,000        Sulfate TiO2

Total                                        647,000       75,000       60,000



(1) Excludes a sulfate plant in Umbogintwini, South Africa, which closed in the fourth quarter of
2016, and our TiO2 finishing plant in Calais, France.
(2) This facility is owned and operated by LPC, a manufacturing joint venture that is owned 50%
by us and 50% by Kronos. The capacity shown reflects our 50% interest in LPC.
(3) In January 2017, our TiO2 manufacturing facility in Pori, Finland experienced fire damage, and
it is currently not fully operational. We are committed to repairing the facility as quickly as
possible and we anticipate that some level of production will have resumed prior to completion of
the separation and we estimate that the Pori facility will be fully operational around the end of
2018. The Pori facility has nameplate capacity of up to 130,000 metric tons per year, which
represents approximately 17% of our total TiO2 nameplate capacity and approximately 2% of total
global TiO2 demand.

        316.   The Prospectus also stated that Venator “anticipate[s] that some level of production

will have resumed prior to completion of the separation [from Huntsman] and we estimate that the

Pori facility will be fully operational around the end of 2018.”




                                                104
       317.    These statements were false and misleading and omitted material facts because

rather than operating at 20% capacity, Pori was in truth only finishing products, as recounted by

multiple Venator former employees. Further, Venator’s statements concerning the capacity of

other Venator facilities were misleading and omitted material facts because they did not disclose

that a substantial portion of the capacity of those other facilities had been used to manufacture

intermediate product that was then shuffled to Pori.

       318.    In addition, while the Prospectus stated that Venator estimated that Pori had reached

20% capacity over a month earlier, on June 30, 2017, in reality, Pori was not generating any

capacity when the Prospectus was filed with the SEC on August 4. Thus, Venator’s “estimate”

concerning Pori capacity was demonstrably false when the statement was made.

       319.    Moreover, Venator’s statements concerning Pori’s capacity were misleading and

omitted material facts in light of Venator’s disclosures concerning the Calais facility, which

Venator represented generated zero TiO2 capacity.          In truth, just like at Calais, the only

manufacturing activity that took place at Pori during the Class Period was the “finishing” of TiO2.

       320.    Venator’s statements concerning its other facilities’ production capacities were also

false and misleading because, in truth, Venator’s facility in Scarlino, Italy was manufacturing

intermediate TiO2 that was then shipped and “finished” at Pori. Accordingly, at the time the

statements were made, Venator’s Scarlino facility did not have “80,000 metric tons” of capacity

because a substantial portion of Scarlino’s “capacity” was actually being “shuffled” to Pori, and

double-counted and included as part of the “20% capacity” that was finished at Pori. Last,

Venator’s facilities did not collectively have “782,000 metric tons” of capacity because, in reality,

just like the Calais facility, Pori had no capacity whatsoever and could only “finish” TiO2.




                                                105
               2.        Misstatements About The Progress Of The Pori Rebuild

       321.    The IPO Prospectus stated that Venator “expect[s] the Pori facility to restart in

phases as follows: approximately 20% capacity in the second quarter of 2017; approximately 40%

capacity in the second quarter of 2018; and full capacity around the end of 2018.”

       322.    This statement was materially false and misleading and omitted material facts

because, as described above in ¶94, Venator had not completed its investigation of the Pori fire at

the time the statement was made, had not done so as of September 22, 2017, and would not

complete demolishing the damaged areas of the facility to begin the reconstruction process until

almost a year later. Any “expectation” concerning the timeline for the Pori rebuild was materially

false and misleading in light of Venator’s failure to disclose these highly material facts.

               3.        Misstatements About TiO2 Demand

       323.    The IPO Prospectus stated that “[w]e believe that our Titanium Dioxide segment is

well-positioned to take advantage of an improvement in the [Titanium Dioxide] industry cycle.”

Similarly, the IPO Prospectus stated that “[w]ith approximately 782,000 metric tons of annual

nameplate production capacity, we believe that we are well-positioned to capitalize on recovering

[Titanium Dioxide] demand and prices.” The IPO Prospectus also stated that “[a]verage selling

prices are expected to be higher primarily due to continued improvement in business conditions

for titanium dioxide.”

       324.    These statements were materially false and misleading when made because they

omitted the highly material fact that prices for TiO2 were increasing as a result of the immediate

elimination of TiO2 supply that was triggered by the Pori outage, as the District Court for the

District of Columbia would later conclude.




                                                106
               4.      Misstatements About Insurance Coverage And Pori’s Impact on Venator’s
                       Business

       325.    The IPO Prospectus stated that Venator had “established a process with our insurer

to receive timely advance payments for the reconstruction of the facility as well as lost profits.”

The IPO Prospectus also stated that:

       On February 9, 2017, we received $54 million as an initial partial progress payment
       from our insurer. During the first quarter of 2017, we recorded $32 million of
       income related to insurance recoveries in other operating (income) expense, net in
       our condensed combined statements of operations and we recorded $22 million as
       deferred income in accrued liabilities for costs not yet incurred. On May 2, 2017
       and July 10, 2017, we received progress payments from our insurer of
       approximately $76 million and $11 million, respectively.

       326.    The IPO Prospectus further stated that Venator did “not expect the fire at our Pori

facility to have a material impact on our second quarter Segment Adjusted EBITDA as related

losses have been offset by the proceeds of business interruption insurance which was prepaid

during the quarter.”

       327.    These statements were materially false and misleading when made because they

omitted the material fact that Venator’s insurance proceeds were being used to “shuffle”

intermediate product from Scarlino, Italy and other Venator sites to Pori, rather than covering

reconstruction of the Pori facility. Similarly, Venator’s statement concerning the impact of the

Pori fire on the Company’s Segment Adjusted EBIDTA was materially misleading, as that

statement omitted to disclose the highly material expense and insurance cost that Venator incurred

by shipping intermediate product to Pori.

               5.      The IPO Risk Warnings Were Inadequate And Contained Material
                       Misstatements

       328.    Item 303 of SEC Regulation S-K, 17 C.F.R. § 229.303(a)(3)(ii), required

Defendants to “[d]escribe any known trends or uncertainties that have had or that the registrant

reasonably expects will have a material favorable or unfavorable impact on the sales or revenues

                                               107
or income from continuing operations.” Similarly, Item 503 of SEC Regulation S-K, 17 C.F.R. §

229.503, requires, in the “Risk Factors” section of registration statements and prospectuses, “a

discussion of the most significant factors that make the offering speculative or risky” and requires

each risk factor to “adequately describe[] the risk.”

       329.    The failure of the IPO Materials to disclose the true extent of the fire damage at the

Pori facility, the time and cost it would take to rebuild the facility or procure a replacement, and

the impact of Pori’s outage on the supply and prices for TiO2 violated 17 C.F.R. § 229.303(a)(3)(ii)

because these undisclosed facts would (and did) have an unfavorable impact on the Company’s

sales, revenues and income from continuing operations. This failure also violated 17 C.F.R. §

229.503, because these specific risks were not adequately disclosed, or disclosed at all, even

though they were some of the most significant factors that made an investment in Venator shares

speculative or risky.

       330.    Further, Venator included a “Risk Factor” in the IPO Materials that was materially

false and misleading when made. Specifically, Venator stated that “we may experience delays in

construction or equipment procurement, and, even if we are able to resume production on this

schedule, we may lose customers that have in the meantime found alternative suppliers elsewhere.”

As FE 2 stated, by September, 2017, two months after Venator filed the final IPO Registration

Statement, Venator still had not finished the demolition work at Pori or begun any new

construction work on production lines 1, 2, or 3. Thus, given Venator’s stated schedule for

bringing more capacity online, construction delays were already realized, rather than a mere

possibility, rendering the above “Risk Factor” false when made.

       A.      The SPO Materials Contained Material Misstatements and Omissions

       331.    The SPO Materials, dated December 4, 2017, contained untrue statements of

material fact, omitted material facts necessary to make the statements contained therein not
                                                108
misleading, and failed to make adequate disclosures required under the rules and regulations

governing the preparation of such documents.

               1.      Misstatements About Venator’s Capacity

        332.   The SPO Materials stated that Pori was “currently operating at 20% of total prior

capacity.” The SPO Materials also included a chart with the following production figures for

Venator’s facilites:

                                  Annual Capacity (metric tons)
                                             North
Site                           EAME(1)      America           APAC         Process
Greatham, U.K.                    150,000                              Chloride TiO2
Pori, Finland(3)                  130,000                              Sulfate TiO2
Uerdingen, Germany                107,000                              Sulfate TiO2
Duisburg, Germany                 100,000                              Sulfate TiO2
Huelva, Spain                      80,000                              Sulfate TiO2
Scarlino, Italy                    80,000                              Sulfate TiO2
Lake Charles, Louisiana(2)                        75,000               Chloride TiO2
Teluk Kalung, Malaysia                                          60,000 Sulfate TiO2

Total                                647,000            75,000           60,000



(1) Excludes a sulfate plant in Umbogintwini, South Africa, which closed in the fourth quarter of
2016, and our TiO2 finishing plant in Calais, France.
(2) This facility is owned and operated by LPC, a manufacturing joint venture that is owned 50%
by us and 50% by Kronos. The capacity shown reflects our 50% interest in LPC.
(3) In January 2017, our TiO2 manufacturing facility in Pori, Finland experienced fire damage and
we continue to repair the facility. Prior to the fire, 60% of the site capacity produced specialty
products which, on average, contributed greater than 75% of the site EBITDA from January 1,
2015 through January 30, 2017. The Pori facility had a nameplate capacity of up to 130,000 metric
tons per year, which represented approximately 17% of our total TiO2 capacity and approximately
2% of total global TiO2 demand. We are currently operating at 20% of total prior capacity but
producing only specialty products, and we currently intend to restore manufacturing of the balance
of these more profitable specialty products by the fourth quarter of 2018. The remaining 40% of
site capacity is more commoditized and we will determine if and when to rebuild this
commoditized capacity depending on market conditions, costs and projected long term returns
relative to our other investment opportunities.




                                               109
       333.    The above statements were materially false and misleading because Pori was not

operating at 20% capacity. In truth, Pori was only “finishing” intermediate products that had been

shipped from Venator’s Scarlino facility, as recounted by multiple former Venator employees.

Further, Venator’s statements concerning the capacity of other Venator facilities were misleading

and omitted material facts because they did not disclose that a substantial portion of the capacity

at those other facilities, particularly Scarlino, had been used to manufacture intermediate product

that was then shuffled to Pori.

               2.      Misstatements About The Progress Of The Pori Rebuild

       334.    The SPO Materials stated that the Company “continue[s] to repair the facility,” and

“intend[s] to restore manufacturing of the balance of these more profitable specialty products by

the fourth quarter of 2018,” with the site’s less profitable segments to be completed later.

       335.    These statements were materially false and misleading when made because Venator

had only completed its investigation of the damage to the Pori facility after September 22, 2017

and, according to FE 2, had made almost no progress on the demolition work at Pori between

September 2017 and March 2018. Further, according to FE 2, no material construction work

occurred between September 2017 and March 2018 on production lines 1, 2, and 3. Thus, contrary

to Venator’s representations implying that the Company had “continued” work in “repairing” the

facility, in truth, the reconstruction and repair process had not yet begun.

               3.      Misstatements About TiO2 Demand

       336.    The SPO Materials stated that the Company was “well-positioned to capitalize on

recovering TiO2 demand and prices” and that “[a]verage [TiO2] selling prices are expected to be

higher primarily due to continued improvement in business conditions for titanium dioxide.”

       337.    These statements were materially false and misleading when made because Venator

was not “well positioned to capitalize on recovering TiO2 demand and prices.” Instead, Venator

                                                110
was in a highly vulnerable position, as it lacked any ability to manufacture TiO2 at all at its lowest

-cost facility. Further, contrary to Venator’s claim that increasing TiO2 prices were driven by

improvement in business conditions for titanium dioxide, in truth, the increase in TiO2 prices had

been driven by the elimination of supply due to the Pori outage.

               4.      Misstatements About Insurance Coverage And Pori’s Impact on Venator’s
                       Business

       338.    The SPO Materials represented that the modest increase in estimated costs above

the insurance policy limits related to the Pori facility fire was primarily due to favorable market

conditions and increased TiO2 selling prices. In particular, the SPO Materials stated that “[d]ue

to prevailing strong market conditions, our [TiO2] selling prices continue to improve and our

business is benefitting from the resulting improved profitability and cash flows” but “[t]his also

has the effect of increasing our total anticipated business interruption losses from the Pori site.”

The SPO Materials also stated that the cost estimate to repair the Pori facility now would exceed

the aggregate insurance limit but that the Company “expect[s] to contain these over-the-limit costs

within $100 million to $150 million.”

       339.    The SPO Materials further stated that the “fire at the Pori facility did not have a

material impact on our 2017 third quarter operating results as losses incurred were offset by

insurance proceeds.”

       340.    These statements were materially false and misleading when made because they

omitted to disclose that the increase in TiO2 prices had been driven by the supply restriction

triggered by the Pori outage. Further, these statements were materially misleading because, rather

than “benefit” Venator’s business, the increase in TiO2 prices materially harmed Venator because

it could not take advantage of the increase in TiO2 price because it lacked any ability to produce

TiO2 from its lowest-cost facility. Last, these statements were materially false and misleading


                                                 111
because they omitted the highly material fact that Venator had used the Pori outage to inflate its

reported earnings using business interruption insurance proceeds.

               5.      The SPO Risk Warnings Were Inadequate And Contained Material
                       Misstatements

       341.    As with the IPO Materials, the SPO Materials violated Item 303 of SEC Regulation

S-K, 17 C.F.R. § 229.303(a)(3)(ii), to “[d]escribe any known trends or uncertainties that have had

or that the registrant reasonably expects will have a material favorable or unfavorable impact on

the sales or revenues or income from continuing operations.” Similarly, the SPO Materials

violated Item 503 of SEC Regulation S-K, 17 C.F.R. § 229.503, to include “adequately describe[]

the risk[s]” that make the offering speculative or risky.

       342.    Specifically, the failure of the SPO Materials to disclose the true extent of the fire

damage at the Pori facility, the time and cost it would take to rebuild the facility or procure a

replacement, and the impact of Pori’s outage on the supply and prices for TiO2 violated 17 C.F.R.

§ 229.303(a)(3)(ii) because these undisclosed facts would (and did) have an unfavorable impact

on the Company’s sales, revenues and income from continuing operations.            This failure also

violated 17 C.F.R. § 229.503, because these specific risks were not adequately disclosed, or

disclosed at all, even though they were some of the most significant factors that made an

investment in Venator shares speculative or risky.

       343.    As in the IPO Materials, certain of the “Risk Factors” included in the SPO Materials

were materially false and misleading when made. For example, Venator stated that “we may

experience delays in construction or equipment procurement, and, even if we are able to resume

production on this schedule, we may lose customers that have in the meantime found alternative

suppliers elsewhere.” However, as recounted by FE 2, between September 2017 and March 2018,

Venator made little progress on the demolition work at Pori and had not yet begun any construction


                                                112
work on production lines 1, 2, or 3. Thus, this risk warning was materially misleading because,

contrary to Venator’s warning of a potential “risk” of delay, construction delays had already

occurred, and the risk had already materialized.

       B.      The Securities Act Defendants Failed to Exercise Reasonable Care or Conduct
               a Reasonable Investigation in Connection with the IPO and SPO

       344.    None of the Securities Act Defendants made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the IPO Materials

and/or the SPO Materials were accurate and complete and not misstated in all material respects.

       345.    Due diligence is a critical component of the issuing and underwriting process.

Directors, officers, accountants and underwriters are able to perform due diligence because of their

expertise and access to the Company’s non-public information. Underwriters must not rely on

management statements; instead, they should play a devil’s advocate role and conduct a

verification process. At a minimum, due diligence for every public offering should involve: (1)

interviews of upper and mid-level management; (2) a review of the auditor’s management letters;

(3) a review of items identified therein; (4) a review of the company’s SEC filings (particularly

those incorporated by reference); (5) a critical review of the company’s financial statements,

including an understanding of the company’s accounting and conversations with the company’s

auditors without management present; (6) a review of the company’s internal controls; (7) a review

of negative facts and concerns within each underwriter’s organization and within the underwriter

syndicate; and (8) a review of critical non-public documents forming the basis for the company’s

assets, liabilities and earnings. Red flags uncovered through this process must be investigated.

Officers and auditors must participate in the underwriters’ due diligence, and non-officer directors

are responsible for the integrity of the due diligence process in their capacity as the ultimate

governing body of the issuer.


                                                113
       346.     Had the Securities Act Defendants exercised reasonable care, they would have

known of the material misstatements and omissions alleged herein.

       347.    Defendants’ lack of reasonable care was particularly glaring given the contrasting

way that Defendants described Pori’s capabilities and the capabilities of Venator’s other facilities.

For instance, in describing Venator’s Calais, France facility, Defendants made clear that the

“finishing” process that took place at that facility did not generate any TiO2 “capacity”

whatsoever—it was designated deliberately and solely as a “finishing facility”—whereas

Defendants falsely claimed that Pori, which, after the fire, was also only “finishing,” was

producing at 20% capacity. The obvious discrepancy between Defendants’ descriptions of the

“capacity” achieved at two facilities—both of which contributed only “finishing”—shows that

Defendants could not have undertaken sufficient due diligence before making the material

misstatements in the IPO and SPO Materials.

       348.    The Underwriter Defendants did not conduct a reasonable investigation of the

statements contained in and incorporated by reference in the IPO Materials and SPO Materials and

did not possess reasonable grounds for believing that the statements therein were true and not

materially misstated.

       349.    The Underwriter Defendants could not simply rely on the work of Venator’s outside

auditors because the investing public relies on underwriters to obtain and verify relevant

information and then make sure that essential facts are disclosed. The Underwriter Defendants

must conduct their own, independent (and reasonable) investigation. Had the Underwriter

Defendants conducted a reasonable investigation, they would have known that the IPO Materials

and SPO Materials contained material misstatements and omissions concerning the impact of the

Pori fire on Venator’s business and operations.



                                                  114
       350.    Similarly, the Securities Act Individual Defendants who signed the Registration

Statement and failed to conduct a reasonable investigation into the statements contained in the

Registration Statement and documents incorporated therein by reference and did not possess

reasonable grounds for believing that the statements therein were true and not materially misstated.

Had these Securities Act Individual Defendants conducted a reasonable investigation, they would

have known that the IPO Materials and SPO Materials contained material misstatements and

omissions about the impact of the Pori fire on Venator’s business and operations.

       351.    The Securities Act Defendants were sophisticated in financing and internal control

issues given their collective industry experience, yet they failed to reasonable inquire as to the

Company’s misstatements and omissions notwithstanding numerous “red flags,” including, among

other things, the fact that Venator had not completed its investigation into the Pori fire by the time

of the IPO, that only a small portion of one of four production lines was operational at any time

before the IPO or the SPO, that the Company was spending tremendous sums to ship intermediate

product from other facilities to Pori to be “finished,” and that no work actual progress to “rebuild”

the facility except preliminary demolition work had been performed at the facility at the time of

either the IPO or the SPO.

XV.    CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

                                THIRD CLAIM FOR RELIEF
                        For Violation of Section 11 of the Securities Act
         (Against Venator, Turner, Ogden, Ibbotson, and Stolle, the Director Defendants,
                            and the Underwriter Defendants)

       352.    Plaintiffs repeat and reallege each and every allegation contained above only to the

extent, however, that such allegations do not allege fraud, scienter, or the intent of the Defendants

to defraud Plaintiffs or members of the Class.




                                                 115
       353.    This Count is based on Defendants’ statutory liability for false and materially

misleading statements or omissions in the Offering Documents. This Claim does not sound in

fraud, and any allegations of knowing or reckless misrepresentations and/or omissions in the IPO

an SPO Materials are specifically excluded from this Count, except that any challenged statements

of opinion or belief made in connection with the IPO or SPO is alleged to have been a materially

misstated statement of opinion or belief when made and at the time of the offerings.

       354.    This claim is brought by Plaintiffs pursuant to Section 11 of the Securities Act, 15

U.S.C. § 77k, on behalf of themselves and all persons and entities that purchased or otherwise

acquired Venator common stock either in or traceable to Venator’s August 4, 2017 IPO and/or

December 4, 2017 SPO during the Class Period and suffered damages as a result, against Venator,

Turner, Ogden, Ibbotson, Stolle the Director Defendants (except that claims against Margetts and

Patrick are brought only in connection with the SPO), and the Underwriter Defendants, and does

not sound in fraud.

       355.    The IPO Materials and SPO Materials were inaccurate and misleading, contained

untrue statements of material facts, omitted to state other facts necessary to make the statements

not misleading, and concealed and failed to adequately disclose material facts as described above.

       356.    The Company is the registrant for the IPO and the SPO. As the issuer of the shares,

Venator is strictly liable to Plaintiff and to the relevant members of the Class within the scope of

this count for the material misstatements and omissions contained in the IPO Materials and SPO

Materials.

       357.    Defendants Turner, Ogden, Ibbotson, and the Director Defendants, as Directors of

Venator at the time of the IPO and SPO and/or as signatories of the IPO Materials and SPO

Materials, are liable under Section 11 of the Securities Act, 15 U.S.C. § 77k.



                                                116
       358.    The Underwriter Defendants served as the underwriters for the IPO and SPO and

qualify as such according to the definition contained in Section 12(a)(11) of the Securities Act, 15

U.S.C. § 77b(a)(11). As such, they participated in the solicitation, offering, and sale of the

securities to the investing public pursuant to the IPO Materials and SPO Materials.

       359.    Neither Turner, Ogden, Ibbotson, Stolle the Director Defendants nor the

Underwriter Defendants made a reasonable investigation or possessed reasonable grounds for the

belief that the statements contained in the IPO Materials and SPO Materials were true and without

omissions of any material facts and were not misleading.

       360.    The Defendants named in this claim issued, caused to be issued and participated in

the issuance of materially untrue and misleading written statements to the investing public that

were contained in the IPO Materials and SPO Materials, which misrepresented or failed to

disclose, inter alia, the facts set forth above. By reasons of the conduct herein alleged, each such

Defendant violated Section 11 of the Securities Act.

       361.    Plaintiffs and other members of the Class within the scope of this Count acquired

Venator shares pursuant to, or traceable to, the defective IPO Materials and/or SPO Materials.

       362.    Plaintiffs and the Class members within the scope of this Count have sustained

damages. The value of Venator shares has declined substantially subsequent to and due to the

violations described herein.

       363.    At the time they purchased Venator shares, Plaintiffs and the other members of the

Class within the scope of this Count were without knowledge of the facts concerning the wrongful

conduct alleged herein and could not have reasonably discovered those facts prior to Venator’s

subsequent announcements.




                                                117
       364.    This claim is brought within one year of when Plaintiffs discovered or reasonably

could have discovered the untrue statements and omissions in the IPO Materials and SPO Materials

and within three years of their effective dates.

                                 FOURTH CLAIM FOR RELIEF
                       For Violation of Section 12(a)(2) of the Securities Act
            (Against Venator, the Underwriter Defendants and the Selling Shareholders)

       365.    Plaintiff repeats and realleges each and every allegation contained above only to

the extent, however, that such allegations do not allege fraud, scienter, or the intent of the

Defendants to defraud Plaintiffs or members of the Class.

       366.    This Count is based on Defendants’ statutory liability for false and materially

misleading statements or omissions in the IPO Materials and SPO Materials. This Claim does not

sound in fraud, and any allegations of knowing or reckless misrepresentations and/or omissions in

the IPO an SPO Materials are specifically excluded from this Count, except that any challenged

statements of opinion or belief made in connection with the IPO or SPO is alleged to have been a

materially misstated statement of opinion or belief when made and at the time of the offerings..

       367.    This claim is brought by Plaintiffs pursuant to Section 12(a)(2) of the Securities

Act, 15 U.S.C. § 77l(a)(2), on behalf of all purchasers of Venator common stock in connection

with, and traceable to, the IPO and the SPO and does not sound in fraud.

       368.    Venator, the Underwriter Defendants and the Selling Shareholder Defendants were

sellers, offerors, and/or solicitors of sales of the securities offered pursuant to the IPO Materials

and SPO Materials in connection with the IPO and the SPO.

       369.    The IPO Materials and SPO Materials contained untrue statements of material facts,

omitted to state other facts necessary to make the statements made not misleading, and concealed

and failed to disclose material facts. Venator, the Underwriter Defendants and the Selling



                                                   118
Shareholders’ actions of solicitation included participating in the preparation of the untrue and

misleading IPO Materials and SPO Materials.

       370.    Venator, the Underwriter Defendants, and Selling Shareholders owed to the

purchasers of Venator common stock, including Plaintiffs and the other Class members, the duty

to make a reasonable and diligent investigation of the statements contained in the IPO Materials

and SPO Materials to insure that such statements were true and that there was no omission to state

a material fact required to be stated in order to make the statements contained therein not

misleading. Venator, the Underwriter Defendants and the Selling Shareholder Defendants knew

of, or in the exercise of reasonable care should have known of, the misstatements and omissions

contained in the IPO Materials and SPO Materials as set forth above.

       371.    Plaintiffs and other members of the Class purchased or otherwise acquired Venator

securities pursuant to and traceable to the defective IPO Materials and/or SPO Materials. Plaintiff

did not know, or in the exercise of reasonable diligence could not have known, of the untruths and

omissions contained in the IPO Materials and/or SPO Materials.

       372.    Plaintiffs, individually and representatively, hereby offer to tender to Venator, the

Underwriter Defendants and Selling Shareholder Defendants those securities that Plaintiffs and

other Class members continue to own, on behalf of all members of the Class who continue to own

such securities, in return for the consideration paid for those securities together with interest

thereon.

       373.    By reason of the conduct alleged herein, Venator, the Underwriter Defendants and

the Selling Shareholders violated, and/or controlled a person who violated, Section 12(a)(2) of the

Securities Act. Accordingly, Plaintiffs and members of the Class who hold Venator securities

purchased in the IPO and/or SPO have the right to rescind and recover the consideration paid for



                                               119
their Venator shares and, hereby elect to rescind and tender their Venator securities to Venator, the

Underwriter Defendants and Selling Shareholders sued herein. Class members who have sold their

Venator common stock are entitled to rescissionary damages.

       374.    This claim is brought within one year of when Plaintiffs discovered or reasonably

could have discovered the untrue statements and omissions in the IPO Materials and SPO Materials

and within three years of their effective dates.

                                  FIFTH CLAIM FOR RELIEF
                          For Violation of Section 15 of the Securities Act
         (Against the Defendants Turner, Ogden, Ibbotson, Stolle the Director Defendants
                          and the Selling Shareholder Defendants)

       375.    Plaintiff repeats and realleges each and every allegation contained above only to

the extent, however, that such allegations do not allege fraud, scienter, or the intent of the

Defendants to defraud Plaintiffs or members of the Class.

       376.    This Count is based on Defendants’ statutory liability for false and materially

misleading statements or omissions in the Offering Documents. This Claim does not sound in

fraud, and any allegations of knowing or reckless misrepresentations and/or omissions in the IPO

an SPO Materials are specifically excluded from this Count, except that any challenged statements

of opinion or belief made in connection with the IPO or SPO is alleged to have been a materially

misstated statement of opinion or belief when made and at the time of the offerings.

       377.    This claim is brought by Plaintiffs pursuant to Section 15 of the Securities Act, 15

U.S.C. § 770, on behalf of themselves and all persons and entities that purchased or otherwise

acquired Venator common stock either in or traceable to Venator’s August 4, 2017 IPO or

December 4, 2017 SPO during the Class Period and suffered damages as a result, against the

Securities Act Individual Defendants, and does not sound in fraud.




                                                   120
       378.    Each of the Securities Act Individual Defendants was a control person of Venator

by virtue of his or her position as a director and/or as senior officer of the Company. Each of the

Securities Act Individual Defendants was a control person of Venator within the meaning of

Section 15 of the Securities Act by reason of his or her own involvement in the daily business of

Venator and/or as senior executives or directors of Venator. The Securities Act Individual

Defendants, at the time they held positions with Venator, were able to, and did, exercise substantial

control over the operations of Venator, including control of the materially untrue and misleading

statements, omissions and course of conduct complained of herein.

       379.    Each of the Selling Shareholder Defendants were, at the time of the wrong alleged

herein and as set forth herein, controlling persons of Venator within the meaning of Section 15 of

the Securities Act. The Selling Shareholder Defendants were the majority owners and controlled

the Company before, during and after the IPO and the SPO. In addition to controlling a majority

of Venator’s voting shares, the Selling Shareholder Defendants also appointed and had significant

influence over Venator’s management and members of its Board of Directors.

       380.    Each of the Defendants Turner, Ogden, Ibbotson, Stolle the Director Defendants

and the Selling Shareholder Defendants was a culpable participant in the violations of Sections 11

and 12(a)(2) of the Securities Act as alleged in Claim Three and Four above, based on having

signed the IPO Materials and/or SPO Materials and/or having otherwise participated in the process

that allowed the IPO and the SPO to be completed successfully.

       381.    As a result of the foregoing, Plaintiff and the other members of the Class within the

scope of this Count have suffered damages.

XVI. CLASS ACTION ALLEGATIONS

       382.    Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons and entities who: (i) purchased or otherwise acquired
                                                121
the publicly traded common stock of Venator between August 2, 2017 and October 29, 2018,

inclusive (the “Class Period”); and/or (ii) purchased or otherwise acquired Venator stock either in

or traceable to Venator’s August 3, 2017 IPO or December 4, 2017 SPOduring the Class Period.

Excluded from the Class are Defendants and their families, directors, and officers of Venator and

their families and affiliates.

        383.    The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. Venator has approximately 106.5 million shares of stock outstanding

owned by at least hundreds or thousands of investors.

        384.    Questions of law and fact common to the members of the Class which predominate

over questions which may affect individual Class members may include:

                (a)     Whether Defendants violated the Exchange Act;

                (b)     Whether Defendants violated the Securities Act;

                (c)     Whether Defendants misrepresented material facts;

                (d)     Whether Defendants’ statements omitted material facts necessary in order
                        to make the statements made, in light of the circumstances under which they
                        were made, not misleading;

                (e)     Whether Defendants knew or recklessly disregarded that their statements
                        and/or omissions were false and misleading;

                (f)     Whether Defendants’ misconduct impacted the price of Venator securities
                        that are part of the defined Class;

                (g)     Whether Defendants’ conduct caused the members of the Class to sustain
                        harm;

                (h)     The extent of the harm sustained by Class members and the appropriate
                        measure of harm.

        385.    Plaintiffs’ claims are typical of those of the Class because Plaintiffs and the Class

sustained harm from Defendants’ wrongful conduct.


                                                122
        386.    Plaintiffs will adequately protect the interests of the Class and have retained counsel

experienced in class action securities litigation. Plaintiffs have no interests which conflict with

those of the Class.

        387.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

XVII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

      (a)      Determining that this action is a proper class action under Rule 23 of the Federal
               Rules of Civil Procedure;

      (b)      Awarding compensatory damages and equitable relief in favor of Plaintiffs and the
               other Class members against all Defendants, jointly and severally, for all damages
               sustained as a result of Defendants’ wrongful conduct, in an amount to be proven at
               trial, including interest thereon;

      (c)      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in this
               action, including counsel fees and expert fees; and

      (d)      Such other and further relief as the Court may deem just and proper.

XVIII. JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby demand

a trial by jury in this action of all issues so triable.

 Dated: January 17, 2019                        Respectfully submitted,

                                                /s/ Michael D. Blatchley
                                                Michael D. Blatchley, Attorney-in-Charge

                                                BERNSTEIN LITOWITZ BERGER
                                                   & GROSSMANN LLP
                                                Hannah Ross (Pro Hac Vice Forthcoming)
                                                Michael D. Blatchley (Pro Hac Vice)
                                                Kate W. Aufses (Pro Hac Vice)
                                                Nicholas Gersh (Pro Hac Vice)
                                                1251 Avenue of the Americas, 44th Floor
                                                New York, NY 10020
                                                Tel: (212) 554-1400

                                                    123
Fax: (212) 554-1444
Hannah@blbglaw.com
MichaelB@blbglaw.com
Kate.Aufses@blbglaw.com
Nicholas.Gersh@blbglaw.com

Counsel for Lead Plaintiff and Lead Counsel for
the Class

Thomas R. Ajamie
Texas Bar No. 00952400
Southern District Bar No. 6165
John S. “Jack” Edwards, Jr.
Texas Bar No. 24040851
Southern District Bar No. 38095
AJAMIE LLP
Pennzoil Place – South Tower
711 Louisiana, Suite 2150
Houston, Texas 77002
Tel: (713) 860-1600
Fax: (713) 860-1699
tajamie@ajamie.com
jedwards@ajamie.com

Liaison Counsel for Lead Plaintiff

Robert D. Klausner (Pro Hac Vice Forthcoming)
KLAUSNER KAUFMAN JENSEN
 & LEVINSON
7080 Northwest 4th Street
Plantation, FL 33317
Tel: (954) 916-1202
bob@robertdklausner.com

Additional Counsel for City of Miami General
Employees’ & Sanitation Employees’ Retirement
Trust

Cynthia J. Billings-Dunn (Pro Hac Vice
Forthcoming)
ASHERKELLY
25800 Northwestern Highway
Suite 1100
Southfield, MI 48075
Tel: (248) 746-2747
cbdunn@asherkellylaw.com

   124
Additional Counsel for the City of Pontiac General
Employees’ Retirement System




   125
